Case 1:24-cv-08901-NGG-PK          Document 1   Filed 12/30/24   Page 1 of 130 PageID #: 1




                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF NEW YORK

  JASON BLACK, EZEKIEL BLACK, I.B. by and
  through his next friend Michelle Black, AMANDA
  PALMUCCI, BEATRIZ GONZALEZ, individually,
  and as representative for the estate of NOHEMI
  GONZALEZ, PAUL GONZALEZ, REYNALDO
  GONZALEZ, RON GREENFIELD, PNINA                         No.: 24-cv-8901
  GREENFIELD, GILI GREENFIELD, LIRON
  GREENFIELD, SHERE GREENFIELD, SHYE
  GREENFIELD, and MYESHIA JOHNSON,                        JURY TRIAL DEMANDED
                     Plaintiffs,
               v.
  LAFARGE S.A.; LAFARGE CEMENT HOLDING
  LIMITED; and LAFARGE CEMENT SYRIA S.A.,
                     Defendants.


          COMPLAINT FOR VIOLATION OF THE ANTI-TERRORISM ACT
Case 1:24-cv-08901-NGG-PK                        Document 1             Filed 12/30/24              Page 2 of 130 PageID #: 2




                                                       TABLE OF CONTENTS
                                                                                                                                   Page

 INTRODUCTION .......................................................................................................................... 1

 DEFENDANTS AND THEIR AGENTS ....................................................................................... 5

 JURISDICTION AND VENUE ..................................................................................................... 7

 FACTUAL ALLEGATIONS ......................................................................................................... 8

 I.        ISIS AND ANF WERE DESIGNATED TERRORIST GROUPS THAT OPENLY
           WAGED A TERRORIST CAMPAIGN AGAINST THE UNITED STATES IN
           IRAQ, SYRIA, AND ELSEWHERE ................................................................................. 8

 II.       DEFENDANTS PROVIDED MATERIAL SUPPORT TO ISIS AND ANF,
           INCLUDING BY PAYING THEM MILLIONS OF DOLLARS .................................... 14

           A.         Defendants Made Fixed Monthly Payments To ISIS And ANF .......................... 20

           B.         Defendants Made Volume-Based Payments To ISIS And ANF .......................... 22

           C.         Defendants Paid ISIS-Controlled Suppliers For Raw Materials........................... 23

           D.         Defendants Sold Cement To ISIS ......................................................................... 24

           E.         Defendants Conspired With ISIS To Undercut Their Competitors ...................... 25

 III.      DEFENDANTS KNEW, AND TRIED TO CONCEAL, THAT THEY WERE
           SUPPORTING U.S.-DESIGNATED TERRORIST GROUPS ....................................... 29

 IV.       DEFENDANTS’ PAYMENTS TO ISIS AND ANF SUBSTANTIALLY ASSISTED
           THE TERRORIST ATTACKS THAT KILLED AND INJURED PLAINTIFFS ........... 33

           A.         Defendants’ Payments Made A Vital Contribution To ISIS’s And ANF’s
                      Terrorist Attacks In Iraq, Syria, And Elsewhere................................................... 33

           B.         Defendants’ Material Support Contributed To The Individual Attacks That
                      Targeted Plaintiffs And Their Family Members ................................................... 40

 V.        DEFENDANTS’ UNLAWFUL CONDUCT HAD A SUBSTANTIAL NEXUS TO
           NEW YORK AND THE UNITED STATES ................................................................... 52

           A.         Defendants Purposefully Used New York Banks To Clear The U.S.-Dollar
                      Transactions They Used To Finance Terrorism.................................................... 52

                      1.        Defendants Executed U.S.-Dollar Transactions Using New York
                                Correspondent Banks ................................................................................ 52
Case 1:24-cv-08901-NGG-PK                         Document 1                Filed 12/30/24               Page 3 of 130 PageID #: 3




                      2.         Defendants Instructed Their Banks To Execute These U.S.-Dollar
                                 Transactions Knowing They Would Clear Through New York ............... 75

                      3.         Defendants Purposefully Benefited From New York Clearing ................ 89

           B.         Defendants Relied On U.S.-Based Email Providers To Carry Out Their
                      Terrorist-Financing Scheme................................................................................ 102

           C.         Defendants Entered A Conspiracy With ISIS, Pursuant To Which ISIS
                      Engaged In Acts That Targeted The United States ............................................. 108

 VI.       PLAINTIFFS AND THEIR FAMILY MEMBERS WERE KILLED OR INJURED
           IN TERRORIST ACTS BY ISIS OR ANF .................................................................... 115

           A.         The November 13, 2015 Complex Attack in Paris (Amanda Palmucci and
                      Gonzalez Family) ................................................................................................ 115

           B.         The March 19, 2016 Suicide Bombing Attack in Istanbul (Greenfield
                      Family) ................................................................................................................ 117

           C.         The October 4, 2017 Complex Attack in Tongo Tongo (Black and Johnson
                      Families) ............................................................................................................. 118

 CLAIMS FOR RELIEF .............................................................................................................. 121

 COUNT ONE: VIOLATION OF THE ANTI-TERRORISM ACT, 18 U.S.C. § 2333(d)(2)... 121

 COUNT TWO: VIOLATION OF THE ANTI-TERRORISM ACT, 18 U.S.C. § 2333(d)(2) .. 122

 COUNT THREE: VIOLATION OF THE ANTI-TERRORISM ACT, 18 U.S.C.
     § 2333(d)(2) .................................................................................................................... 124

 JURY DEMAND ........................................................................................................................ 125

 PRAYER FOR RELIEF ............................................................................................................. 125




                                                                       ii
Case 1:24-cv-08901-NGG-PK           Document 1        Filed 12/30/24      Page 4 of 130 PageID #: 4




                                         INTRODUCTION

        1.      This lawsuit seeks civil damages from the first corporation in U.S. history

 convicted of bribing a Foreign Terrorist Organization. On October 18, 2022, the U.S.

 Department of Justice announced that Lafarge S.A. (“Lafarge”) and its Syrian subsidiary had

 pleaded guilty to conspiring to provide material support to two such terrorist groups. As an

 Assistant Attorney General said in announcing the plea, Lafarge “routed nearly six million

 dollars in illicit payments to two of the world’s most notorious terrorist organizations – ISIS and

 al-Nusrah Front [“ANF”] in Syria – at a time those groups were brutalizing innocent civilians in

 Syria and actively plotting to harm Americans.” Based on those shocking admissions, a court in

 this District sentenced the companies to pay about $778 million in criminal fines and forfeiture.

        2.      In accepting Lafarge’s guilty plea, the court found that Lafarge’s crime “impacts

 the victims of terrorist acts.” Plaintiffs here are among those victims. They are U.S. civilians

 and service members – and their families – who were killed and injured by the very terrorist

 groups Lafarge bribed. Just as Lafarge is guilty of a crime under the Anti-Terrorism Act, it is

 civilly liable under the same statute to the victims of its criminal conspiracy.

        3.      Lafarge has already admitted most of the facts confirming its liability. In

 pleading guilty, Lafarge and its Syrian subsidiary stipulated to a Statement of Facts – which they

 agreed “they will not dispute”1 – laying out in granular detail how the companies bribed and

 conspired with anti-American terrorists, including the Islamic State of Iraq and Syria (“ISIS”).

 In the words of Deputy Attorney General Lisa Monaco, the admitted facts show that, through its




    1
      Plea Agreement ¶ 19, United States v. Lafarge S.A., No. 22-cr-444-WFK (E.D.N.Y.
 Oct. 18, 2022), Dkt. 10. The Statement of Facts (the “Plea Statement”) was filed as Docket No.
 10-1. Unless specified, all citations to sources originally in English contain original spelling.
 Allegations based on sources originally in French or other languages are based on translations.
Case 1:24-cv-08901-NGG-PK           Document 1         Filed 12/30/24     Page 5 of 130 PageID #: 5




 “support and funding, Lafarge enabled the operations of a brutal terrorist organization.” Those

 terrorist operations foreseeably targeted Plaintiffs and their family members.

        4.      Lafarge’s support for ISIS and ANF ran deep. It operated a lucrative cement

 plant in northern Syria, and it decided that bribing Syrian terrorists offered the best way to

 protect its profits from the plant. To that end, Lafarge – in concert with two subsidiaries, the

 other Defendants here – paid millions of dollars to ISIS and ANF. The payments included flat

 monthly donations; additional kickbacks keyed to Lafarge’s sales volumes; and money to buy

 materials (like petroleum and volcanic ash) sourced from terrorist-controlled suppliers.

 Throughout, Lafarge sought to align ISIS’s incentives with its own. It even entered a revenue-

 sharing agreement with ISIS that its executives likened to paying “taxes,” touting in internal

 emails the “principle that we are ready to share the ‘cake’ ” with ISIS. Sharing the “cake” had its

 benefits. In exchange for Lafarge cutting ISIS into its cement-plant revenues, ISIS agreed to

 block imports from Lafarge’s competitors, allowing Lafarge to grow its market share even more.

        5.      Defendants knew their conduct was illegal and went to great lengths to conceal it.

 Defendants’ internal discussions reflected an acute awareness that they were bribing U.S.-

 designated terrorists in violation of U.S. and French law. For that reason, they knew they had to

 hide what they were doing. They routed their terrorist payoffs through multiple intermediaries

 they controlled; demanded that the intermediaries create shell companies to receive payment

 outside of Syria; generated fake invoices to disguise the nature of the payments; and opened a

 web of hard-to-trace bank accounts to circumvent U.S. sanctions. Defendants’ personnel also

 often used pseudonyms to describe the conspiracy and communicated about their crimes – at the

 direction of a Lafarge lawyer – using personal Gmail accounts rather than corporate email. They

 did all this so they could later falsely deny knowledge of Defendants’ criminal conduct.




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Case 1:24-cv-08901-NGG-PK            Document 1        Filed 12/30/24      Page 6 of 130 PageID #: 6




        6.      Defendants’ payments aided the terrorist attacks that targeted Plaintiffs and their

 family members. Money was essential to ISIS’s and ANF’s ability to execute successful terrorist

 operations, and so-called “tax” payments – like the ones Defendants made – supplied a crucial

 funding stream for both groups. Those payments, as explained by a former U.S. Ambassador to

 the United Nations, enabled ISIS to “pay its followers and fund attacks around the world.”

 Indeed, Defendants’ money translated directly into fighters, guns, and bombs the terrorists used

 to plan and execute their heinous attacks, including against Plaintiffs. And given the relatively

 low marginal cost of each individual attack, the causal effect of Defendants’ payments was

 substantial. Their multimillion-dollar bribes were sufficient to finance thousands of ISIS and

 ANF terrorist attacks – enough to kill and maim every Plaintiff in this case many times over.

        7.      Defendants’ payments also aided the specific terrorist cells that attacked Plaintiffs

 and their family members. ISIS’s fundraising was highly institutionalized, and ISIS’s leader

 Abu Bakr al-Baghdadi supervised the collection and disbursement of the “taxes” Lafarge paid in

 Syria. Indeed, Baghdadi’s ISIS Leadership Cell used Lafarge’s funds directly to help plan,

 authorize, and commit each attack alleged below. Other terrorist cells that received Defendants’

 money – including the Raqqa cell run by terrorist commander Abu Luqman – likewise played a

 key role in the attacks alleged below. Defendants directly conspired with Luqman’s Raqqa cell,

 which controlled the local territory around Lafarge’s cement plant in northern Syria. The Raqqa

 cell, in turn, supervised and perpetrated the individual attacks against Plaintiffs.

        8.      Defendants’ scheme depended on connections to the United States. Throughout,

 Defendants exploited New York’s banking system by executing at least 15 U.S.-dollar wire

 transfers they caused to clear through New York. That was no coincidence. Defendants chose to

 pay in U.S. dollars – they called “USD” their “preferred option” – and they deliberately routed




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Case 1:24-cv-08901-NGG-PK           Document 1        Filed 12/30/24     Page 7 of 130 PageID #: 7




 their U.S.-dollar wires through New York banks. By using New York correspondent banks to

 clear those U.S.-dollar wires, Defendants advanced their criminal scheme: they made the

 payments look legitimate; avoided the operational risks posed by unreliable foreign-clearing

 options; supplied the terrorists with their preferred currency; and hedged against the foreign-

 exchange risk posed by the collapsing Syrian pound. New York clearing helped them capture all

 those benefits. True, Defendants had a sophisticated understanding of U.S. sanctions, which

 sometimes forced them to avoid New York banks. But they learned first-hand that doing so

 made their scheme less effective, more expensive, and harder to conceal. That is why they used

 New York clearing when they could, in a manner carefully designed to avoid triggering U.S.

 sanctions. And they knew, as Lafarge’s accounting manager explained in one illustrative email,

 that their U.S.-dollar wires required the involvement of “US correspondent bank[s].”

        9.      Defendants also formed U.S. contacts by relying on American email providers –

 mainly Gmail – to communicate about their terrorist payoffs. Again, this was no coincidence.

 Defendants often coordinated their payments using Gmail, rather than corporate email, so they

 could hide their conduct from French auditors and regulators. And in using Gmail to do so,

 Defendants relied on a U.S. service provider and benefited from U.S. infrastructure, U.S.

 engineering, and U.S. law. Because Gmail is an American service, U.S. legal protections also

 impeded foreign agencies from easily accessing Defendants’ Gmail messages. By sending their

 emails through the United States, Defendants sought to make it harder for French law

 enforcement – the authority otherwise most likely to criminally charge their executives (as has

 now in fact happened) – to discover their scheme.

        10.     Defendants’ conspiracy further linked its conduct to the United States. As the

 U.S. Attorney for this District explained, Lafarge supported ISIS “not merely in exchange for




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Case 1:24-cv-08901-NGG-PK           Document 1        Filed 12/30/24      Page 8 of 130 PageID #: 8




 permission to operate its cement plant – which would have been bad enough – but also to

 leverage its relationship with ISIS for economic advantage.” It was to Lafarge’s economic

 advantage for ISIS to remain strong. The stronger ISIS’s territorial control – and the more

 credible its threats against Lafarge’s competitors – the more Lafarge benefited from its unusual

 willingness to do business in ISIS-held territory. And ISIS’s terrorist violence was vital to that

 arrangement. There was no more potent way for ISIS to convey fear, and thus to stay in power,

 than to publicly terrorize Americans like the families of the victims who are Plaintiffs here.

 Simply put, when ISIS attacked Americans in a show of terrorist strength, it bolstered the

 credibility of its protection racket and furthered the aims of the conspiracy Lafarge joined.

        11.     As alleged below, Plaintiffs are entitled to recover for their injuries under the

 Anti-Terrorism Act’s secondary-liability provisions. See 18 U.S.C. § 2333(d)(2). Defendants

 aided and abetted the ISIS and ANF attacks that killed and injured Plaintiffs and their family

 members. Defendants also conspired with ISIS and ANF, making Defendants liable for the

 terrorist attacks that ISIS and ANF foreseeably committed in furtherance of their conspiracy.

                             DEFENDANTS AND THEIR AGENTS

        12.     Defendant Lafarge S.A. (“Lafarge”) is a multinational building materials

 business. It is organized under the laws of France and headquartered in Paris, France. Lafarge is

 a wholly owned subsidiary of Holcim, Ltd. (“Holcim”), which is a multinational building

 materials business based in Zurich, Switzerland.

        13.     Defendant Lafarge Cement Holding Limited (“Lafarge Cyprus”) is a direct

 subsidiary of Lafarge. It is organized under the laws of Cyprus and headquartered in Cyprus.

 Lafarge Cyprus was the entity through which Lafarge held nearly all its shares in Lafarge

 Cement Syria S.A. until Lafarge and its subsidiaries merged with Holcim in 2015.




                                                  5
Case 1:24-cv-08901-NGG-PK          Document 1        Filed 12/30/24    Page 9 of 130 PageID #: 9




        14.     Defendant Lafarge Cement Syria S.A. (“LCS”) was a direct subsidiary of Lafarge

 Cyprus and an indirect subsidiary of Lafarge. LCS was organized under Syrian law and

 headquartered in Damascus, Syria. Lafarge owned approximately 98.7% of LCS through

 Lafarge’s subsidiaries, principally Lafarge Cyprus. Lafarge operated the Jalabiyeh cement plant

 through LCS from approximately May 2010 to September 2014.

        15.     Bruno Lafont is a citizen and national of France and was Lafarge’s Chairman and

 CEO until Lafarge’s merger with Holcim in 2015. He then became Co-Chair of

 LafargeHolcim’s Board of Directors and served in that capacity until May 2017. He was based

 at Lafarge’s headquarters in Paris, France.

        16.     Jean-Claude Veillard is a citizen and national of France and was Lafarge’s Vice

 President of Security from approximately October 2008 to September 2017. He was based at

 Lafarge’s headquarters in Paris, France and was a member of Lafarge’s Security Committee.

        17.     Christian Herrault is a citizen and national of France and was Lafarge’s Executive

 Vice President of Operations from approximately January 2012 to December 2015. Herrault

 supervised Lafarge’s operating subsidiaries in numerous countries, including Syria. Herrault

 was a member of Lafarge’s Security Committee and, beginning on July 4, 2013, served as

 Chairman of the Board of Directors of LCS. Herrault was based at Lafarge’s headquarters in

 Paris, France and reported directly to Bruno Lafont.

        18.     Bruno Pescheux is a citizen and national of France and was LCS’s CEO from

 approximately 2008 to July 2014. While CEO of LCS, Pescheux was based at LCS’s

 headquarters in Damascus, Syria until Lafarge evacuated its European employees from Syria in

 2012. He then relocated to Cairo, Egypt. Pescheux reported directly to Christian Herrault.




                                                 6
Case 1:24-cv-08901-NGG-PK           Document 1 Filed 12/30/24                Page 10 of 130 PageID #:
                                             10



        19.     Frédéric Jolibois is a citizen and national of France who became LCS’s CEO in

 approximately July 2014, succeeding Pescheux, and remained in that role until about January

 2016. Jolibois reported directly to Herrault until Herrault left Lafarge.

        20.     Guillaume Roux is a citizen of the United States and France. He was a Lafarge

 Executive Vice President until January 2016, a member of Lafarge’s Security Committee during

 the same time, a member of LCS’s Board of Directors until January 2016, and LCS’s Chairman

 from 2008 to July 2013. Roux was based at Lafarge’s headquarters in Paris, France and reported

 directly to Bruno Lafont.

        21.     Firas Tlass is a citizen and national of Syria and the son of the country’s longtime

 Minister of Defense, Mustafa Tlass. He was a minority shareholder in LCS until the Syrian

 regime confiscated his shares in or about 2012. LCS, with Lafarge’s knowledge and approval,

 paid Tlass to negotiate with and deliver payments to terrorist groups, including ISIS and ANF.

        22.     Amro Taleb is a citizen of Canada and Syria and a former consultant to LCS who

 acted as Defendants’ agent in sourcing raw materials from ISIS-linked suppliers. LCS, with

 Lafarge and Lafarge Cyprus’s approval, paid Taleb to negotiate with and pay ISIS.

                                  JURISDICTION AND VENUE

        23.     This Court has subject-matter jurisdiction under 28 U.S.C. § 1331 and 18 U.S.C.

 § 2338.

        24.     Personal jurisdiction exists under Federal Rule of Civil Procedure 4(k)(1)(A) and

 New York Civil Practice Law and Rules § 302(a)(1), based on Defendants’ use of New York

 banks in carrying out their scheme. Alternatively, personal jurisdiction exists under Federal Rule

 of Civil Procedure 4(k)(2), based on Defendants’ use of New York banks and U.S.-based email

 service providers in carrying out their scheme. Rule 4(k)(2) jurisdiction also exists based on

 Defendants’ conspiracy with ISIS, a terrorist group that purposefully targeted the United States,


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Case 1:24-cv-08901-NGG-PK           Document 1 Filed 12/30/24            Page 11 of 130 PageID #:
                                             11



 caused tortious effects on and within the United States, and carried out overt acts in furtherance

 of the conspiracy within and targeting the United States. If the Court were to find jurisdiction

 lacking under New York’s long-arm statute, Plaintiffs certify based on the reasonably available

 information that Defendants would not then be subject to suit in the courts of general jurisdiction

 of any other state, which would make Rule 4(k)(2) jurisdiction appropriate.

          25.   Venue is proper in this District under 28 U.S.C. § 1391(b)(2), based on

 Defendants’ use of at least one bank in this District in carrying out their scheme. Alternatively,

 venue is proper in this District under 28 U.S.C. § 1391(b)(3) and/or § 1391(c)(3).

                                   FACTUAL ALLEGATIONS

 I.       ISIS AND ANF WERE DESIGNATED TERRORIST GROUPS THAT OPENLY
          WAGED A TERRORIST CAMPAIGN AGAINST THE UNITED STATES IN
          IRAQ, SYRIA, AND ELSEWHERE

          26.   Defendants’ scheme aided several terrorist groups. The two most relevant to this

 Complaint are ISIS and ANF, which are two U.S.-designated terrorist groups that attacked

 Americans – including Plaintiffs and their family members – in Iraq, Syria, and elsewhere. To

 contextualize Defendants’ conduct, this section provides an overview of both terrorist groups.

          27.   The origins of ISIS and ANF trace to Abu Musab al-Zarqawi, a Jordanian terrorist

 who created a training camp in Afghanistan at Osama bin Laden’s invitation. By the time of the

 September 11, 2001 terrorist attacks, Zarqawi had trained several thousand terrorists and

 established a terrorist network in Iraq, Syria, and other countries in the Middle East and Africa.

          28.   On or about October 15, 2004, the Secretary of State designated the Zarqawi

 terrorist network as a Foreign Terrorist Organization (“FTO”) under 8 U.S.C. § 1189, under the

 name Jama’at al-Tawhid wa’al-Jihad.2 On or about the same day, the Secretary of State also


      2
     Designation of Jam’at al Tawhid wa’al-Jihad, Also Known as the Monotheism and Jihad
 Group, Also Known as the al-Zarqawi Network, Also Known as al-Tawhid, as a Foreign

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Case 1:24-cv-08901-NGG-PK            Document 1 Filed 12/30/24          Page 12 of 130 PageID #:
                                              12



 designated Jama’at al-Tawhid wa’al-Jihad under Executive Order No. 13,224 as a Specially

 Designated Global Terrorist (“SDGT”).3

        29.     In or around October 2004, Zarqawi formally pledged allegiance to al-Qaeda and

 renamed his terrorist network al-Qaeda in Iraq (“AQI”). By then, Zarqawi and his organization

 were among the most prominent terrorists attacking Americans in Iraq and elsewhere.

        30.     A U.S. airstrike killed Zarqawi in June 2006. But AQI continued after his death

 as a formidable terrorist group waging a violent campaign against the United States. In 2010, a

 new AQI leader – Abu Bakr al-Baghdadi – took control of the AQI terrorist network. Baghdadi

 eventually became the world’s most-wanted terrorist mastermind, with the U.S. government at

 one point offering a record-breaking $25 million bounty for his capture.

        31.     In early 2011, shortly after Baghdadi’s emergence, Syria spiraled into civil war.

 Many terrorist groups and other armed factions began vying for power, precipitating a near-total

 breakdown in Syrian governance and other civil institutions. In August 2011, the U.N. High

 Commissioner for Human Rights reported “a pattern of widespread or systematic human rights

 violations by Syrian security and military forces, including murder, enforced disappearances,

 torture, deprivation of liberty, and persecution.”4

        32.     In late 2011, sensing the opportunity amid the chaos, Baghdadi sent an AQI

 operative, named Abu Muhammad al-Julani (also spelled al-Jawlani), to establish an AQI branch


 Terrorist Organization Pursuant to Section 219 of the Immigration and Nationality Act, 69 Fed.
 Reg. 61,292, 61,292 (Oct. 15, 2004).
    3
      Determination Pursuant to Section 1(b) of Executive Order 13224 Relating to the
 Designation of Jam’at al Tawhid wa’al-Jihad, Also Known as the Monotheism and Jihad Group,
 Also Known as the al-Zarqawi Network, Also Known as al-Tawhid, 69 Fed. Reg. 61,292, 61,292
 (Oct. 15, 2004).
    4
      Statement by Ms. Navi Pillay, U.N. High Commissioner for Human Rights to the Human
 Rights Council 17th Special Session on “Situation of Human Rights in the Syrian Arab
 Republic” in Geneva (Aug. 22, 2011), https://tinyurl.com/3pfs5p5j.


                                                   9
Case 1:24-cv-08901-NGG-PK           Document 1 Filed 12/30/24            Page 13 of 130 PageID #:
                                             13



 in Syria. Baghdadi also sent Abu Muhammad al-Adnani (who would later lead ISIS’s global

 Intelligence Cell) to assist Julani. The resulting Syrian branch was called al-Nusrah Front

 (“ANF”), which Baghdadi and Julani formed officially in January 2012.

        33.     By the end of 2012, the U.S. government recognized ANF as AQI’s Syrian

 branch. In December 2012, the Secretary of State amended the FTO designation for AQI to

 include the following aliases: al-Nusrah Front, Jabhat al-Nusrah, Jabhet al-Nusra, The Victory

 Front, and Al-Nusrah Front for the People of the Levant.5 At the time, the State Department

 reported that ANF had already claimed responsibility for nearly 600 terrorist attacks throughout

 Syria. The State Department characterized ANF as carrying out AQI’s campaign to “hijack the

 struggles of the Syrian people for its own malign purposes.”6

        34.     In 2013, reflecting AQI’s expansion into Syria, Baghdadi changed AQI’s name to

 the Islamic State of Iraq and Syria (“ISIS”). On May 15, 2014, the Secretary of State again

 amended the AQI terrorist designation, this time to list the “Islamic State of Iraq and the Levant”

 as the organization’s primary name (this is why U.S. government documents sometimes refer to

 the organization with the shorthand “ISIL”).7 On September 30, 2015 the Secretary of State

 amended that same designation to add more aliases: Islamic State, ISIL, and ISIS.8

        35.     On May 15, 2014, when the Secretary of State amended AQI’s designation to

 rename it the “Islamic State of Iraq and the Levant,” the Secretary also amended that designation



    5
       Amendment of the Designation of al-Qa’ida in Iraq, 77 Fed. Reg. 73,732, 73,732 (Dec. 11,
 2012).
     6
       Victoria Nuland, Terrorist Designations of the al-Nusrah Front as an Alias for al-Qa’ida in
 Iraq (Dec. 11, 2012), https://2009-2017.state.gov/r/pa/prs/ps/2012/12/201759.htm.
     7
       Public Notice 8732, Amendment of the Designation of al-Qa’ida in Iraq, 79 Fed. Reg.
 27,972, 27,972 (May 15, 2014).
     8
       Public Notice 9290, Amendment of the Designation of Islamic State of Iraq and the Levant,
 80 Fed. Reg. 58,804, 58,805 (Sept. 30, 2015).


                                                 10
Case 1:24-cv-08901-NGG-PK           Document 1 Filed 12/30/24                Page 14 of 130 PageID #:
                                             14



 to remove the group’s then-existing ANF aliases. Concurrently, the Secretary of State separately

 designated ANF as its own FTO and SDGT.9

        36.     Unlike many militants fighting in Syria who aimed mainly to oppose the Syrian

 government, ISIS had a larger goal: the construction of a global terrorist caliphate. But as

 Defendants knew, the U.S. government categorically rejected any suggestion that ISIS was a

 “state,” that it had any legitimate governmental function, or that it did anything other than

 propagate terrorist violence. ISIS attempted to control territory not through legitimate

 governance, but through widespread terror, criminality, and intimidation. Its acts of mass

 terrorist violence violated international law, including the laws of war.

        37.     Many of ISIS’s acts were intended to buttress its terrorist strength. In 2012-2013,

 ISIS staged its “Breaking the Walls” campaign, attacking prisons holding AQI fighters to grow

 ISIS’s membership. ISIS also committed acts of violence to intimidate civilians and cement its

 territorial control. According to the U.N. Human Rights Council, ISIS “made calculated use of

 public brutality and indoctrination to ensure the submission of communities under its control.”10

 Its aim was “to subjugate civilians under its control and dominate every aspect of their lives

 through terror, indoctrination, and the provision of services to those who obey.”11

        38.     ISIS also publicly displayed the bodies of those it killed, and it executed hostages

 in public. It “beheaded, shot, and stoned” those it accused of crimes, notifying nearby residents




    9
       Public Notice 8733, Amendment of the Designation of al-Qa’ida in Iraq, 79 Fed. Reg.
 27,972, 27,972 (May 15, 2014); Public Notice 8734, Designation of Al-Nusrah Front, 79 Fed.
 Reg. 27,972, 27,972 (May 15, 2014).
     10
        U.N. Human Rights Council, 27th Session Agenda Item 4, Rule of Terror: Living Under
 ISIS in Syria ¶ 1, A/HRC/27/CRP.3 (Nov. 19, 2014) (“Rule of Terror”).
     11
        Rule of Terror ¶ 73.


                                                  11
Case 1:24-cv-08901-NGG-PK            Document 1 Filed 12/30/24             Page 15 of 130 PageID #:
                                              15



 before public executions were set to occur. ISIS particularly victimized women and children,

 whom it systematically abused and exploited.

         39.    ISIS and ANF, like their predecessor AQI, targeted U.S. citizens to advance their

 terrorist objectives. AQI’s founding purpose was to wage a terrorist campaign to expel U.S.

 forces from Iraq and from the broader Middle East. To that end, AQI’s terrorist campaign

 openly targeted Americans, perpetrating many attacks against U.S. and coalition forces in Iraq

 and forcing the U.S. military to engage in near-daily combat with AQI terrorists. As one DOD

 report observed in 2006, AQI quickly achieved high-profile “success” in Iraq by “inflicting

 American casualties (and, thus, demonstrating US vulnerability)” while “portraying the United

 States and its allies as new ‘crusaders’ that threaten the very survival of Islam.”12

         40.    After U.S. forces withdrew from Iraq in 2011, AQI and its successors ISIS and

 ANF “continued to plot attacks against U.S. persons and interests in Iraq and the region –

 including the brutal murder of kidnapped American citizens in Syria and threats to U.S. military

 personnel in Iraq.”13 ISIS also periodically released “kill lists” publicly broadcasting the names

 of hundreds of U.S. citizens whom it encouraged its operatives and followers to execute around

 the globe. It too often succeeded in murdering Americans. In 2012, just before Defendants’

 payments to both groups began, “ISIS and ANF gained control of territory in Syria and

 committed numerous terrorist acts, resulting in the deaths of numerous U.S. citizens.”14

         41.    By 2014, U.S. officials were raising alarm bells about ISIS’s terrorist threat to the

 United States. For example, on June 27, 2014, Senators Lindsay Graham and John McCain


    12
       Office of Net Assessment, Office of the Secretary of Defense, The Global War on
 Terrorism: An Assessment at 7 (Dec. 2006), https://tinyurl.com/2p8csw7s.
    13
       Stephen W. Preston, Legal Framework for the United States’ Use of Military Force Since
 9/11 (Apr. 10, 2015), https://tinyurl.com/4rvawmkr.
    14
       Plea Statement ¶ 23.


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Case 1:24-cv-08901-NGG-PK             Document 1 Filed 12/30/24            Page 16 of 130 PageID #:
                                               16



 observed publicly that “[t]he conflict in Syria has deteriorated and spread so dangerously that it

 is now the source of direct threats to the United States” and that “[t]he leader of ISIS, Abu Bakr

 al-Baghdadi, has already stated his ambitions to attack the U.S. homeland.”15

          42.    ISIS publicly proclaimed its intent to commit acts of terrorism against the United

 States. For example, in July 2012, Baghdadi discussed a wave of AQI attacks and threatened to

 strike at the “heart” of America, warning the United States: “You will soon witness how attacks

 will resound in the heart of your land, because our war with you has now started.”16 Similarly, in

 January 2014, Baghdadi released an audio recording addressed to Americans: “Soon we will be

 in direct confrontation.”17 Months later, in June 2014, Baghdadi issued another audio statement,

 again addressed to “America” and reiterating his January threat: “You should know, you

 defender of the cross, that getting others to fight on your behalf will not do for you in Syria as it

 will not do for you in Iraq,” and that “soon enough, you will be in direct confrontation — forced

 to do so, God willing. And the sons of Islam have prepared themselves for this day. So wait,

 and we will be waiting, too.”18 As one analyst put it succinctly, “ISIS has made no bones about

 the fact that it wants to directly target the United States.”19




     15
       Senator John McCain and Senator Lindsey Graham, Statement By Senators John McCain
 And Lindsey Graham On Developments In Syria And Iraq, U.S. Congressional News (June 27,
 2014), 2014 WLNR 17528820.
    16
       James Phillips, A Resurgent al-Qaeda in Iraq Threatens U.S. Attack, Heritage Foundation
 Commentary (July 26, 2012), https://tinyurl.com/4adtw5ke.
    17
       Brett McGurk, quoted in Roll Call, Inc., House Committee on Foreign Affairs hearing on
 Al-Qaeda Resurgence in Iraq (Feb. 5, 2014), 2014 WL 460041 (quoting Baghdadi).
    18
       Alissa J. Rubin et al., U.S. Jets & Drones Attack Militants in Iraq, Hoping to Stop
 Advance, N.Y. Times (Aug. 8, 2014).
    19
       Evan Kohlmann, quoted in NBC Today Show, Another Terror Concern Being Closely
 Watched This Morning Is The Renewed Violence In Iraq In A New Video Putting The Leader Of
 That (July 7, 2014), 2014 WLNR 18561583.


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Case 1:24-cv-08901-NGG-PK             Document 1 Filed 12/30/24             Page 17 of 130 PageID #:
                                               17



            43.   ISIS and ANF made good on those promises by escalating their predecessor’s

 terrorist campaign against the United States. ISIS’s abduction and murder of two U.S.

 journalists – James Foley and Steven Sotloff – are perhaps the most infamous examples. ISIS

 beheaded both men on camera and globally publicized their brutal executions in videos that ISIS

 titled “A Message to America” and “A Second Message to America,” respectively.

 Disseminating those “messages” supported two terroristic aims. ISIS committed heinous public

 murders of U.S. journalists both to “horrify Americans to discourage increased U.S. military

 involvement” and to “spur potential recruits to join in the carnage and incite additional terrorist

 attacks against the United States.”20 Both were essential to ISIS’s core anti-American ideology.

 As a high-level DOD official stated in 2015, “ISI[S] continues to denounce the United States as

 its enemy and to target U.S. citizens and interests.”21

            44.   Using these and other tactics, ISIS seized control of wide swaths of territory, at its

 height controlling about 30% of Syria and 40% of Iraq. It was, in the words of Deputy Attorney

 General Monaco, “one of the most brutal terrorist organizations the world has ever known.”22

 II.        DEFENDANTS PROVIDED MATERIAL SUPPORT TO ISIS AND ANF,
            INCLUDING BY PAYING THEM MILLIONS OF DOLLARS

            45.   As ISIS and ANF were escalating their terrorist attacks against Americans,

 Defendants decided to pay those terrorists millions of dollars. Lafarge – acting through Lafarge

 Cyprus and LCS – intentionally made recurring payments to ISIS and ANF to facilitate its

 business operations in northern Syria and to weaken its competitors.


       20
       James Phillips, The Message ISIS Wants to Send to America, The World, Heritage
 Foundation Commentary (Sept. 10, 2014), https://tinyurl.com/4wr433br.
    21
       Stephen W. Preston, Legal Framework for the United States’ Use of Military Force Since
 9/11 (Apr. 10, 2015), https://tinyurl.com/4rvawmkr.
    22
       U.S. Dep’t of Justice, Lafarge Pleads Guilty to Conspiring to Provide Material Support to
 Foreign Terrorist Organizations (Oct. 18, 2022).


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Case 1:24-cv-08901-NGG-PK            Document 1 Filed 12/30/24           Page 18 of 130 PageID #:
                                              18



         46.    Defendants paid ISIS and ANF to benefit their Jalabiyeh cement plant in northern

 Syria. Lafarge acquired the Jalabiyeh cement plant, then still under construction, when it bought

 Orascom Cement, Egypt’s largest cement company, for nearly $12.9 billion in 2007. Lafarge

 borrowed about $8.8 billion to finance the purchase, while also assuming around $2 billion of

 Orascom Cement’s debt. Lafarge spent another roughly $680 million building the Jalabiyeh

 plant, which it completed in 2010 – the largest non-oil foreign investment in Syrian history.

         47.    Lafarge opened the Jalabiyeh plant in May 2010. At full capacity, the Jalabiyeh

 plant could produce approximately 8,000 tons of cement per day, enough to fill 160 large trucks

 and to generate $500,000 in sales per day. It was by far the largest cement plant in Syria.

         48.    But the rapidly deteriorating Syrian security environment posed economic

 challenges for Lafarge. The most severe came from the array of terrorist groups and other armed

 factions vying for control of Syrian territory, including the area of northern Syria in and around

 Jalabiyeh. As Syria descended into a state of civil war, Lafarge realized it needed a strategy for

 dealing with the various terrorist factions near its cement plant.

         49.    Lafarge also faced a political problem in persisting with its Syrian business. From

 April to August 2011, as the Syrian security situation worsened, President Obama issued a series

 of Executive Orders freezing the assets of Syrian officials, barring investment in Syria, and

 banning financial institutions from clearing U.S.-dollar transactions for Syrian entities.23 Those

 sanctions were designed in significant part to combat terrorism and choke off the flow of dollars

 to Mideast terrorist groups. In September 2011, the Council of the European Union likewise

 suspended the importation and purchase of Syrian petroleum products, as well as the financing of




    23
      See, e.g., Exec. Order No. 13,582 (Aug. 17, 2011); Exec. Order No. 13,573 (May 18,
 2011); Exec. Order No. 13,572 (Apr. 29, 2011).


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Case 1:24-cv-08901-NGG-PK            Document 1 Filed 12/30/24            Page 19 of 130 PageID #:
                                              19



 such transactions. The World Bank also halted all its activities in Syria, and the 22-member

 Arab League suspended Syria’s membership. In response to this international condemnation, in

 December 2011, Royal Dutch Shell announced it would cease all operations in Syria. Total and

 Suncor, leading oil companies in France and Canada, followed suit shortly thereafter.

          50.    Lafarge chose a different course. The “exodus of multinational corporations from

 Syria” presented Lafarge with an opportunity to corner the Syrian market,24 so long as it could

 devise a strategy for doing business with the terrorists there. Lafarge therefore evacuated its

 non-Syrian employees to Egypt in June 2012 but continued to operate in Syria using LCS’s

 Syrian employees. Lafarge, through LCS, then began negotiating with the various terrorists

 around Jalabiyeh so it could continue realizing revenue from its cement plant there.

          51.    Defendants chose to pay terrorists to protect their Syrian investment and to

 enhance their relationship with their foreign lenders. As Pescheux, LCS’s CEO, explained in a

 May 2013 report, Lafarge chose “to continue to operate the plant as long as possible” so it could

 “preserv[e] the integrity of our physical assets,” “keep[ ] our personnel ready for the end of the

 crisis” to leverage Lafarge’s “huge investment” in Syria, “stay[ ] in the market (to keep our

 distributors’ network and to [keep] Turkish imports [from] flooding” the country, and “mak[e]

 some profit to at least repay the interests of the loan and giv[e] some assurance to the lenders.”25

          52.    Lafarge’s plan for buying off Syrian terrorists depended on Firas Tlass, its local

 agent and business partner. Tlass was a notorious Syrian industrial tycoon with a widespread

 reputation for corruption and terrorist finance. When Lafarge entered the Syrian market, Tlass

 controlled the Syrian conglomerate Min Ajl Suriyya (“MAS”), which had a preexisting joint



    24
         Plea Statement ¶ 24.
    25
         Id. ¶ 28.


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Case 1:24-cv-08901-NGG-PK            Document 1 Filed 12/30/24             Page 20 of 130 PageID #:
                                              20



 venture with Orascom to build the Jalabiyeh cement plant. When Lafarge bought Orascom, it

 inherited Tlass’s joint venture and thus became business partners with both MAS and Tlass.

        53.     Lafarge, through LCS and Tlass, made its first payments to Syrian armed groups

 in July 2012. LCS executives and agents then began meeting directly with armed groups as early

 as September 2012, when Veillard, Tlass, and other LCS personnel attended a meeting with

 numerous factions in Gaziantep, Turkey, across the border from the Jalabiyeh plant. Tlass

 proposed that LCS pay these groups a monthly fee or alternatively pay them based on how much

 cement the Jalabiyeh plant produced. Lafarge and LCS quickly agreed to Tlass’s proposal and

 began making monthly “donations” to the armed groups around the plant.

        54.     This plan led Lafarge and LCS to knowingly pay millions of dollars to ISIS and

 ANF. Both companies pleaded guilty in this District and admitted paying at least $5.92 million

 to ISIS and ANF from August 2013 to October 2014. On information and belief, their total

 payments to terrorist groups were far higher, likely exceeding $15 million. And after Lafarge

 evacuated the plant in September 2014, ISIS sold the cement Lafarge had left there for a gain of

 approximately $3.21 million. During its cooperation with ISIS and ANF, Lafarge obtained at

 least $70.3 million in total sales revenue from its operations at the Jalabiyeh plant.

        55.     A July 14, 2014 Gmail message from Tlass to Pescheux exemplified Defendants’

 intentional payments to terrorists. In that Gmail, Tlass discussed his “negotiations with ISIS,”

 highlighted that the negotiations were “going better,” proposed providing ISIS with “a monthly

 statement,” and sought input from Pescheux about how much Lafarge’s distributors should pay

 the terrorists “in addition to the ten millions that we pay directly to them, i.e. to ISIS.”




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Case 1:24-cv-08901-NGG-PK               Document 1 Filed 12/30/24           Page 21 of 130 PageID #:
                                                 21




          56.        Each Defendant played a culpable role in providing this material support to ISIS

 and ANF. When Plaintiffs refer below to “Defendants” or to “Lafarge” making payments, they

 mean that all three corporate affiliates cooperated to facilitate the payments. For ease of

 reference, this Complaint does not repeat each Defendant’s individual role every time it

 describes their conduct. Their roles generally remained consistent throughout the alleged course

 of conduct. At all relevant times, the three Defendants did the following:

          57.        Lafarge. Lafarge oversaw and directed the conduct of the other two Defendants,

 both of which were subsidiaries it controlled. When LCS transacted with ISIS and ANF, it did

 so “at the direction of LAFARGE’s and LCS’s senior management,”26 including Herrault, a



    26
         Id. ¶ 16.


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Case 1:24-cv-08901-NGG-PK           Document 1 Filed 12/30/24            Page 22 of 130 PageID #:
                                             22



 Lafarge Executive Vice President based in Paris. LCS kept Lafarge executives informed of its

 decisions, and it followed Lafarge’s directions in deciding how to interact with terrorists. As

 Herrault wrote in 2017, LCS’s “local concessions” to terrorists “were made with the clear and

 repeated approval” of senior Lafarge leadership.27 And Lafarge made those decisions “for the

 specific purpose of protecting LAFARGE’s and LCS’s employees, assets, and future economic

 opportunities in Syria.”28 Thus, when allegations below refer to LCS or LCS employees, the

 described conduct occurred at Lafarge’s direction and for Lafarge’s benefit.

         58.    Lafarge Cyprus. Lafarge Cyprus was the intermediate subsidiary through which

 Lafarge owned most of its shares in LCS. Lafarge Cyprus functioned as the corporate instrument

 through which Lafarge often routed money to LCS and to Tlass and thereby financed Lafarge’s

 payments to terrorists. When Lafarge Cyprus supplied LCS and Tlass with such financing, it did

 so knowingly, at Lafarge’s direction and with Lafarge’s approval. For example, Lafarge Cyprus

 (rather than Lafarge or LCS) executed a phony 2014 consulting agreement with Tlass, which

 Lafarge engineered to conceal its payments to ISIS.29 By acting as the conduit through which

 Lafarge moved its money, Lafarge Cyprus played a key role in Defendants’ scheme.

         59.    LCS. LCS was Lafarge’s Syrian subsidiary that operated the Jalabiyeh cement

 plant on the ground in Syria. LCS executives had direct interactions with Tlass and Taleb, gave

 instructions to both intermediaries, and effectuated payments to terrorists at Lafarge’s behest.

         60.    Overall, Defendants’ payments to ISIS and ANF took three main forms: (1) flat

 monthly “donation” payments; (2) volume-based payments guaranteeing LCS’s distributors and

 customers access to the Jalabiyeh cement plant; and (3) payments to ISIS-controlled suppliers to


    27
       Id. ¶ 16.
    28
       Id. ¶ 16.
    29
       See, e.g., Plea Statement ¶¶ 96-103.


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Case 1:24-cv-08901-NGG-PK               Document 1 Filed 12/30/24           Page 23 of 130 PageID #:
                                                 23



 obtain the raw materials needed for cement production. Lafarge and LCS also knowingly sold

 cement to ISIS, which ISIS used directly to support terrorist activities. Each is discussed below.

          A.         Defendants Made Fixed Monthly Payments To ISIS And ANF

          61.        Defendants made fixed monthly payments to ISIS and ANF. They made these

 payments primarily by using Tlass as an intermediary. As Lafarge and LCS admitted in pleading

 guilty to providing material support to terrorists, their payments to ISIS and ANF occurred from

 “in or around August 2013, or earlier, through October 2014.”30 Consistent with the “or earlier”

 reference, the facts below indicate that Defendants’ payments to terrorists began in late 2012 or

 early 2013. In total, Lafarge made at least $816,000 in such monthly “donation” payments.

          62.        Lafarge began setting up its fixed monthly payments to Syrian armed groups as

 early as July 2012. A few months before, in May 2012, unrest had engulfed the areas around the

 Jalabiyeh plant in Northern Syria. To allow Lafarge to maintain good relations with the groups

 responsible, Tlass began buying them off on Lafarge’s behalf. Defendants initially gave Tlass

 between $80,000 and $100,000 per month to distribute to the armed groups around the factory.

 Tlass, in turn, provided periodic lists to Lafarge and LCS executives that identified each of the

 various groups he was paying on his clients’ behalf. These lists enabled Lafarge executives to

 understand Tlass’s monthly payments and to oversee Tlass’s activities.

          63.        As part of this process, Defendants, through Tlass, established contact with ANF

 by November 2012. On information and belief, Tlass began making monthly donations to ANF

 shortly thereafter. Those payments were confirmed by February 2013, when Tlass advised LCS

 he was paying the “ALRAQA People,” a reference to ANF.31 Although Defendants did not ask



    30
         Id. ¶ 19.
    31
         Id. ¶ 38.


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Case 1:24-cv-08901-NGG-PK            Document 1 Filed 12/30/24             Page 24 of 130 PageID #:
                                              24



 Tlass for the identity of “ALRAQA People,” Lafarge and LCS executives knew it referred to

 ANF, given that they had approved Tlass’s plan “to establish relations with ANF” in late 2012

 and that ANF had taken control of Raqqa in a highly publicized assault in early 2013.32 Indeed,

 LCS’s former risk manager candidly admitted that “Al-Nusra Front was ‘the group in Rakka,’ ”

 further explaining: “Lafarge was aware of the sums paid and the recipients.”

         64.    Lafarge’s and LCS’s intentional monthly payments to ISIS likewise began in the

 spring of 2013. By the summer of 2013 at the latest, Defendants had concluded that they “could

 not continue to operate in Syria without negotiating and ultimately making payments to ISIS.”33

 Soon after, Tlass’s periodic lists of “donations,” circulated among Lafarge executives, began

 referencing ISIS expressly, memorializing in writing what Defendants already understood.

         65.    Defendants made these payments to stay on good terms with ISIS and ANF.

 Defendants intended for the payments (among other things) to “unlock” the roads to and from

 Jalabiyeh for their customers and distributors. For a while, the payments accomplished their

 aim. In a May 2014 email, for instance, Tlass touted Defendants’ bribe-enabled “good relations”

 with ISIS and ANF.34 As a former LCS employee stated, “Lafarge paid a high price” by bribing

 ISIS, but successfully “obtained relative security for the continuation of its activities.”

         66.    Defendants paid to stay on good terms with ISIS and ANF because it was

 profitable to do so. As Tlass noted to Lafarge and LCS executives in March 2014: “We

 currently sell for $8 to $10 million per month, with a $2 million profit, and pay less than 1/4 for

 protection. Other factories are paying for protection just to exist, without making the profits we




    32
       Id. ¶¶ 27, 38.
    33
       Id. ¶ 33.
    34
       Id. ¶ 47.


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Case 1:24-cv-08901-NGG-PK               Document 1 Filed 12/30/24          Page 25 of 130 PageID #:
                                                 25



 are.”35 In fact, profit – not safety – was Defendants’ principal motivation. Defendants’

 managers did not face any imminent threat of harm. Nor was their conduct designed to protect

 LCS’s local employees. For example, LCS threatened to fire employees who did not come in-

 person to the factory, insisting instead that they expose themselves to personal risk by traveling

 to and from Jalabiyeh. LCS also forced its employees to travel to Aleppo to retrieve cash from

 banks there, knowingly subjecting employees to the risk of kidnapping. On one occasion, LCS

 reportedly even fired an employee after he was abducted. Throughout, Defendants had

 alternatives to paying the terrorists: among other things, they could have closed the plant and

 left Syria, as other multinational companies did. But they stayed to boost their bottom line.

          B.         Defendants Made Volume-Based Payments To ISIS And ANF

          67.        In addition to monthly donations, Lafarge and LCS also made volume-based

 payments to ISIS and ANF. These payments totaled at least $1.65 million.

          68.        At first, Lafarge paid a volume-based fee of $150 per truck to ANF and ISIS.

 Rather than pay directly, Lafarge discounted the price of cement it sold to its customer-

 distributors to reimburse them for making the payments to ANF and ISIS. To make sure the

 arrangement worked, Lafarge agreed to provide details to ISIS reporting the amount of cement it

 sold to each customer-distributor, so the terrorists could verify the payment amounts.

          69.        Lafarge’s and LCS’s arrangement with ISIS soon evolved into paying volume-

 based amounts for the trucks going in and out of the Jalabiyeh plant. Lafarge and LCS agreed in

 November 2013 that LCS would pay ISIS for each ton of cement, in exchange for ISIS ensuring

 the safe passage of each truck. That agreement – dated November 6, 2013 – was memorialized

 on ISIS letterhead and was executed by ISIS and LCS (the latter acting on Lafarge’s behalf ).



    35
         Id. ¶ 46.


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Case 1:24-cv-08901-NGG-PK               Document 1 Filed 12/30/24          Page 26 of 130 PageID #:
                                                 26



          70.        Under that agreement, ISIS issued stamped vehicle passes – on ISIS letterhead –

 granting passage to Lafarge trucks “after they have fulfilled their dues to us.”36 An example of

 an ISIS vehicle pass, dated April 26, 2014 and bearing ISIS’s letterhead and stamp, is below:




 In exchange for these and other passes, Defendants routed millions of additional dollars to ISIS.

          C.         Defendants Paid ISIS-Controlled Suppliers For Raw Materials

          71.        Lafarge and LCS also paid ISIS by buying raw materials from ISIS-controlled

 suppliers. These additional payments to terrorists totaled at least $3,447,528.

          72.        Lafarge again worked through Tlass to negotiate the purchase of such materials

 from ISIS. For example, a Tlass associate negotiated a deal between LCS and ISIS in November

 2013 to buy pozzolana, a type of volcanic ash used in cement.

          73.        Defendants also used another intermediary, Amro Taleb, to negotiate the purchase

 of key raw materials from ISIS. Taleb had approval from the highest levels of Lafarge, meeting


    36
         Id. ¶ 36.


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Case 1:24-cv-08901-NGG-PK               Document 1 Filed 12/30/24            Page 27 of 130 PageID #:
                                                 27



 in September 2013 with a former CEO of Lafarge who sat on its Board of Directors. The

 materials Defendants sourced from ISIS-controlled suppliers included coal, fuel, and pozzolana.

 Taleb negotiated one such purchase from ISIS in September 2013, explaining to Lafarge

 executives that Defendants’ deal was with “Islamic state” and that he “OFFICIALLY

 REPRESENT[S] ISLAMIC STATE FOR INVESTMENTS.”37

          74.        Defendants’ raw-material purchases from terrorists in the fall of 2013 spurred

 negotiations over a longer-term deal in the ensuing months. In early 2014, LCS agreed to buy

 large quantities of raw materials from ISIS suppliers: 200,000 tons of pozzolana, 16,000 tons of

 heavy fuel oil, 15,000 tons of dirty fuel (with an option for 35,000 more), yellow sand, and coal.

          75.        Lafarge and LCS executives understood that their transactions with ISIS-

 controlled suppliers violated U.S. and Syrian law. But they were pleased with the deal, which

 LCS reported to Lafarge. As Pescheux (LCS’s CEO) wrote to Herrault (Lafarge’s Executive

 Vice President) on February 16, 2014, the “situation with Daech (the jihadists of Islamic State in

 Iraq and Sham (ISIS)) is relatively calm” due to Lafarge’s and LCS’s payments.38

          D.         Defendants Sold Cement To ISIS

          76.        Defendants did not just give money to terrorists. On information and belief, they

 also provided ISIS with LCS-manufactured cement. In one 2014 email to Jolibois, an LCS risk

 manager explained that ISIS was “looking for distributors in Syria like ours” to provide 150,000

 tons of cement. The request was conveyed via one of LCS’s largest customer-distributors, which

 was closely linked to ISIS. LCS understood at the time, as memorialized in an internal company

 note, that ISIS was seeking such cement for its “personal consumption” rather than to “market



    37
         Id. ¶ 49.
    38
         Id. ¶ 54.


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Case 1:24-cv-08901-NGG-PK           Document 1 Filed 12/30/24             Page 28 of 130 PageID #:
                                             28



 it.” On information and belief, Lafarge and LCS agreed to ISIS’s request for cement. This

 information includes Veillard’s communications, which contain evidence of “cement going to

 Daesh.” Or, as a former LCS employee stated in an interview, when the terrorists “needed

 cement to build their tunnels and trenches,” an LCS “manager would give it to them.”

        77.     The same LCS employee further observed that it was “not a simple business

 relationship between a company offering cement and terrorist groups that needed money and

 cement for their defensive positions and tunnels.” As the employee put it, Lafarge and LCS

 “could do anything. They had deals with ISIS.” This was reflected in periodic sales reports that

 an LCS sales manager sent to Pescheux. According to that former sales manager, “it was not our

 problem that Daesh received our cement.” Similarly, a former French intelligence analyst

 reportedly testified that Lafarge sold cement to ANF and ISIS in Syria. In his words, “ISIS

 needed primary resources provided by whatever actor. Lafarge was one of them.”

        78.     Lafarge’s provision of cement to ISIS offered the terrorists a valuable form of

 operational assistance. ISIS used those materials to fortify its network of underground tunnels

 and bunkers, which its operatives exploited to hide from U.S. and coalition counterterrorism

 forces, including in Northern Syria and near the Syria-Iraq border. ISIS also used fortified

 industrial-strength tunnels – which, on information and belief, required LCS’s high-grade cement

 – to move terrorist operatives, hostages, weapons, and equipment without being detected by U.S.

 coalition forces and facilitate attacks. Those cement sales thus directly supported ISIS’s terrorist

 operations, including attacks that targeted Plaintiffs and their family members.

        E.      Defendants Conspired With ISIS To Undercut Their Competitors

        79.     Lafarge conspired with ISIS not only to keep the Jalabiyeh cement plant in

 operation, but also to enlist ISIS’s broader assistance. Throughout 2014, Lafarge sought a

 “durable agreement” with ISIS, because it perceived that ISIS “will stay in the region for a long


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Case 1:24-cv-08901-NGG-PK             Document 1 Filed 12/30/24              Page 29 of 130 PageID #:
                                               29



 term [sic], so we have to deal carefully with them.”39 In that way, Lafarge came to see ISIS as a

 business partner it could use to its economic advantage. As the U.S. Attorney for this District

 stated in announcing Lafarge’s and LCS’s guilty plea, Lafarge bribed ISIS “not merely in

 exchange for permission to operate its cement plant – which would have been bad enough – but

 also to leverage its relationship with ISIS for economic advantage, seeking ISIS’s assistance to

 hurt Lafarge’s competition in exchange for a cut of Lafarge’s sales.”40

          80.    In negotiating a long-term agreement with ISIS, Lafarge and LCS consistently

 pushed for ISIS to take action against its competitors. In May 2014, Pescheux proposed that

 ISIS “take a ‘toll fee’ on each truck loaded with Turkish cement,” which would both generate

 revenue for ISIS and “reduc[e] the attractiveness of Turkish cement” in the Syrian market

 Lafarge sought to dominate.41 In July 2014, Tlass updated Lafarge executives on these

 negotiations with ISIS. For Turkish cement, Tlass explained he was seeking an agreement that

 “costs are imposed on its passage on any of the roads controlled by the ISIS.”42 Pescheux

 responded by reiterating his position that ISIS should charge a high fee on Turkish imports.

          81.    Lafarge and LCS also sought a broader revenue-sharing arrangement with ISIS in

 return for ISIS undermining Lafarge’s Turkish competitors. Herrault, Lafarge’s Executive Vice

 President of Operations, wrote in July 2014 that “[w]e have to maintain the principle that we are

 ready to share the ‘cake’ . . . . To me, the ‘cake’ is anything that is a ‘profit’, after the

 amortization and before financial expenses.”43 Lafarge conditioned this “cake”-sharing on



     39
       Id. ¶ 71.
     40
       U.S. Dep’t of Justice, Lafarge Pleads Guilty to Conspiring to Provide Material Support to
 Foreign Terrorist Organizations (Oct. 18, 2022).
    41
       Plea Statement ¶ 69.
    42
       Id. ¶ 71.
    43
       Id. ¶ 73.


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Case 1:24-cv-08901-NGG-PK            Document 1 Filed 12/30/24            Page 30 of 130 PageID #:
                                              30



 ISIS’s reciprocal agreement to interdict cement from LCS’s competitors. To that end, in July

 2014, Pescheux wrote to his successor stating that “we need to know more about their promise to

 block Turkish cement.”44 Jolibois replied by seeking “more information about the way [ISIS]

 will control turkish cement import: stop it, implement tax? [H]ow much, to be paid how?”45

 And in August 2014, Jolibois again told Tlass that, “[i]f ISIS wants higher tax from us, it’s better

 for them to stop Turkish cement and Iraki cement, so that we may increase [our] price.”46

         82.    During this period, Tlass worked hard to reach what he called a “logical

 agreement” with ISIS, suggesting that Lafarge provide ISIS with a “monthly statement” that

 would enable ISIS to calculate the revenue-share split with precision. As his negotiations

 progressed, Lafarge and LCS took pains to ensure they would reap a competitive advantage from

 the final deal. For example, Tlass and Jolibois discussed how to refer to Lafarge when

 implementing their agreement with ISIS. They did not want ISIS’s passes to mention Lafarge’s

 name – as that could arouse suspicion – but they also did not want their payments to wind up

 protecting Lafarge’s competitors. Thus, as Tlass wrote to Jolibois on September 4, 2014, it was

 better to use a specific “pseudonym” that would protect Lafarge’s customer-suppliers but not

 their competitors, making clear that “ISIS cannot let all the customers pass, just ours.”

         83.    On August 15, 2014, the United Nations Security Council issued a resolution

 “condemn[ing] in the strongest terms the terrorist acts of ISIL and its violent extremist ideology,

 and its continued gross, systematic and widespread abuses of human rights and violations of

 international humanitarian law,” and calling on all member states to “ensure that no funds,

 financial assets or economic resources are made available, directly or indirectly for the benefit of


    44
       Id. ¶ 75.
    45
       Id. ¶ 75 (second alteration in original).
    46
       Id. ¶ 77.


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Case 1:24-cv-08901-NGG-PK           Document 1 Filed 12/30/24             Page 31 of 130 PageID #:
                                             31



 ISIL [or] ANF.”47 Several days after the U.N. resolution, Veillard informed Herrault and

 Jolibois about that designation, plus new U.S. sanctions on additional ISIS and ANF leaders.

         84.    These U.S. and U.N. designations did not drive Lafarge’s decision-making; its

 operating margins did. Despite ISIS’s heightened demands, and despite the escalating U.S. and

 U.N. terrorism sanctions, Lafarge decided that its margins were good enough to justify sharing

 revenue with ISIS. In mid-August 2014, Jolibois analyzed Lafarge’s projected margins and

 stated, “I recommend acceding to the request of ISIS.”48 By August 27, 2014, Lafarge

 executives reported to the company’s Executive Committee that they had a deal with ISIS.

         85.    On information and belief, Defendants did not withdraw from their conspiracy

 until 2019 or later, which was after the period (2013-2017) when ISIS and ANF committed every

 attack that killed and injured Plaintiffs. Defendants knew their participation in ISIS’s conspiracy

 would aid ISIS’s ability to conduct terrorist attacks for years after their last payment. But

 Defendants’ first public acknowledgement occurred on April 24, 2017, when Holcim issued a

 press release addressing only some of Lafarge’s unlawful activities.49 Holcim’s press release did

 not fully disclose the identities of the wrongdoers, did not admit that Defendants had violated

 any U.S. or French criminal law, and downplayed the severity of what Defendants had done.50

         86.    On information and belief, Defendants did not begin cooperating with the U.S.

 Department of Justice until at least 2019 and did not fully disclose their conduct to the U.S.

 government until a significant time after that. Even then, their cooperation with the U.S.

 government was incomplete, which the Department of Justice criticized. As the Plea Agreement


    47
        U.N. Security Council Resolution 2170 at 3, 4 (Aug. 15, 2014),
 https://tinyurl.com/46ekzrzj.
     48
        Plea Statement ¶ 83.
     49
        Id. ¶ 110.
     50
        Id. ¶ 110.


                                                  28
Case 1:24-cv-08901-NGG-PK             Document 1 Filed 12/30/24            Page 32 of 130 PageID #:
                                               32



 states, Lafarge’s “criminal conduct” was “not voluntarily self-reported to the Department of

 Justice,” which “did not receive timely and full cooperation with [its] investigation.”51

 III.        DEFENDANTS KNEW, AND TRIED TO CONCEAL, THAT THEY WERE
             SUPPORTING U.S.-DESIGNATED TERRORIST GROUPS

             87.   At all times, Defendants understood that they were dealing with U.S.-designated

 terrorists. In December 2012, Veillard approved negotiations with ANF despite knowing that

 ANF was “on USA’s list of terrorist organizations.”52 In March 2013, an LCS risk manager

 further advised Veillard and Pescheux of ANF’s “ties to al-Qaeda.”53 In September 2013,

 Lafarge’s Security Committee conceded that Lafarge and LCS were “having to directly or

 indirectly negotiate with networks classified as terrorists by international organizations and the

 US.”54 And in August 2014, Lafarge executives internally discussed the United States’ decision

 to add terrorists from ISIS and ANF to the U.S. list of SDGTs. But such awareness did not

 dissuade Lafarge from seeking to preserve its business relationship with ISIS. Throughout the

 negotiations, Lafarge remained willing to engage with ISIS, even as Herrault reminded Jolibois

 that “we should not forget that ISIS is a terrorist movement.”55

             88.   In fact, ISIS’s and ANF’s status as terrorist groups supplied Lafarge’s principal

 motivation for cooperating with them. Their penchant for violence was the reason Lafarge

 wanted to pay them off: by sharing revenues and aligning the terrorists’ interests with its own,

 Lafarge redirected terrorist violence away from itself and to others instead. In that way, the

 threat of terrorist violence presented both risk and opportunity. The risk – the potential threat to



        51
           Plea Agreement § 7(f ).
        52
           Plea Statement ¶ 27.
        53
           Id. ¶ 27.
        54
           Id. ¶ 31.
        55
           Id. ¶ 82.


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Case 1:24-cv-08901-NGG-PK             Document 1 Filed 12/30/24          Page 33 of 130 PageID #:
                                               33



 Lafarge’s and LCS’s “continued operation of the Jalabiyeh Cement Plant” – motivated Lafarge

 and LCS to pay ISIS and ANF for protection.56 And the opportunity – to leverage terrorist

 violence against Lafarge’s would-be competitors – further motivated Lafarge and LCS to strike a

 deal “to obtain economic advantage over their competitors in the Syrian cement market.”57 The

 resulting arrangement allowed Lafarge to profit from ISIS’s terrorism. That is why it entered a

 revenue-sharing arrangement in the first place: to “incentiviz[e] ISIS to act in a manner that

 would promote Lafarge’s and LCS’s security and economic interests.”58

         89.       Lafarge and LCS recognized that their conduct was illegal, so they worked hard to

 conceal it. One way they did so was paying the terrorists through intermediaries rather than

 directly. According to LCS’s former risk manager, “it was especially important that the

 relationship would be handled by [Tlass]’s middlemen, since an exposure of this sort would have

 been compromising for LCS.” This use of intermediaries did not reduce the significance of

 Lafarge’s and LCS’s terrorist financing; it just made the financing harder for others to discover.

 As LCS’s risk manager observed, Lafarge’s payments – nominally indirect, but designed to

 reach terrorists just the same – “did in fact contribute to the economy of ISIS.”

         90.       Lafarge and LCS also insisted on keeping the name “Lafarge” off their

 correspondence with ISIS and ANF. For instance, Pescheux told Tlass in September 2013 that

 “the name of Lafarge should never appear for obvious reasons in any document” memorializing

 Lafarge’s illegal payments.59 Similarly, in early September 2014, Jolibois complained to Tlass




    56
       Id. ¶ 15.
    57
       Id. ¶ 15.
    58
       Id. ¶ 15.
    59
       Id. ¶ 32.


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Case 1:24-cv-08901-NGG-PK               Document 1 Filed 12/30/24           Page 34 of 130 PageID #:
                                                 34



 that ISIS was putting Lafarge’s name on vehicle passes (thus suggesting Lafarge had paid), when

 Lafarge had intentionally routed payment through LCS’s customers-distributors instead.

          91.        Lafarge and LCS also directed Tlass and Taleb to create fake invoices to paper

 over their payments to terrorists. One key reason for those invoices, Pescheux observed, was to

 “avoid problems with the Syrian authorities and with our Auditors.”60 To that end, in January

 2014, Pescheux instructed Taleb to invoice only for “[e]nvironmental consultancy services,”

 even though Taleb was actually brokering the sale of pozzolana and heavy fuel oil from ISIS-

 controlled suppliers. Similarly, Pescheux sent an internal email instructing several LCS

 employees that “we all have to stop [using] the acronym of an organization which is on

 terrorist lists” and instead use code words, further masking Lafarge’s activities.

          92.        More broadly, Lafarge and LCS went to great lengths to mask Tlass’s

 involvement in their negotiations with terrorists. Defendants removed Tlass from the LCS board

 in mid-2013. But they wanted to retain his services as an intermediary, so Pescheux told Tlass

 that Lafarge’s “preferred option” was to make “a bank transfer in USD to the account of a duly

 registered company” secretly controlled by Tlass, which would appear less suspicious.61

          93.        Tlass and Lafarge eventually reached a deal negotiated by Roux, then a Lafarge

 Executive Vice President in Paris. Styled an “External Support Agreement,” it provided that

 Lafarge would deliver $75,000 monthly to Tlass: $50,000 to compensate Tlass, $25,000

 earmarked for distribution to ISIS and other groups. The agreement was conditioned on the

 Jalabiyeh plant continuing to produce at least 75,000 tons of cement per month.




    60
         Id. ¶ 57.
    61
         Id. ¶ 60.


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Case 1:24-cv-08901-NGG-PK            Document 1 Filed 12/30/24            Page 35 of 130 PageID #:
                                              35



          94.     Lafarge and LCS also “falsif[ied] records” regarding their payments to Tlass.62

 For example, Lafarge and LCS documented their $75,000 monthly payment to Tlass at least once

 as “Operating expenses,” with no reference to Tlass or any of his associates.

          95.     Lafarge and LCS also tried to cover their tracks after evacuating the Jalabiyeh

 plant in September 2014. In October 2014, Tlass sought payment for his final months of service

 as Lafarge’s intermediary. In return, Lafarge and LCS demanded that Tlass sign a termination

 agreement backdated to August 18, 2014. That date suggested falsely that Lafarge and LCS had

 terminated Tlass in prompt response to the August 15, 2014 U.N. resolution.

          96.     Beyond backdating the contract, Lafarge took additional steps to conceal its

 relationship to Tlass. It drafted a new “Agreement for Regional Security Consulting Services,”

 to be entered between Lafarge Cyprus and a new Dubai company Lafarge asked Tlass to create.

 Lafarge agreed to pay Tlass $210,000 for work he had already done and to make additional U.S.-

 dollar payments of $30,000-per-month moving forward. Tlass also agreed to keep confidential

 all information he knew about Lafarge and its activities. Even as Lafarge compensated Tlass for

 serving as its conduit to terrorist groups, Lafarge inserted a phony provision nominally requiring

 Tlass to abide by “all applicable laws,” including “the prohibition of financing of terrorism.”63

          97.     Lafarge also concealed its ties to terrorist groups as it consummated a merger in

 2014-2015 with Holcim, Lafarge’s then-main multinational competitor in the building-materials

 industry. Holcim asked Lafont, Lafarge’s CEO, whether any important undisclosed issues

 should be brought to Holcim’s attention before the transaction closed in 2015. Lafont and

 Lafarge’s other executives said nothing and hid their payments to terrorists.



    62
         Id. ¶ 62.
    63
         Id. ¶ 100.


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Case 1:24-cv-08901-NGG-PK             Document 1 Filed 12/30/24            Page 36 of 130 PageID #:
                                               36



            98.    Lafarge’s and LCS’s cooperation with terrorists came to light publicly only in

 2016, after the merger with Holcim, when a Syrian opposition group publicized Lafarge emails

 about its payments to ISIS. Facing public scrutiny over these serious allegations, LafargeHolcim

 – as the combined entity was then known – launched an internal investigation. In 2017, the

 company concluded that Lafarge’s leaders had engaged in “unacceptable” actions, made

 “significant errors of judgement,” and “neglect[ed] to focus sufficiently on the legal and

 reputational implications of their conduct.”64 French authorities subsequently initiated a criminal

 investigation. Many of Lafarge’s and LCS’s former employees now face criminal prosecution in

 France for the conduct alleged in this Complaint.

 IV.        DEFENDANTS’ PAYMENTS TO ISIS AND ANF SUBSTANTIALLY ASSISTED
            THE TERRORIST ATTACKS THAT KILLED AND INJURED PLAINTIFFS

            A.     Defendants’ Payments Made A Vital Contribution To ISIS’s And ANF’s
                   Terrorist Attacks In Iraq, Syria, And Elsewhere

            99.    Defendants’ payments financed ISIS’s and ANF’s terrorist attacks, including

 those against Plaintiffs. Both terrorist groups relied on protection rackets – demanding taxes

 from local corporations and other entities in exchange for the terrorists’ “protection” – to fund

 their attacks. In that respect, both groups inherited their fundraising techniques from AQI, their

 common predecessor, consistent with their status as “AQI 2.0 . . . in the Middle East.”65 AQI,

 like other terrorist groups, had long used protection rackets to fund terrorist attacks.

            100.   ISIS and ANF continued the same legacy-AQI protection rackets, financing

 themselves by raising “taxes” from entities doing business in territory they controlled, “done




       64
        Id. ¶ 110.
     65
        Michael R. Gordon, Degrade And Destroy: The Inside Story Of The War Against The
 Islamic State, From Barack Obama To Donald Trump 113 (Farrar, Straus and Giroux 2022).


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Case 1:24-cv-08901-NGG-PK           Document 1 Filed 12/30/24            Page 37 of 130 PageID #:
                                             37



 under the auspices of providing notional services or ‘protection.’ ”66 And protection payments,

 like the ones Defendants made, were vital to both groups’ terrorist operations. According to one

 study, protection rackets supplied one of ISIS’s “most important sources” of funding, providing

 key “operational support” for the group’s violent terrorist attacks.67 These “protection rackets,”

 as former Ambassador Samantha Power summarized, enabled ISIS to “pay its followers and fund

 attacks around the world.”68

         101.   Money is the lifeblood of terrorism, including for ISIS and ANF. As the United

 States explained in a criminal case against a member of al-Qaeda’s terrorist syndicate,

 “[n]etworks of violence and terror do not just require people willing to commit suicide attacks.

 They need people to provide money.”69 Or, in the words of deceased al-Qaeda financial chief

 Sa’id al-Masri, “without money, jihad stops.”70 Defendants’ money supplied ISIS and ANF with

 what they needed to commit terrorist attacks against Americans.

         102.   Defendants’ payments materially enhanced ISIS’s and ANF’s ability to commit

 those terrorist attacks. Without the “financial resources” supplied by such payments, the

 Financial Action Task Force concluded, “the capability and activity of terrorist organizations

 such as ISIL [would have been] degraded.”71 As Juan Zarate, a former U.S. Treasury

 Department official, likewise explained in 2015, diversified “[f ]inancial flows” were especially



    66
        Financial Action Task Force, Financing of the Terrorist Organisation Islamic State in Iraq
 and the Levant (ISIL) at 12 (Feb. 2015) (“FATF Report”), https://tinyurl.com/56sskw43.
     67
        FATF Report at 32.
     68
        Ambassador Samantha Power, Putting ISIS Out of Business, CNN Wire (Dec. 17, 2015).
     69
        Tr. of Arraignment at 19:2-4, United States v. Khan, No. 11-cr-20331 (S.D. Fla. May 23,
 2011), Dkt. 31.
     70
        U.S. Dep’t of Treasury, National Terrorist Financing Risk Assessment at 14 (2015),
 https://tinyurl.com/ymxztbzh.
     71
        FATF Report at 32.


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Case 1:24-cv-08901-NGG-PK              Document 1 Filed 12/30/24               Page 38 of 130 PageID #:
                                                38



 “important [to] groups like the Islamic State . . . . Money is their enabler but it’s also their

 Achilles heel.”72 Had Defendants refused to pay, they could have materially curtailed ISIS’s

 terrorist violence, impeding their ability to kill and injure Plaintiffs.

          103.   Other government reports confirm the direct link between Defendants’ payments

 and ISIS’s and ANF’s terrorist attacks. For example, the State Department reported that “ISIL

 and AQ affiliates, including [ANF],” used “criminal activities to raise funds for operational

 purposes,” observing that much of ISIS’s and ANF’s funding came from so-called “taxation” in

 Syria.73 Similarly, the U.N. Security Council documented that ISIS created “a sophisticated,

 quasi-bureaucratic revenue-generating structure” in Syria – of which Defendants’ payments were

 a material part – to generate “financial resources to support [its] ongoing military campaigns.”74

          104.   Terrorism scholars corroborated the point. As Dr. Daniel Byman at Georgetown

 wrote in 2015, ISIS raised crucial “money from taxing local populations,” including the “tax”

 Defendants paid. “The Islamic State uses this money,” Dr. Byman continued, “to pay its fighters

 . . . as well as to recruit new fighters and facilitate their travel to the battlefield.”75

          105.   The terrorists themselves described how protection payments played a key role in

 funding terrorist attacks. For example, ISIS publicly confirmed that it deployed its “taxes,”

 “khums,” “zakat,” “fay,” and “spoils” to support “[t]he mujahidin and jihad” – that is, it used


     72
        Juan Zarate, quoted in Federal News Service Transcripts, House Financial Services
 Committee hearing on Task Force to Investigate Terrorism Financing (Apr. 22, 2015), 2015
 WLNR 12099026.
     73
        U.S. State Dep’t, Country Reports on Terrorism 2014 at 9 (June 2015) (emphasis added),
 https://2009-2017.state.gov/documents/organization/239631.pdf. When the State Department
 (like other U.S. government agencies) says “operational purposes,” it means terrorist attacks.
     74
        U.N. Security Council, Report Of The Secretary-General On The Threat Posed By ISIL
 (Da’esh) To International Peace And Security And The Range Of United Nations Efforts In
 Support Of Member States In Countering The Threat ¶ 4 (Jan. 29, 2016) (emphasis added).
     75
        Dr. Daniel Byman, Al Qaeda, The Islamic State, And The Global Jihadist Movement:
 What Everyone Needs To Know at 173 (Oxford Univ. Press 2015).


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Case 1:24-cv-08901-NGG-PK            Document 1 Filed 12/30/24             Page 39 of 130 PageID #:
                                              39



 protection payments to finance the ISIS cells conducting terrorist attacks. Other reports

 concurred. In 2011, an Iraqi newspaper documented how AQI-operated rackets in Iraq and Syria

 – which Baghdadi then had controlled for about a year – extracted protection payments for the

 stated purpose of aiding the terrorists’ “resistance and jihad,” principally against U.S targets.76

         106.   Defendants knew that ISIS and ANF were using their money to commit terrorist

 acts. As noted above, Defendants were aware that both groups were U.S.-designated terrorist

 groups; that is why they worked so hard to conceal their conduct.77 They also knew that, in

 2012, ISIS and ANF had “gained control of territory in Syria and committed numerous terrorist

 acts, resulting in the deaths of numerous U.S. citizens.”78 Against that backdrop, as a former

 LCS risk manager admitted, Lafarge “should have pulled out” of Syria but instead cooperated

 with ISIS and ANF, allowing “those groups [to] directly or indirectly benefit[ ] from our

 operations.” And Defendants were aware of why local terrorists were running protection rackets.

 The same LCS employee acknowledged that “their motivation seemed obvious: they wanted

 money! Money to use for arms, ammunition, and battalion funding.”

         107.   The significance of Defendants’ payments was especially pronounced when

 viewed in light of the low marginal cost of ISIS’s and ANF’s individual attacks. According to

 one study of AQI by four terrorism scholars, “payments to foot soldiers to conduct attacks were

 fairly low; the costs of paying someone to plant IEDs was reportedly between $40 and $100,

 while payments for more elaborate attacks cost somewhere between $100 and $2,000.”79 And,


    76
        Saut al-Iraq, Mosul Businessmen: Al-Qa’ida Has Returned To Collect Money (Oct. 24,
 2011).
     77
        Supra ¶¶ 87-98.
     78
        Plea Statement ¶ 23.
     79
        Michael Freeman, Christopher L’Heureux, Dan Furleigh & Duke Pope, Insurgent And
 Terrorist Finances In Iraq, in Michael Freeman (Editor), Financing Terrorism: Case Studies at
 35 (Routledge 2017).


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Case 1:24-cv-08901-NGG-PK            Document 1 Filed 12/30/24             Page 40 of 130 PageID #:
                                              40



 although estimates vary, AQI often paid its mid-level commanders between $200-$400 per

 month, and they could make IEDs for a mere $100. Indeed, al-Qaeda bragged in online

 publications that it could conduct a sophisticated, transnational bombing targeting Americans for

 less than $5,000. As ISIS scholars Jessica Stern and J. M. Berger explained in 2016:

         Asymmetrical warfare is defined by asymmetry. Any terrorist ideology that can
         attract five recruits and the contents of their checking accounts can make
         headlines for months. A terrorist group with twenty willing recruits and half a
         million dollars can make headlines for years.80

         108.   At those rates, even a single payment of $5,000 to ISIS and ANF would have

 financed substantial terrorist violence. At the time, a $5,000 payment would have put 20

 terrorists (at $100 per fighter) and three commanders (at $333 per commander) in the field for a

 month and would have supplied them with 20 IEDs. Or the terrorists could have spent the

 $5,000 to purchase dozens of bomb components or to finance multiple complex attacks.

 Defendants’ payments were orders of magnitude higher. Those payments materially

 strengthened the terrorists’ ability to commit the attacks that killed and injured Plaintiffs.

         109.   U.S. government studies confirm the dramatic impact of even marginal financial

 contributions to AQI and its progeny. For example, one DOD study found a statistically

 significant relationship between small-dollar contributions and terrorist attacks, concluding that

 each successful terror attack in Iraq required on average only $2,732 to execute.81 The study

 thus demonstrated that even marginal reductions in AQI’s terrorist funds corresponded with a

 statistically significant reduction in terrorist violence. The converse was also true. For every


    80
        Jessica Stern & J. M. Berger, ISIS: The State Of Terror at 191 (Ecco 2016) (emphasis
 added).
     81
        See Benjamin Bahney et al., An Economic Analysis of the Financial Records of al-Qa’ida
 in Iraq at 61-67 (2010), https://www.rand.org/pubs/monographs/MG1026.html. Although this
 study addressed AQI specifically, its findings are substantially applicable to the activities of
 AQI’s successors – ISIS and ANF – which copied AQI’s techniques and inherited its resources.


                                                   37
Case 1:24-cv-08901-NGG-PK            Document 1 Filed 12/30/24             Page 41 of 130 PageID #:
                                              41



 $2,700 (or its rough equivalent) Defendants gave to AQI’s successors, they financed roughly one

 new terrorist attack. As a result, even just the $5.92 million Lafarge and LCS admittedly gave

 ISIS and ANF (the actual payment amount was likely higher) was more than enough to fund

 thousands of attacks – sufficient to kill every Plaintiff in this case multiple times over.

         110.   This effect was linear. Simply put, more money equaled more acts of terrorism.

 As Dr. Margaret Sankey of the U.S. Naval Institute and Air University, concluded in 2022:

         With the caveat and reminder that operations don’t cost a large amount in proportion to
         sustainment, VNSAs [Violent Non-State Actors] whose budgets have been reduced have
         to make hard decisions about maintaining their capabilities. In some cases, [297] there’s
         a clear pattern that more money means more attacks, with al-Qaeda in Iraq
         consistently increasing by one attack for every $2,700 sent by the central leadership to
         sectors. Mustafa Abu al-Yazid, an al-Qaeda financing chief, put it starkly: “There are
         hundreds wishing to carry out martyrdom-seeking operations, but they can’t find the
         funds to equip themselves. So funding is the mainstay of jihad.”82

         111.   As shown by evidence gathered in the ongoing French criminal case against

 Lafarge and its executives, Defendants’ payments were sufficiently pervasive and systemic that

 they substantially contributed to a range of ISIS terrorist attacks. The scale and repeated nature

 of Defendants’ payments magnified the effect of their contributions. According to French

 criminal investigators, the “amount and duration” of Lafarge’s multimillion-dollar bribes in Syria

 allowed ISIS to “plan and carry out violent operations in the area and abroad.” U.S.

 prosecutors concurred in that assessment. As Deputy Attorney General Monaco noted, “through

 their support and funding, Lafarge enabled the operations of a brutal terrorist organization.”83

         112.   Defendants’ payments to ISIS in 2013-2014 also assumed an outsized role in

 financing ISIS violence through at least the end of 2017. For ISIS in particular, money had a


    82
       Dr. Margaret Sankey, Blood Money: How Criminals, Militias, Rebels, and Warlords
 Finance Violence at 296-97 (Naval Institute Press 2022) (emphases added).
    83
       U.S. Dep’t of Justice, Deputy Attorney General Lisa O. Monaco Delivers Remarks
 Announcing a Guilty Plea by Lafarge on Terrorism Charges (Oct. 18, 2022).


                                                   38
Case 1:24-cv-08901-NGG-PK           Document 1 Filed 12/30/24             Page 42 of 130 PageID #:
                                             42



 multi-year shelf-life, given the way it hoarded cash and preserved it for future use. The U.S.

 government, for example, confirmed in February 2019 that “ISIS . . . in Syria . . . continue[d] to

 draw upon its cash reserves” from its older caliphate-era rackets,84 with the terrorists continuing

 to stretch the “stockpiled cash” they collected many years earlier.85 This reflected, among other

 things, ISIS’s strategic decision in 2014 to conserve resources – including its “tax” revenue and

 cement for fortifying underground tunnels – for future use years later. Similarly, Lafarge’s

 provision of high-quality cement to ISIS had a long shelf-life. Given these unique-to-ISIS

 practices, Lafarge’s material support in 2014 foreseeably contributed to ISIS attacks through at

 least 2017.

         113.   Despite the substantial nature of Defendants’ material support, Plaintiffs do not

 allege that Defendants’ resources aided every ISIS-linked attack anywhere in the world. Many

 such attacks were ISIS-“inspired,” in which ISIS propaganda supplied the inspiration and

 motivation for a lone-wolf attacker, without any ISIS operational involvement.86 Such attacks

 outnumbered the core ISIS-committed attacks against Americans and, while tragic, did not

 substantially benefit from Lafarge’s resources. Nor did Lafarge’s resources have a substantial

 effect on ISIS’s commission of terrorist attacks in Western Europe. With a few exceptions, ISIS



    84
        Lead Inspector General for Overseas Contingency Operations, Operation Inherent Resolve,
 Report to the United States Congress, October 1, 2018-December 31, 2018, Pursuant to § 8L of
 the Inspector General Act of 1978 at 21-22 (Feb. 4, 2019).
     85
        See Lead Inspector General for Overseas Contingency Operations, Operation Inherent
 Resolve, Report to the United States Congress, April 1, 2019-June 30, 2019, Pursuant to § 8L of
 the Inspector General Act of 1978 at 22 (Aug. 2, 2019) (“USCENTCOM reported that ISIS
 began to reestablish illicit fundraising capabilities in Syria this quarter through extortion and the
 collection of ‘taxes’ from residents and businesses in areas where it operates. . . . However, the
 funds it obtains using these methods will help it to meet its expenses without depleting
 stockpiled cash, USCENTCOM said.”).
     86
        See, e.g., A.J. Willingham, ISIS Has Mastered The Art Of Creating Lone Wolves, CNN
 (Mar. 23, 2017), https://tinyurl.com/4vdt9c7b.


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Case 1:24-cv-08901-NGG-PK            Document 1 Filed 12/30/24           Page 43 of 130 PageID #:
                                              43



 locally funded and organized those attacks, relying on its European cells to supply the fighters,

 weapons, and funds. This was due in part to European counterterrorism measures, which

 impeded the flow of funds and fighters from the Middle East into Western Europe. Faced with

 those measures – which created operational risks for ISIS – ISIS’s core leadership in Syria and

 Iraq instead focused on perpetrating attacks in nearby so-called “conflict zones,” where they

 could move money, fighters, and weapons across borders with greater ease.87 Resources

 delivered to ISIS cells in Syria aided such attacks. Such resources, given ISIS’s operational

 structure, typically did not have a major effect on locally organized attacks in Western Europe.

 But sometimes ISIS in Syria did play a material role in a Western European attack, as in the

 November 13, 2015 attack in Paris, France discussed further below.

         114.   The causal links alleged below fit this operational pattern. Although Lafarge’s

 resources did not contribute to every ISIS attack in the world, they materially contributed to the

 particular ISIS attacks at issue in this Complaint.

         B.     Defendants’ Material Support Contributed To The Individual Attacks That
                Targeted Plaintiffs And Their Family Members

         115.   Defendants’ payments aided the specific terrorist cell leaders and operatives who

 committed, planned, or authorized the attacks that killed and injured Plaintiffs. In each instance,

 Defendants’ support had a close geographical and temporal nexus to the attack.

         116.   ISIS’s and ANF’s fundraising apparatus was highly centralized, which enhanced

 the link between Defendants’ payments and both groups’ terrorist attacks. As AQI’s successors,



    87
       As the U.N. Security Council’s ISIS experts observed, “[t]he threat posed by Da’esh” . . .
 in conflict zones and, by extension, neighbouring Member States” was due to how ISIS “relie[d]
 on exploiting conflict-related fragilities” that enabled the “external operations capability of
 Da’esh.” U.N. Security Council, Fifteenth Report Of The Secretary-General On The Threat
 Posed By ISIL (Da’esh) To International Peace And Security And The Range Of United Nations
 Efforts In Support Of Member States In Countering The Threat ¶ 4 (July 26, 2022).


                                                  40
Case 1:24-cv-08901-NGG-PK            Document 1 Filed 12/30/24             Page 44 of 130 PageID #:
                                              44



 ISIS and ANF practiced what terrorism scholars Dr. Colin Clarke and Dr. Phil Williams called

 “Organizing for Crime,” and “[m]uch like its predecessor, AQI, [ISIS] . . . adopted a top-down

 approach that maintained hierarchical control over and a high degree of accountability for its

 financial assets as it worked to keep an ironclad grip over the money it earned from a series of

 rackets.”88 Relatedly, as the U.N. Security Council’s ISIS panel observed, ISIS’s “core

 leadership” in Syria and Iraq exercised “systematic financial direction” over the “[t]he finances

 of ISIL,” including “sources of revenue” that “include[d] . . . ‘taxing’ of commerce in areas it

 control[led].”89 Such systematic financial direction ensured that Defendants’ money in Syria

 financed ISIS’s and ANF’s terrorist attacks in other areas of the groups’ footprint.

         117.   Defendants’ payments aided ISIS attacks beyond Iraq and Syria, which ISIS and

 the U.S. government each described as ISIS’s “external attacks.” ISIS specifically relied on

 payments in Syria to finance attacks in the Middle East and Africa, including in Turkey. For

 example, one Middle Eastern newspaper reported in 2016 that “[t]he effects” of when “Daesh

 [ISIS] filled the caliphate’s coffers with [U.S.] dollars” enabled terrorist attacks in Turkey,

 noting that such “effect” “may lie in the debris of Ataturk airport” after ISIS’s attack there.90

         118.   In addition, ISIS “core” provided funding, terrorists, weapons, and training

 directly to ISIS branches in Africa, including the branch in Niger, which became known as ISIS-




    88
        Dr. Colin P. Clarke & Dr. Phil Williams, Da’esh In Iraq And Syria: Terrorist Criminal
 Enterprise, in Dr. Kimberley L. Thachuk & Dr. Rollie Lal (Editors), Terrorist Criminal
 Enterprises: Financing Terrorism Through Organized Crime at 38 (Praeger 2018) (“Clarke &
 Williams, Da’esh In Iraq And Syria”).
     89
        U.N. Security Council, Seventh Report Of The Secretary-General On The Threat Posed By
 ISIL (Da’esh) To International Peace And Security And The Range Of United Nations Efforts In
 Support Of Member States In Countering The Threat ¶¶ 16-18 (Aug. 16, 2018).
     90
        Emirates News Agency (WAM), Beware The Death Throes Of Daesh: Paper (June 30,
 2016), https://www.wam.ae/en/details/1395297323971.


                                                  41
Case 1:24-cv-08901-NGG-PK            Document 1 Filed 12/30/24            Page 45 of 130 PageID #:
                                              45



 GS (for “Greater Sahara”). Through that mechanism, the resources ISIS derived from its Syrian

 protection racket funded ISIS’s terrorist violence in Niger.

         119.   The U.S. government confirmed that ISIS’s fundraising in Syria facilitated ISIS

 attacks against Americans in Turkey and Africa. For example, in 2022, the Lead Inspector

 General for Operation Inherent Resolve reported to Congress that ISIS “core” managed the

 “global caliphate” and supplied its African branches with “financial support” for terrorist attacks:

         ISIS-Core Leads a Global Organization[.] The DIA reported ISIS-Core leaders
         in Iraq and Syria continued to manage the group as a global caliphate, maintaining
         an element in Iraq and Syria dedicated to overseeing the group’s branches
         around the world. Since 2014, ISIS has incorporated existing jihadist groups or
         upstart elements into its global organization, expanding into the Arabian Peninsula,
         South and Southeast Asia, Eurasia, Turkey, and Africa. The DIA said that ISIS
         leaders provided the group’s branches with guidance, media support, and
         funding. For example, ISIS-Somalia and ISIS-West Africa received resources and
         financial support from ISIS-Core leadership in Iraq and Syria.91

 Many documented examples of this relationship exist, showing that ISIS’s core leadership

 repeatedly transferred money to other branches of its caliphate, including in Turkey and Niger.92

         120.   When Defendants provided money to ISIS core leadership in Syria, they knew

 they were contributing to ISIS’s ability to launch terrorist attacks not only in Syria and Iraq, but

 also in places like Turkey and Niger. Defendants even remarked on that phenomenon in their

 internal emails. As LCS’s risk manager warned in a 2013 email, ANF “follow[s] a global jihadi




    91
        Lead Inspector General for Overseas Contingency Operations, Operation Inherent
 Resolve: Report to the United States Congress, October 1, 2021-December 31, 2021, Pursuant
 to § 8L of the Inspector General Act of 1978 at 23 (Feb. 8, 2022) (emphases added; citations
 omitted).
     92
        See, e.g., U.S. State Dep’t, Country Reports on Terrorism 2019 at 269 (June 2020) (noting
 that even in 2019, ISIS still maintained stockpiles of dollars “scattered across Iraq and Syria”
 that it had amassed from activities going as far back as 2013, and that “ISIS continues to rely on
 trusted courier networks and money services businesses to move its financial resources within
 and outside of Iraq and Syria”), https://tinyurl.com/5x89x8a5.


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Case 1:24-cv-08901-NGG-PK             Document 1 Filed 12/30/24           Page 46 of 130 PageID #:
                                               46



 ideology (similar to al-Qaida) and are more open to receive foreign fighters.”93 ANF had “ties

 to al-Qaeda,” the risk manager continued, “exemplified by participating al-Qaida veterans,

 mainly from Iraq.”94 Defendants’ awareness that ANF (and ISIS, which evolved from it)

 followed a “global” jihadist agenda using “foreign fighters” allowed them to foresee that Syrian

 terrorists would use Defendants’ funds to execute so-called “external attacks” in other regions.

           121.   Many other sources alerted Defendants that payments to ISIS’s core in Syria

 foreseeably aided ISIS’s attacks against the United States in countries neighboring ISIS’s

 caliphate in Iraq and Syria, including Turkey, and countries in African conflict zones, including

 Niger. Such sources included, but were not limited to:

 a.        about a decade of media reports confirming that ISIS, like AQI before it, had a long
           history of planning and executing external attacks in Turkey and Africa from the
           terrorists’ safe havens in Syria and Iraq,95 including from Raqqa;96

 b.        public ISIS threats to conduct such external attacks from ISIS’s Syrian/Iraqi caliphate;97



      93
        Plea Statement ¶ 27 (emphases added; brackets in original).
      94
        Id. ¶ 27.
     95
        See, e.g., Ewen MacAskill and Rory McCarthy, A Thug Who Will Stop At Nothing To
 Create Pure Islamic Zone In Middle East, Guardian (UK) (Sept. 23, 2004), 2004 WLNR
 23628883 (“Abu Musab al-Zarqawi, leader of [AQI], is regularly portrayed by the US
 government as a terrorist mastermind, responsible for activity in places as widespread as
 Hamburg, Chechnya, Madrid and Mombasa[, Kenya]”; “Zarqawi is probably responsible” for a
 broad range of “[a]ttacks” against the United States in the Middle East and Africa from his safe-
 havens in Iraq and Syria, including, but not limited to AQI’s: (1) “October 2002” attack against
 “Laurence Foley, a US diplomat, assassinated in Amman[, Jordan]”; (2) “November 2002 Attack
 on Mombasa[, Kenya] hotel”; and (3) an “attack on a synagogue in Turkey”).
     96
        See, e.g., BBC Int’l Reports (Europe), Turkey Possible Target For Al-Qa’idah Bombs –
 Police (Oct. 25, 2013) (“The [Turkish] Gendarmerie General Command sent a classified report
 to the Interior Ministry saying that [ISIS] was preparing to carry out bombings in Turkey . . .
 [and] that the Al-Qa’idah affiliated . . . organization active in the Syrian city of Rakka called the
 Iraq Levant Islamic State has prepared 10 car bombs to use in Turkey.”).
     97
        See, e.g., BBC Int’l Reports (Europe), Turkish Daily Views Fighting Between Syrian
 Rebels, Al-Qa’idah-Linked Group (Jan. 13, 2014) (“ISIL [] threatened Turkey with a series of
 suicide attacks in Turkey’s big cities”); Anadolu Agency, Syrian Source: ISIL Priming Suicide
 Bombers For Turkey (Jan. 22, 2014) (a Syrian source from Aleppo “[c]laim[ed] Islamic State of

                                                   43
Case 1:24-cv-08901-NGG-PK           Document 1 Filed 12/30/24            Page 47 of 130 PageID #:
                                             47



 c.     public U.S. government warnings that ISIS could commit such external attacks from its
        “core” in Syria and Iraq, including warnings published by Lieutenant General Joseph L.
        Votel, Secretary of State John Kerry, and the Voice of America, in 2014;98 and

 d.     public Turkish government warnings that ISIS could commit such external attacks
        through its “core” in Syria and Iraq.99

        122.    Defendants’ payments also had a close nexus to the specific terrorist cells and

 operatives who killed and injured Plaintiffs. The following ISIS cells used Defendants’

 payments to help orchestrate the attacks that targeted Plaintiffs and their family members.

        123.    ISIS’s Leadership Cell – sometimes called the “Shura Council,” “Governance

 Council,” or “Delegated Committee” – was the most prominent cell that ensured a direct link

 between Defendants and the attacks that targeted Plaintiffs. Terrorist leadership cells can

 function as the “mechanism by which insurgent groups plan, coordinate, and execute attacks.”100

 No groups better embodied that phenomenon than al-Qaeda and its progeny, AQI, ISIS, and

 ANF. Under these groups’ shared doctrine, each Leadership Cell comprised the group’s overall

 leader and his closest advisers. As terrorism scholar Andrew Mumford noted when reviewing




 Iraq and Levant [was] responsible for [an] attack . . . into Turkey and [was] preparing suicide
 bombers for future cross-border raids” and to “strike Turkish . . . population centers”).
     98
        See, e.g., Lieutenant General Joseph L. Votel, Armed Forces Nominations: Statement of
 Lieutenant General Joseph L. Votel, USA Nominee, Commander United States Special
 Operations Command, U.S. Senate, Committee on Senate Armed Services, Congressional
 Testimony via FDCH (July 10, 2014), 2014 WLNR 18705318; Secretary of State John Kerry,
 quoted in States News Service, Secretary Kerry: Remarks With Secretary Of Defense Chuck
 Hagel, Australian Minister Of Foreign Affairs Julie Bishop, And Australian Minister Of Defense
 David Johnston (Aug. 12, 2014); William Eagle, Islamic State Declaration Spreads To Nigeria,
 Voice of America (Aug. 25, 2014), 2014 WLNR 23409988.
     99
        See, e.g., Ibrahim Humaydi, A ‘New Page’ Between ‘Turkey’ and ‘Democratic Union’:
 Backing for the Kurds To Join the ‘Coalition’ and Fighting Extremism, Al-Hayat (July 30, 2013)
 (“the Istanbul talks included a Turkish [government] assertion that ‘Al-Nusrah’ and ‘ISIL’ pose a
 threat to Syria, Turkey, and the region”), republished by BBC Int’l Reports (Middle East), Syrian
 Kurdish Party Leader Says “New page” Opened In Ties With Turkey (July 31, 2013).
     100
         Colin P. Clarke, Terrorism, Inc.: The Financing Of Terrorism, Insurgency, And Irregular
 Warfare at 19 (Praeger 2015).


                                                 44
Case 1:24-cv-08901-NGG-PK           Document 1 Filed 12/30/24             Page 48 of 130 PageID #:
                                             48



 studies comparing ISIS to other groups, ISIS “represented an aberration in the history of modern

 global jihadism” because “[n]ever before has a movement been so centralised.”101

          124.   Baghdadi controlled ISIS’s Leadership Cell from 2010 until his death on October

 27, 2019. Throughout Baghdadi’s reign, the Leadership Cell functioned as his mechanism for

 financing, aiding, and directing attacks against Americans, including Plaintiffs. In this capacity,

 Baghdadi relied on Haji Iman, who served as Baghdadi’s “finance minister” and disbursed

 money to ISIS terrorist fighters and cells at Baghdadi’s direction. Under ISIS’s doctrine, every

 ISIS member worldwide swore the same oath of allegiance (ISIS’s bayat) directly to the same

 leader (ISIS’s “Caliph,” Baghdadi). Every ISIS terrorist globally served as a member of the

 same group and operated under Baghdadi’s direction.

          125.   Consistent with the longstanding “ability of Da’esh leadership to direct and

 maintain control over the flow of funds” that ISIS deployed to sponsor attacks,102 Baghdadi and

 ISIS’s Leadership Cell played a direct role in ISIS’s protection racket. Indeed, ISIS structured

 its cash flows to ensure that 20% of all income ISIS derived from its “taxes” in Syria went to

 Baghdadi and his Leadership Cell for use in planning and committing attacks.

          126.   Scholars have confirmed that AQI policy, as adopted by AQI’s successors ISIS

 and ANF, provided for the Leadership Cell to keep 20% of the group’s income from so-called

 “taxation.” According to terrorism scholar Brian Fishman, “Islamic State’s bureaucracy” was

 “organized . . . much as the ISI’s [i.e., AQI’s] was in 2006,”103 under which the terrorists’


    101
         Andrew Mumford, The West’s War Against Islamic State: Operation Inherent Resolve In
 Syria And Iraq at 12 (I.B. Tauris 2021).
     102
         U.N. Security Council, Fifteenth Report Of The Secretary-General On The Threat Posed
 By ISIL (Da’esh) To International Peace And Security And The Range Of United Nations Efforts
 In Support Of Member States In Countering The Threat ¶ 10 (July 26, 2022).
     103
         Brian H. Fishman, The Master Plan: ISIS, Al-Qaeda, And The Jihadi Strategy For Final
 Victory at 218 (Yale Univ. Press 2016) (“Fishman, The Master Plan”).


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Case 1:24-cv-08901-NGG-PK            Document 1 Filed 12/30/24             Page 49 of 130 PageID #:
                                              49



 “fundraising, largely organized at the sector level, combined taxation and extortion” and under

 which “ISI provinces carefully tracked both revenue and expenditures and passed 20 percent of

 their income to the national-level ISI [i.e., Baghdadi and the Leadership Cell here], which

 redistributed the funds as needed.”104

          127.    ISIS itself publicly confirmed that Baghdadi and his Leadership Cell captured

 20% of all value that ISIS extracted from taxation. For example, a 2014 ISIS publication

 outlined ISIS’s taxation practices and documented its “rulings” confirming that: (i) 20% of all

 tax payments made to any member or cell of ISIS went to Baghdadi; and (ii) as Caliph, Baghdadi

 had authority to deploy the 20% to support operations at his discretion:

          And rikaz has Zakat on it, and its extent is the fifth share, without consideration
          of the nisab, so the obligation of Zakat of rikaz applies absolutely in its small and
          large quantity, just the passing of the year is not conditional on it. And the
          evidence for these aforementioned rulings is the hadith of Abu Huraira (may God
          be pleased with him): that the Prophet (SAWS) said: ‘On rikaz is the fifth share.’
          As for the masraf of Zakat of rikaz, the matter goes back to the Caliph of the
          Muslims and their Imam, who disposes it wherever the interest requires it.

          128.    AQI doctrine, as practiced by ISIS and ANF, also provided a religious

 justification for Baghdadi’s receipt of 20% of all sums paid to ISIS because it styled those

 payments as “khums” – that is, religiously mandated donations. According to the ISIS-published

 treatise Sultaniya Wealth: Types and Rulings, “one fifth” of all income transfers to ISIS reached

 Baghdadi, for use by the Leadership Cell in planning and executing attacks.

          129.    ISIS’s public statements confirmed that Baghdadi received 20% of all payments.

 In early 2015, for example, ISIS issued a memorandum discussing recent fundraising and noting

 that ISIS’s process ensured “that the amir al-mu’mineen,” i.e., Baghdadi, would control “a fifth

 part of the spoils.” Similarly, “[a]ccording to ISIS’s propaganda magazine, Dabiq, one-fifth of


    104
          Id. at 218.


                                                   46
Case 1:24-cv-08901-NGG-PK               Document 1 Filed 12/30/24            Page 50 of 130 PageID #:
                                                 50



 the captives taken from Sinjar were distributed to ISIS’s central leadership to do with as it so

 chose; the remainder was divided among the rank and file . . . as the spoils of war.”105 Indeed,

 Kayla Mueller (whose estate and family are Plaintiffs), was personally “given” to Baghdadi to

 torture and rape, pursuant to ISIS’s 20% rule.

            130.   Defendants’ payments helped the ISIS Leadership Cell play a key role in the

 attacks that killed and injured Plaintiffs. From 2010 through 2017, ISIS’s Leadership Cell

 typically captured a percentage of the group’s protection income – likely 20% – including the

 payments that Defendants delivered. Given this standard practice, Defendants’ protection

 payments likely delivered more than $1 million to ISIS’s Leadership Cell.

            131.   Baghdadi and the Leadership Cell directly participated in the attacks that killed

 and injured Plaintiffs as follows:

 a.         External Attacks: Baghdadi and the Leadership Cell directly participated in ISIS’s so-
            called “external attacks,” i.e., attacks committed by ISIS outside of its “caliphate” in Iraq
            and Syria, including ISIS’s decision to: (1) establish a branch in the geography in
            question and extract a loyalty pledge from the branch members; (2) deploy ISIS
            operatives to the geography in question; (3) transfer “start-up” seed capital-like resources
            to the ISIS branch in question when accepting their loyalty pledge; (4) target the United
            States through ISIS’s external attacks; and (5) supply logistical, training, and financial
            support for ISIS’s external attacks, all of which enabled the deaths or injuries of
            Plaintiffs. As a result, ISIS’s Leadership Cell played a key role in ISIS’s external attacks
            in Turkey, which injured Plaintiff Ron Greenfield, and in Niger, which killed Staff
            Sergeant Bryan Black and Sergeant LaDavid Johnson, whose family members are
            Plaintiffs.

            132.   Considering al-Qaeda’s protection money playbook as practiced by ANF,

 Lafarge’s protection payments to ANF from 2011 through 2013 likely delivered more than

 $100,000 to ANF head (“emir”) Abu Mohammad al-Julani, before Julani committed, planned,

 and/or authorized the attack against Plaintiff Matthew Schrier.



      105
            Michael Weiss and Hassan Hassan, ISIS: Inside The Army Of Terror at x (Regan Arts
 2020).


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Case 1:24-cv-08901-NGG-PK            Document 1 Filed 12/30/24             Page 51 of 130 PageID #:
                                              51



          133.   ISIS’s Raqqa Cell likewise ensured a direct link between Defendants and the

 attacks against Plaintiffs. The Raqqa Cell served as a nerve center for ISIS operations

 worldwide. As French Prime Minister Manuel Valls observed, Raqqa functioned as the “terror

 group’s Syrian stronghold, as that [was] where most ISIS leaders live[d]” because “Raqqa [was]

 the de facto capital of the so-called caliphate” and was “where the ISIS masterminds” were

 “whose job [was] to plot barbaric attacks against the West.”106

          134.   The United States government agreed. For example, Secretary of State John

 Kerry observed that “Raqqa” was “at the core where they’re planning” ISIS’s “[external]

 attacks” in places like “Lebanon,” “Egypt,” and “Turkey.”107 Director of Central Intelligence

 John Brennan also observed that “ISIL’s . . . external operations group, which is based mainly in

 Syria in the Raqqa area, is really trying to generate activity. And we also see the increasing

 interaction between that external operations element and some of their franchises, whether it be

 Islamic State in West Africa . . . . They want to have this type of global reach.”108 Similarly,

 General Joseph Votel, who pursued ISIS as Commander of U.S. Central Command, explained

 that “[t]he importance of Raqqa is that is where ISIS plans their external [terrorist] operations.

 That is what is driving us to get on this [i.e., roll-back ISIS’s caliphate] as quick as we can,

 because [Raqqa] is where [ISIS’s] plotting takes place. . . . Raqqa is recognized as the financial,

 leadership and external ops center of the Islamic State, so that’s what makes it important.”109 A


    106
        French Prime Minister Manuel Valls, quoted in Romina McGuinness, French PM Says
 Destroying ISIS In Mosul Has ‘Little Value’ Without Capturing Raqqa, Express Online (UK)
 (Oct. 21, 2016), 2016 WLNR 32343536.
    107
        Secretary of State John Kerry, quoted in Bassem Mroue and Zeina Karam, IS Militants
 Dig In, Anticipating Assault On Syria’s Raqqa, Associated Press (Nov. 18, 2015).
    108
        John Brennan, A View From The CT Foxhole: An Interview With John Brennan,
 Director, CIA, CTC Sentinel (Sept. 2016), https://tinyurl.com/ycxmcvju.
    109
        General Joseph Votel, quoted in Peter Bergen, A Conversation With The General Running
 The War Against ISIS, CNN (Oct. 30, 2016), https://tinyurl.com/bdz3wcpk.


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Case 1:24-cv-08901-NGG-PK           Document 1 Filed 12/30/24            Page 52 of 130 PageID #:
                                             52



 Pentagon spokesperson likewise confirmed that, before 2017, “IS leaders” and “IS

 ‘bureaucrats’ ” who served as “the administrative backbone of [ISIS’s] militant organization”

 were based in “the Islamic State group’s self-declared capital of Raqqa.”110

          135.   ISIS’s Raqqa Cell was led by Abu Luqman (aka Ali Musa al-Shawakh) from

 early 2014 until his death in an airstrike on April 23, 2018. Luqman became a powerful ANF

 terrorist following his release from prison in 2011. In 2013, Luqman switched his allegiance to

 ISIS and recruited several hundred ANF fighters to join ISIS’s ranks in Raqqa. Luqman was

 considered “the most feared jihadist in Raqqa” and became an integral part of ISIS’s leadership

 structure there, including by heading its intelligence efforts. In that role, one of Luqman’s

 responsibilities was to oversee ISIS’s detention of foreign hostages, “including executions,

 interrogations, and transfers of ISI[S] prisoners.”111 In addition to leading the Raqqa Cell,

 Luqman also served on ISIS’s Leadership Cell, as well as on ISIS’s Intelligence Cell.

          136.   Luqman’s role confirms that Defendants’ payments assisted the ISIS attacks

 against Plaintiffs. Luqman personally benefited from Defendants’ conspiracy with ISIS. Indeed,

 intelligence reports reportedly indicated that Luqman served “on the shadow board of Lafarge’s

 factory in Syria.” And according to LCS’s former risk manager, Defendants – typically through

 Tlass – negotiated their payments with ISIS’s representatives in Raqqa (which was near

 Jalabiyeh), which further ensured Luqman’s personal involvement. Through his high-ranking

 office in Raqqa, Luqman also controlled ISIS’s oil sales in northern Syria, which likely included

 sales of fuel to LCS.



    110
        Navy Capt. Jeff Davis (Pentagon Spokesperson), quoted in Robert Burns, Pentagon Cites
 Evidence Of Islamic State ‘Exodus’ From Raqqa, Associated Press (Feb. 17, 2017).
    111
        U.S. Dep’t of Treasury, Treasury Sanctions Major Islamic State of Iraq and the Levant
 Leaders, Financial Figures, Facilitators, and Supporters (Sept. 29, 2015).


                                                 49
Case 1:24-cv-08901-NGG-PK              Document 1 Filed 12/30/24             Page 53 of 130 PageID #:
                                                53



            137.   Abu Luqman and the Raqqa Cell directly participated in the attacks that killed and

 injured Plaintiffs as follows:

 a.         External Attacks: Luqman, the Raqqa Cell, and Luqman’s commander Adnani were
            directly involved in vital aspects of ISIS’s so-called “external attacks,” including by:
            (1) vetting and establishing new ISIS affiliates and “provinces” beyond Iraq and Syria,
            including branches in Libya; (2) serving as the “bridge” between ISIS’s Leadership Cell
            the local cells on the ground in other geographies; and (3) supplying the necessary
            logistical, training, and financial support for the external attack. As a result, Luqman and
            the Raqqa Cell played a key role in ISIS’s external attack in Turkey, which injured
            Plaintiff Ron Greenfield, and in ISIS’s external attack in Niger, which killed Staff
            Sergeant Bryan Black and Sergeant LaDavid Johnson, whose family members are
            Plaintiffs.

            138.   Considering al-Qaeda’s protection money playbook as practiced by ANF,

 Lafarge’s payments of more than $1 million to ANF from 2011 through 2013 likely delivered at

 least $100,000 to ANF’s Raqqa Cell (including Luqman before his switch to ISIS).

            139.   ISIS’s Intelligence Cell, also referred to as the “amniyat” or “Emni,” was a third

 cell that directly linked Defendants’ aid and the attacks that targeted Plaintiffs. As the New York

 Times reported based on “thousands of pages of French, Belgian, German, and Austrian

 intelligence and interrogation documents,” this intelligence cell was “a combination of an

 internal police force and an external operations branch, dedicated to exporting terror abroad,”

 serving as a key cog in ISIS’s “machinery for projecting violence beyond its borders.”112

            140.   From 2010 until his 2016 death, ISIS’s Intelligence Cell was led by Abu

 Muhammad al-Adnani. Luqman also played a key role in ISIS’s Intelligence Cell by first

 serving as Syria-level Emni director and then Adnani’s deputy, before succeeding him in 2017.

            141.   Defendants’ payments financed Abu Muhammad al-Adnani’s, Abu Luqman’s,

 and ISIS’s Intelligence Cell’s participation in the attacks that killed and injured Plaintiffs. From


      112
       Rukmini Callimachi, How A Secretive Branch Of ISIS Built A Global Network Of Killers,
 N.Y. Times (Aug. 3, 2016).


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Case 1:24-cv-08901-NGG-PK            Document 1 Filed 12/30/24             Page 54 of 130 PageID #:
                                              54



 2010 through 2017, the Intelligence Cell typically captured a substantial percentage of ISIS’s

 protection revenue, including Defendants’ payments. Given this standard practice, Defendants’

 payments likely delivered more than $1 million to Adnani, Luqman, and the Intelligence Cell.

        142.    ISIS’s public statements confirm that link. According to a 2014 ISIS publication,

 originally published by ISIS’s propaganda arm al-Himma Library, ISIS used tax payments, like

 those made by Defendants, to aid “[t]he mujahidin and jihad.” That meant ISIS’s cells in Syria,

 Iraq, and elsewhere (“the mujahidin”) responsible for ISIS’s attacks against the United States

 (ISIS’s “jihad”), including the Intelligence Cell, which advanced “interests of war and fighting

 [for the sake of] Allah, like . . . keeping watch over the enemy and . . . and other things from

 what serves the interest of the fighting.” ISIS also deployed those tax payments to “the

 collectors, preservers and dividers of ” ISIS’s tax income. This allowed the ISIS cells that played

 a role in ISIS’s protection rackets and associated hostage-taking attacks – both of which were

 true of the Intelligence Cell – to have more direct control over their terrorist operations.

        143.    Adnani and the Intelligence Cell directly participated in the attacks that killed and

 injured Plaintiffs as follows:

 a.     External Attacks: Adnani, Luqman, and the Intelligence Cell were directly involved in
        vital aspects of ISIS’s so-called “external attacks,” including by: (1) vetting and
        establishing new ISIS affiliates and “provinces” beyond Iraq and Syria, including
        branches in Libya; (2) serving as the “bridge” between ISIS’s Leadership Cell the local
        cells on the ground in other geographies; and (3) supplying the necessary logistical,
        training, and financial support for these external attacks. As a result, ISIS’s Intelligence
        Cell played a key role in ISIS’s external attack in Turkey, which injured Plaintiff Ron
        Greenfield, and in ISIS’s external attack in Niger, which killed Staff Sergeant Bryan
        Black and Sergeant LaDavid Johnson, whose family members are Plaintiffs.

        144.    Considering al-Qaeda’s protection money playbook as practiced by ANF,

 Lafarge’s payments of more than $1 million to ANF from 2011 through 2013 likely delivered at

 least $100,000 to ANF’s Intelligence Cell.



                                                  51
Case 1:24-cv-08901-NGG-PK             Document 1 Filed 12/30/24          Page 55 of 130 PageID #:
                                               55



 V.         DEFENDANTS’ UNLAWFUL CONDUCT HAD A SUBSTANTIAL NEXUS TO
            NEW YORK AND THE UNITED STATES

            145.   Defendants’ scheme to finance ISIS and ANF relied on substantial touchpoints

 with New York and the United States. In pleading guilty to conspiring to provide material

 support to ISIS and ANF, Lafarge and LCS admitted that their “offense occurred in part within

 the United States.”113 That concession reflected several U.S. contacts that Defendants formed in

 effectuating their scheme. Those U.S. contacts included: (1) Defendants’ intentional use of New

 York banks to clear their U.S.-dollar transactions; (2) Defendants’ intentional use of U.S.-based

 email services; and (3) Defendants’ conspiracy with ISIS and ANF, designated terrorist groups

 that purposefully targeted the United States and reached into U.S. territory to further the scheme.

            A.     Defendants Purposefully Used New York Banks To Clear The U.S.-Dollar
                   Transactions They Used To Finance Terrorism

            146.   Defendants purposefully availed themselves of New York’s banking system by

 executing wire transfers they intentionally caused to clear through New York banks.

                   1.     Defendants Executed U.S.-Dollar Transactions Using New York
                          Correspondent Banks

            147.   Defendants’ payments to terrorists relied on correspondent and intermediary

 banks located in New York. Correspondent banking is often defined as “an arrangement under

 which one bank (correspondent) holds deposits owned by other banks (respondents) and provides

 payment and other services to those respondent banks.”114 Such arrangements are needed when

 a sender seeks to transfer funds to a recipient whose bank lacks a direct relationship with the




      113
        Plea Agreement ¶ 3, United States v. Lafarge S.A., No. 22-cr-444-WFK (E.D.N.Y.
 Oct. 18, 2022), Dkt. 10. On information and belief, this Plea Agreement was heavily negotiated
 by Lafarge’s lawyers and does not disclose every U.S. contact supporting personal jurisdiction.
    114
        Bank for International Settlements Committee on Payments and Market Infrastructures,
 Correspondent Banking at 9 (July 2016).


                                                  52
Case 1:24-cv-08901-NGG-PK            Document 1 Filed 12/30/24             Page 56 of 130 PageID #:
                                              56



 sender’s bank. In that scenario, the sender must rely on additional banks – typically called

 “correspondent” or “intermediary” banks – to establish a chain of banking relationships that can

 complete the transfer from sender to recipient. Correspondent banking is “an essential

 component of the global payment system, especially for cross-border transactions.”115

          148.   New York banks are vital to this global system of correspondent banking. As the

 Treasury Department reported in 2006, most cross-border transactions depended on “major funds

 transfer payment and messaging systems” located in New York.116 Those systems used a

 “relatively small number of major money center banks” that “specialize in facilitating

 international funds transfers” and thus “form a key link in the vast majority of all international

 funds transfers.”117 The large money center banks that facilitate international U.S.-dollar

 transactions are based predominantly in New York. Thus, when a company like Lafarge wires

 U.S. dollars to a recipient with which its bank lacks a direct banking relationship, it typically

 relies on New York correspondent banks to ensure that its dollars reach the intended recipient.

          149.   New York banks typically perform the clearing process for U.S.-dollar wire

 transfers. “Clearing” generally refers to the process of transmitting, reconciling, and confirming

 payment on electronic-funds transfers. The Clearing House Interbank Payments System

 (“CHIPS”) is the dominant electronic-funds-transfer system for clearing U.S.-dollar transfers

 among international parties. Defendants’ U.S.-dollar wires relied on CHIPS, which handled both

 the transmission of interbank messages and the settlement of payment for the wires.




    115
         Id. at 6.
    116
         U.S. Dep’t of Treasury, Financial Crimes Enforcement Network (“FINCEN”), Feasibility
 of a Cross-Border Electronic Funds Transfer Reporting System under the Bank Secrecy Act at 57
 (Oct. 2006).
     117
         Id.


                                                  53
Case 1:24-cv-08901-NGG-PK           Document 1 Filed 12/30/24            Page 57 of 130 PageID #:
                                             57



          150.   To use CHIPS’s clearing services, a foreign money sender must involve a U.S.

 bank that is subject to supervision by U.S. banking regulators. As the Treasury Department

 explained, access to CHIPS “is conditional upon a financial institution’s U.S. presence,” in part

 to ensure that U.S. law will govern cross-border U.S.-dollar transactions.118 And given New

 York’s status as a global financial hub, the major U.S. banks responsible for clearing transactions

 through CHIPS reside overwhelmingly in New York. For that reason, as Reuters reported, “[t]o

 legally transact (clear) the U.S. dollar globally, correspondent banks are required to maintain a

 New York branch and comply with U.S. [anti-money-laundering] regulations.”119

          151.   Defendants relied on New York banks to clear many of their transactions

 supporting ISIS and ANF. That reliance reflected Defendants’ choice to transact in U.S. dollars.

 As Pescheux wrote in a June 30, 2013 email to Tlass, Defendants’ “preferred option” for paying

 Tlass was to make “bank transfer[s] in USD to the account of a duly registered company” – and

 “USD” meant U.S. dollars.120 Consistent with that preference, Defendants specified in their

 contracts with Tlass that they would pay him in U.S. dollars.121 Defendants also often paid Taleb

 in U.S. dollars, knowing he would in turn use the U.S. dollars to pay ISIS.122 And Defendants at




    118
         Id. at 62.
    119
         Joshua Fruth (Thomson Reuters Regulatory Intelligence), ‘Crypto-Cleansing:’ Strategies
 To Fight Digital Currency Money Laundering And Sanctions Evasion, Reuters (Feb. 14, 2018),
 https://tinyurl.com/4p27pwzs.
     120
         Plea Statement ¶ 60; see Ex. 1 (7/1/2013 Tlass-Pescheux Email String) (“Preferred Option
 Email”). All Exhibits cited in this Complaint were appended to the Amended Complaint (Dkt.
 89) filed in Foley, et al. v. Lafarge S.A., et al., No. 23-cv-5691 (E.D.N.Y.) on December 17,
 2024.
     121
         Ex. 2 (“2009 Tlass Agreement,” ATA0020920 at -922) art. 4 (“US Dollars”); Ex. 3
 (“2010 Tlass Agreement,” ATA0010207 at -211) art. 4 (“US Dollars”); Ex. 4 (“Feb. 2014 Tlass
 Agreement,” ATA0021426 at -427) art. 4 (“75,000USD”); Ex. 5 (Oct. 2014 Tlass Agreement)
 § 3.1 (“210,000US$”).
     122
         E.g., Plea Statement ¶ 63; Ex. 6 (ATA0000244) (paying Taleb “USD 4,836.00”).


                                                 54
Case 1:24-cv-08901-NGG-PK           Document 1 Filed 12/30/24             Page 58 of 130 PageID #:
                                             58



 all times considered it a business imperative to combat the “scarcity of USD” in Syria, going to

 extreme lengths to ensure LCS’s liquidity in U.S. dollars specifically.123

          152.   Defendants’ decision to transact in U.S. dollars led them to use New York banks.

 That is the ordinary practice for sophisticated companies executing cross-border U.S.-dollar

 transactions. Indeed, CHIPS estimated in 2015 that it “process[ed] more than 95 percent of U.S.

 dollar-denominated cross-border transactions.”124 The dominance of a U.S. clearing center in

 processing U.S.-dollar wires was no accident. As a practical matter, at the time of Defendants’

 unlawful conduct, “any financial institutional doing business in dollars need[ed] to hold accounts

 in correspondent U.S. banks in order to complete transactions.”125 Because typically “all dollar

 transactions are cleared via the American banking system,”126 nearly all U.S.-dollar wires

 necessarily passed “through correspondent accounts” in New York.127

          153.   Defendants chose to follow the norm and exploit New York banks in

 orchestrating the U.S.-dollar wire transfers on which their conspiracy depended. Plaintiffs have

 identified at least 15 such transfers that Defendants executed in connection with their terrorist-

 funding scheme. All cleared through New York banks. The chart below depicts each one:




    123
        Ex. 7 (ATA0009139); see infra ¶¶ 167-69.
    124
        U.S. Dep’t of Treasury, National Money Laundering Risk Assessment at 35 (2015).
    125
        Christian Caryl et al., Pocketbook Policing: Washington Has Finally Found A Strategy
 That Is Putting Real Pressure On The Regime – Going After Its Sources Of Cash, All Across The
 World, Newsweek Int’l (Apr. 10, 2006), 2006 WLNR 5632771.
    126
        Economist, Digital Currencies: A New Species (Apr. 13, 2013), 2013 WLNR 8890628.
    127
        Role of U.S. Correspondent Banking in International Money Laundering: Hearings
 Before the Permanent Subcomm. on Investigations of the S. Comm. on Governmental Affairs,
 107th Cong. 287 (Mar. 6, 2001) (quoting Minority Staff, Report on Correspondent Banking:
 A Gateway For Money Laundering (Feb. 5, 2001)).


                                                  55
Case 1:24-cv-08901-NGG-PK       Document 1 Filed 12/30/24      Page 59 of 130 PageID #:
                                         59



   Date      Category   Originating Bank Beneficiary Bank    NY Bank(s)      USD
                             (Swift)         (Swift)          (Swift)      Amount
  1/18/11    Upstream      Citi UAE         Audi Syria      Citibank N.A. $8,454,183
              Equity      (CITIEAD)       (BASYSYDA)         (CITIUS33)
  1/18/11    Upstream      Citi UAE         Audi Syria      Citibank N.A.   $5,714
              Equity      (CITIEAD)       (BASYSYDA)         (CITIUS33)
  1/18/11    Upstream      Citi UAE         Audi Syria      Citibank N.A.   $2,857
              Equity      (CITIEAD)       (BASYSYDA)         (CITIUS33)
  1/18/11    Upstream      Citi UAE         Audi Syria      Citibank N.A.   $2,857
              Equity      (CITIEAD)       (BASYSYDA)         (CITIUS33)
  2/28/11    Upstream      Citi UAE         Audi Syria      Citibank N.A. $12,710,000
              Equity      (CITIEAD)       (BASYSYDA)         (CITIUS33)
  2/28/11    Upstream      Citi UAE         Audi Syria      Citibank N.A.   $8,592
              Equity      (CITIEAD)       (BASYSYDA)         (CITIUS33)
  2/28/11    Upstream      Citi UAE         Audi Syria      Citibank N.A.   $4,296
              Equity      (CITIEAD)       (BASYSYDA)         (CITIUS33)
  2/28/11    Upstream      Citi UAE         Audi Syria      Citibank N.A.   $4,296
              Equity      (CITIEAD)       (BASYSYDA)         (CITIUS33)
  4/14/11    Upstream      Citi UAE         Audi Syria      Citibank N.A. $20,000,000
              Loan        (CITIEAD)       (BASYSYDA)         (CITIUS33)
   7/7/11    Upstream      Citi UAE         Audi Syria      Citibank N.A. $5,000,000
              Loan        (CITIEAD)       (BASYSYDA)         (CITIUS33)
   8/8/11    Upstream      Citi UAE        Audi Lebanon     Citibank N.A. $10,000,000
              Loan        (CITIEAD)        (AUDBLBB)         (CITIUS33)
                                                               JPM NY
                                                            (CHASUS33)
  8/15/11    Upstream      Citi UAE         Audi Syria      Citibank N.A. $5,000,000
              Loan        (CITIEAD)       (BASYSYDA)         (CITIUS33)
  9/12/13     LMEA         Unknown         NSGB Egypt       BNY Mellon     $200,000
                                           (NSGBEGC)         (IRVTUS3)
  9/26/13     LMEA         Al Baraka       NSGB Egypt       BNY Mellon     $299,810
                         (ABRKEGCA)        (NSGBEGC)         (IRVTUS3)
  10/24/14    Tlass       BNPP Paris        Abu Dhabi         BNPP NY      $210,000
                         (BNPAFRPP)        Islamic Bank      (BNPAUS3)
                                           (ABDIAED)           JPM NY
                                                            (CHASUS33)




                                          56
Case 1:24-cv-08901-NGG-PK           Document 1 Filed 12/30/24            Page 60 of 130 PageID #:
                                             60



          154.   This chart is based on Defendants’ bank records, SWIFT messages, and other

 transaction data and documents they maintained in the ordinary course of business. The “Date”

 column describes the transaction’s value date. The “Category” column describes the transaction

 types: “Upstream Equity” means Lafarge’s equity contributions to LCS through four affiliated

 LCS shareholders; “Upstream Loan” means loan disbursements by Lafarge (through Lafarge

 Cyprus) to LCS; “LMEA” means payments LCS accepted into its illegal bank account in Egypt;

 and “Tlass” means payments to Firas Tlass. The “Originating Bank” is the bank that initiated the

 wire transfer on the sender’s behalf. The “Beneficiary Bank” is the bank that received the wire

 transfer on the recipient’s behalf. And the “NY Bank” is the New York correspondent bank (or

 banks) that cleared the wire transfer. All were material to Defendants’ terrorist payoffs.

          155.   Tlass Payments. Tlass was an original LCS shareholder and Lafarge’s first

 business partner in Syria.128 Defendants initially transacted with Tlass through his Syrian

 company, MAS Group (“MAS”), with which LCS executed a Local Project Support Agreement

 on February 15, 2009.129 The next year, LCS amended the contract and agreed to pay Tlass

 “One Million and Five Hundred Thousand (1,500,000) US Dollars per annum” for his work in

 2009 and 2010.130 In exchange, Tlass provided “overall advisory services,” helping Defendants

 with “the smooth operation” of the Jalabiyeh plant and cultivating a “[r]elationship with

 stakeholders and relevant regulators.”131 Tlass acted under this Local Project Support

 Agreement when paying terrorists on Defendants’ behalf. It remained in force until February

 2014, when Defendants renegotiated to pay Tlass $75,000 per month under a similar agreement


    128
         Ex. 8 (ATA0031879) (detailing Tlass’s equity contributions to LCS since inception).
    129
         2009 Tlass Agreement at -920.
     130
         2010 Tlass Agreement art. 4. Starting in 2011, the contract called for LCS to pay Tlass in
 an amount equal to 1% of LCS’s annual net sales. Id.
     131
         2010 Tlass Agreement arts. 1, 1(d).


                                                 57
Case 1:24-cv-08901-NGG-PK           Document 1 Filed 12/30/24            Page 61 of 130 PageID #:
                                             61



 with his new front company, North Logistics Consultancy Service JLT (“North Logistics”).132

 Under both contracts, which continuously governed Tlass’s work during the conspiracy,

 Defendants’ payments to Tlass were “explicitly conditioned on [his] continuing to make

 payments on LAFARGE’s and LCS’s behalf to armed groups, which included ISIS and ANF.”133

          156.   Early in the scheme, Defendants used MAS – Tlass’s company – to pay Tlass his

 annual fees and to funnel him money to distribute onward to terrorists.134 To that end,

 Defendants regularly transferred money into MAS’s bank account, including in U.S. dollars. On

 January 17, 2011, LCS used its U.S.-dollar account at Bank Audi Syria S.A. (“Audi Syria”) to

 send $375,000 to MAS’s account.135 That payment compensated Tlass for his “advisory” work

 and served as an inducement for him to continue providing LCS the same services under the

 contract moving forward.136 LCS made this payment under the same contract that governed

 most of Tlass’s terrorist payoffs giving rise to Plaintiffs’ claims, and LCS funded the payment

 through the upstream dollars it sourced via New York banks, alleged below (infra ¶¶ 161-75).

          157.   The final entry in Paragraph 155 depicts a payment to Tlass that Defendants

 cleared through New York. In late 2014, Jolibois directed Tlass to issue a $210,000 invoice

 from North Logistics for his services negotiating with ISIS.137 To provide cover for that illegal


    132
         Plea Statement ¶ 61; Feb. 2014 Tlass Agreement art. 4. The 2014 agreement appears to
 have a typo referring to Tlass’s company as “Nort Logistics.” Id. at -426.
     133
         Plea Statement ¶ 61.
     134
         Ex. 9 (“Project Alpha Report,” ATA0004181 at -226). The Project Alpha Report was
 prepared by Baker McKenzie and PwC, which LafargeHolcim retained in 2016 to investigate
 their payments to terrorists. Id. at -223.
     135
         Project Alpha Report at -260 (denoting “Electronic Transfer” to “Mass Co.”); Ex. 10
 (ATA0005778, Row 101) (describing this as a bank “Transfer” to “Mas Group,” with value date
 of January 17, 2011 and a “Bank fee” of $5); Ex. 11 (ATA0005465, Row 19) (confirming Audi
 Syria executed the transfer).
     136
         Ex. 10 (ATA0005778, Row 101) (“Payment against Services rendered by MAS”).
     137
         Plea Statement ¶¶ 97-102; Ex. 16 (ATA0000160 at -165) (identifying North Logistics).


                                                 58
Case 1:24-cv-08901-NGG-PK           Document 1 Filed 12/30/24             Page 62 of 130 PageID #:
                                             62



 payment, Lafarge’s senior regional counsel Jean-Jerome Khodara drafted a sham consulting

 contract between LCS and Tlass, which the parties executed in conjunction with a back-dated

 agreement purporting to terminate their prior arrangement months earlier.138 Tlass then issued

 the $210,000 invoice Jolibois had requested from North Logistics. It specified a new U.S.-dollar

 bank account at Abu Dhabi Islamic Bank that Tlass had opened to receive U.S.-dollar wires.139

          158.   On October 24, 2014, Lafarge paid Tlass by wiring $210,000 through New York

 banks. To initiate payment, Khodara sent the invoice to Richard Benattar, Lafarge’s accounting

 manager, and told Benattar the invoice “should be paid quickly if possible.”140 Upon reviewing

 the invoice, Benattar realized it was in U.S. dollars and thus required the use of U.S.

 correspondent banks. He responded to Khodara: “I just need the invoice with the original

 [Herrault] signature and the US correspondent bank of the supplier’s bank (the invoice is in

 USD).”141 Benattar needed to know North Logistics’ “U.S. correspondent bank” because he

 needed to enter North Logistics’ payment details into Quantum, Lafarge’s electronic payment

 software.142 Benattar soon concluded that he and his accounts-payable colleague, Narkice

 Vaisoul, could verify the routing details themselves.143 And once they confirmed that the money

 needed to go to JPMorgan Chase in New York, they initiated the wire. Benattar personally

 confirmed payment by signing the wire record with his initials “RB.”144




    138
         Plea Statement ¶¶ 97-102; Ex. 16 (ATA0000160 at -161-64); Ex. 17 (ATA0000032).
     139
         Ex. 16 (ATA0000160 at -160).
     140
         Ex. 18 (ATA0032474 at -474) (certified English translation).
     141
         Ex. 19 (ATA0004739 at -739) (certified English translation).
     142
         Infra ¶¶ 200-01.
     143
         Ex. 18 (ATA0032474 at -474) (certified English translation) (telling Khodara and
 Jolibois, “We’ll take care of it – we’ve got the supplier’s email address”).
     144
         Ex. 20 (“210k Wire Instruction,” ATA0000071 at -075).


                                                  59
Case 1:24-cv-08901-NGG-PK           Document 1 Filed 12/30/24            Page 63 of 130 PageID #:
                                             63



          159.   Benattar effectuated payment by instructing BNP Paribas’s Paris branch to

 originate a $210,000 wire transfer from Lafarge Cyprus to North Logistics.145 Following

 Lafarge’s directions, BNP Paribas’s Paris branch executed the wire through its New York

 correspondent account at BNP Paribas’s New York branch, which wired the money to JPMorgan

 Chase’s New York branch, which transmitted the money to Tlass’s U.S.-dollar account at Abu

 Dhabi Islamic Bank.146 As Defendants later admitted, the money passed through the “Eastern

 District of New York” and involved multiple “intermediary banks in New York City.”147 Once

 Benattar and Vaisoul verified payment, Vaisoul wrote to Khodara and Jolibois to “confirm that

 this invoice has just been paid,” and included the full prior email chain with Benattar’s

 discussion of “the US correspondent bank.”148 Jolibois replied: “Good.”149

          160.   This $210,000 wire was instrumental to Defendants’ terrorist-funding conspiracy.

 As Defendants admitted, “the $210,000 lump sum payment compensated [Tlass] for the work he

 had already performed negotiating an agreement with ISIS, and to reimburse him for making the

 fixed monthly ‘donation’ payments to armed groups, including ISIS.”150 At ISIS’s and ANF’s

 going per-attack cost, the $210,000 alone was enough to pay for every attack in this case.151

          161.   Upstream Equity and Loan Payments. Paragraph 155 also includes 12

 upstream U.S.-dollar payments to LCS: eight equity contributions and four loan disbursements.

 Lafarge made the equity contributions through Lafarge Cyprus and three other Lafarge-affiliated


    145
        210k Wire Instruction at -071; Ex. 21 (Interrog. Resp. No. 4).
    146
        Ex. 22 (BNPP-NY 000004, Rows 2913-2915); Ex. 23 (BNPP-NY 000001, Excerpt from
 JPMC Subpoena Response, Row 2).
    147
        Plea Statement ¶ 103.
    148
        Ex. 24 (ATA0032468 at -468) (certified English translation).
    149
        Ex. 24 (ATA0032468 at -468) (certified English translation).
    150
        Plea Statement ¶ 101.
    151
        Supra ¶¶ 107-11 (describing per-attack cost and causation).


                                                 60
Case 1:24-cv-08901-NGG-PK           Document 1 Filed 12/30/24           Page 64 of 130 PageID #:
                                             64



 LCS shareholders: Lafarge Aggregate Holdings, Cemitalia Ltd., and Lafarge Building Materials

 Egypt.152 The payments occurred via eight wire transfers totaling $21,192,525. Lafarge initiated

 each wire from Citibank’s Dubai branch, through a correspondent account maintained at

 Citibank’s New York branch, and then to LCS’s U.S.-dollar account at Audi Syria.153

          162.   Lafarge paid the four U.S.-dollar loan disbursements under an April 7, 2011 loan

 agreement between Lafarge Cyprus and LCS.154 Lafarge’s General Counsel and Corporate

 Secretary signed the loan agreement on Lafarge Cyprus’s behalf and oversaw the disbursements

 it made.155 As his involvement demonstrates, Lafarge Cyprus funded LCS at Lafarge’s direction

 and subject to its control. Lafarge used Lafarge Cyprus to funnel money to LCS because the

 latter was LCS’s majority shareholder, “through which LAFARGE held nearly all of its shares in

 LCS.”156 Indeed, Lafarge admitted it was responsible for the October 24, 2014 payment to Tlass,

 even though it structured that payment as nominally originating from Lafarge Cyprus.157 The

 other Lafarge Cyprus payments similarly occurred at Lafarge’s direction.

          163.   Lafarge Cyprus made these loan disbursements by wiring U.S. dollars from

 Citibank’s Dubai branch, through a correspondent account maintained at Citibank’s New York

 branch, and then to LCS’s U.S.-dollar accounts in Syria and Lebanon.158 For three of the four,

 Lafarge Cyprus sent the wire to LCS’s account at Audi Syria.159 For the fourth, Lafarge Cyprus


    152
         Ex. 25 (ATA0005192 at -200); Ex. 26 (ATA0005437 at -437-39).
    153
         Ex. 12 (ATA0031866 at -866-68) (SWIFT confirmations for January 2011 transfers); Ex.
 26 (ATA0005437 at -442-43) (SWIFT confirmation showing routing details for February 2011
 transfer); id. at -437 (confirming “Citibank NY” routed each wire and charged fees for doing so).
     154
         Ex. 27 (ATA0000316) (“2011 Loan Agreement”).
     155
         2011 Loan Agreement at -327; Project Alpha Report at -227.
     156
         Plea Statement ¶ 99.
     157
         Plea Statement ¶¶ 99, 103.
     158
         Ex. 21 (Interrog. Resp. No. 4); Ex. 13 (ATA0000358 at -358).
     159
         Ex. 21 (Interrog. Resp. No. 5, Transfer Nos. 1, 2, and 4).


                                                 61
Case 1:24-cv-08901-NGG-PK           Document 1 Filed 12/30/24           Page 65 of 130 PageID #:
                                             65



 sent the wire to LCS’s account at Bank Audi Lebanon SAL (“Audi Lebanon”), which was

 cleared by both Citibank New York and JPMorgan Chase New York.160 In each instance,

 Defendants obtained a SWIFT message confirming the New York banks’ involvement.161

          164.   This upstream funding was vital to Defendants’ terrorist-funding scheme. By

 injecting U.S. dollars into LCS, Lafarge enabled LCS to pay Tlass and Taleb in U.S. dollars.

 Indeed, the accounts LCS used to receive the upstream funding were the same ones it used to pay

 its terrorist intermediaries.162 As PwC explained in a forensic review it performed at

 Defendants’ direction after Defendants’ terrorist-funding scheme became public, the “[f]unds

 within the receiving bank accounts were used by LCS for capital expenditure and operating

 expenses and also to pay the monthly USD remuneration of Firas Tlass, make USD payments

 to Amro Taleb and for three alleged USD Security Payments [to ISIS].”163

          165.   LCS routinely used the U.S. dollars it acquired to pay Tlass and Taleb. Relying in

 part on the upstream dollars Defendants sourced through New York banks, LCS made many

 downstream payments to Tlass and Taleb in U.S. dollars.164 Nine were monthly $75,000

 stipends LCS paid to Tlass via an agreement contemplating that Tlass would “retain $50,000 and




    160
           Ex. 21 (Interrog. Resp. No. 4, Transfer No. 3); Ex. 28 (ATA0000220 at -223-24).
    161
           Ex. 13 (ATA0000358 at -358) (4/14/2011 transfer); Ex. 14 (ATA0000047 at -049-50)
 (7/7/2011 transfer); Ex. 28 (ATA0000220 at -223-24) (8/8/2011 transfer); Ex. 15 (ATA0000060
 at -060) (8/15/2011 transfer).
       162
           Project Alpha Report at -238-39.
       163
           Project Alpha Report at -227.
       164
           Project Alpha Report at -190-91 (“LCS maintained US dollar denominated bank accounts
 . . . used to make and receive numerous US dollar payments, including the monthly fee of USD
 75,000 to Tlass and commission payments for Taleb, as detailed above.”).


                                                 62
Case 1:24-cv-08901-NGG-PK           Document 1 Filed 12/30/24           Page 66 of 130 PageID #:
                                             66



 the remaining $25,000 would be disbursed to armed groups.”165 Under that agreement,

 Defendants paid Tlass a monthly $75,000 stipend at least from November 2013 to July 2014.166

          166.   Defendants similarly used LCS’s supply of U.S. dollars to make at least five

 “commission” payments to Taleb. As PwC’s forensic review concluded, “Taleb received a small

 monthly commission for sales of pozzolana and heavy fuel sourced” from ISIS-linked

 suppliers.167 The “total value of these commissions” was roughly “USD 10,356.”168

 Defendants’ financial records indicate that this $10,356 comprised five separate U.S.-dollar

 payments LCS made to Taleb: (1) $4,836 on February 24, 2014; (2) $3,265 on April 25, 2014;

 (3) $976 on July 1, 2014; (4) $597 on July 1, 2014; and (5) $682 on October 7, 2014.169 LCS

 made each of these payments from its U.S.-dollar accounts at Audi Lebanon. As with the Tlass

 stipends, Lafarge’s upstream provision of U.S. dollars helped LCS finance these commissions.

          167.   LCS’s unique U.S.-dollar liquidity constraints amplified the nexus between

 Lafarge’s upstream payments and LCS’s downstream payments to terrorists. Starting in 2011,

 LCS faced a severe liquidity crunch in U.S. dollars.170 For LCS to come up with the money to



    165
         Plea Statement ¶ 61.
    166
         Ex. 29 (ATA0000256) (Nov. 2013); Ex. 30 (ATA0000291) (Dec. 2013); Ex. 31
 (ATA0000289) (Jan. 2014 #1); Ex. 32 (ATA0000288) (Jan. 2014 #2); Ex. 33 (ATA0000292)
 (Mar. 2014); Ex. 34 (ATA0000293) (Apr. 2014); Ex. 35 (ATA0000294) (May 2014); Ex. 36
 (ATA0000290) (June 2014); Ex. 37 (ATA0032008) (July 2014).
     167
         Project Alpha Report at -190.
     168
         Project Alpha Report at -190.
     169
         Ex. 38 (ATA0008287, In.Out Flow Tab, Rows 1838, 1840, 2550, 3143, 3144, 3195,
 4194).
     170
         Ex. 39 (“Feb. 2012 Exec. Presentation,” ATA0059026 at -039) (describing “cash
 shortage” and challenges of “Foreign Currency sourcing”); Ex. 40 (“Cash Shortfall Memo,”
 ATA0009065 at -065-67) (noting need for “additional funding” and “cash shortage”); Ex. 41
 (ATA0005040 at -040) (stressing “urgency of payments” in U.S. dollars); Ex. 14 (ATA0000047
 at -047) (noting need for new “Lebanon Bank account” to hold U.S. dollars to give LCS “Cash
 Management flexibility”).


                                                 63
Case 1:24-cv-08901-NGG-PK             Document 1 Filed 12/30/24             Page 67 of 130 PageID #:
                                               67



 pay terrorists, therefore, Lafarge had to devise a plan to ensure that LCS had a steady supply of

 U.S. dollars.171 But it was difficult for LCS to raise money, given sanctions affecting Syria.172

 The best way for LCS to access the capital it needed to pay terrorists was thus to obtain U.S.

 dollars from Lafarge Cyprus and other affiliates. In fact, had Lafarge not agreed to loan U.S.

 dollars to LCS in April 2011, LCS would have defaulted on its debt covenants with its senior

 lenders and would likely have had to shut down its Syrian plant altogether.173

           168.   U.S. and U.N. sanctions regimes targeting Syria were designed to promote just

 that sort of U.S. dollar scarcity, to restrict the flow of U.S. dollars to violent actors. U.S.

 Treasury Department officials publicly confirmed that intent. In 2011, for example, after a raft

 of counterterrorism sanctions, “[a] US Treasury spokeswoman said that ‘designating’ companies

 made it difficult for them to operate, especially if business involved US dollar transfers, which

 all passed through the New York banking system” when “payments[ ] were made in US

 dollars.”174 In 2014, likewise, senior Treasury official David Cohen explained how U.S.




     171
          Ex. 42 (ATA0000938 at -938) (Pescheux emphasizing to CFO that “I really rely on you to
 review . . . the way we have been managing our cash so far and our practices in terms of
 currency conversion,” stressing “need to improve our reactivity in this period of high volatility”);
 id. at -940-42 (detailing cumbersome process “to source FX to pay our foreign commitments”).
      172
          Feb. 2012 Exec. Presentation at -028, -039 (detailing challenges); see Exec. Order No.
 13,573 (May 18, 2011); Exec. Order No. 13,572 (Apr. 29, 2011) (2011 sanctions orders).
      173
          E.g., Ex. 43 (ATA0018237 at -239) (describing need for “rapid[ ]” cash infusion “to avoid
 a payment default”); Ex. 15 (ATA0000060 at -067-68) (demanding “hectic” loan payment “to
 urgently ensure a transfer of 3 Musd ASAP” to cover “daily Cash needs” and to allow LCS “to
 disburse 5 Musd” in compliance with outstanding letter of credit); Cash Shortfall Memo at -065
 (similarly noting “need” in February 2012 for “additional funding from Lafarge” to avoid
 “default under the loan repayment”). If LCS missed a repayment to its external lenders, the
 lenders could have cancelled their commitments and accelerated all remaining secured liabilities.
 See Ex. 44 (ATA0020635 at -726, -731-32) §§ 33.1 (default for non-payment), 35.1 (remedies,
 including cancellation and acceleration).
      174
          Keith Wallis, Law Firms Cautioned On Iran Sanctions British Government Warns
 Companies, South China Morning Post (Jan. 26, 2011), 2011 WLNR 1534856.


                                                   64
Case 1:24-cv-08901-NGG-PK           Document 1 Filed 12/30/24           Page 68 of 130 PageID #:
                                             68



 policymakers sought to leverage the power of New York’s banking system to impede terrorists

 from raising money and funding their operations.175

          169.   U.S. sanctions designations were similar. In 2014, for example, the Treasury

 Department emphasized that U.S. sanctions sought to deprive violent Syrian actors of U.S.

 dollars and force them to use the collapsing Syrian pound.176 The United States reinforced that

 the same logic applied to ISIS when it sanctioned ISIS financiers from 2016 through 2019:

 allowing ISIS to access U.S. dollars through New York banks directly financed ISIS’s attacks by

 giving ISIS more purchasing power than it would have had by using Syrian pounds.177

          170.   The 2011 upstream payments were likewise linked to Defendants’ terror-

 financing scheme through their connection to Tlass. When Defendants decided to go into

 business with Firas Tlass, his father Mustafa had been Syria’s long-time defense minister and

 confidant of Bashar al-Assad’s father. Firas was himself close with the Assad family, too. The

 Tlass family’s long-established connections with and patronage of the al-Assad regime were

 lucrative. Indeed, MAS’s growth was largely attributable to contracts it received to supply the

 Syrian Arab Army with food, medicine, and clothing.178 Those connections to the Assad regime

 also made Tlass and MAS attractive to Lafarge as a joint-venture partner in Syria.



    175
         Interview with David Cohen; Interview with Nabil Fahmy; The Sultan and the Sharia
 Law, Fareed Zakaria GPS (May 4, 2014), 2014 WLNR 11967166.
     176
         See Press Release, U.S. Dep’t of Treasury, Treasury Sanctions a Syrian Official
 Responsible for Human Rights Abuses in Syria and Syrian Regime Supporters and Officials (Oct.
 16, 2014).
     177
         See, e.g., Press Release, U.S. Dep’t of Treasury, Treasury Sanctions Senior IsiL Financier
 and Two Money Services Businesses (Dec. 13, 2016); Press Release, U.S. Dep’t of Treasury,
 Treasury Sanctions Iraq-Based ISIS Financial Facilitation Network; Action Underscores
 Continued U.S. Collaboration with the Government of Iraq on Countering ISIS’s Terrorism
 Financing Operations (June 15, 2017).
     178
         Ayman Aldassouky, The Families of Rastan and the Syrian Regime: Transformation and
 Continuity, Wartime and Post-Conflict in Syria, Issue 2021/14, at 8-9 (Aug. 6, 2021).


                                                65
Case 1:24-cv-08901-NGG-PK           Document 1 Filed 12/30/24             Page 69 of 130 PageID #:
                                             69



          171.   When Defendants made their 2011 upstream payments while in business with

 Tlass, they knew terrorist violence was a foreseeable consequence. From 2003 through 2014,

 many public sources – including U.S. and U.N. counterterrorism findings – alerted Defendants

 that the Syrian regime sponsored AQI attacks targeting the United States. DOD, for example,

 reported that Syria provided “safe haven, border transit, and limited logistical support” to “Iraqi

 insurgents,” including AQI.179 U.N. Security Council reports similarly highlighted the “nexus

 between large numbers of Al-Qaida affiliated foreign fighters and Jabhat-al-Nusrah” in Syria,

 which risked “new pan-Arab and pan-European networks of extremists emerg[ing].”180

          172.   Media reports also warned before 2011 that the Assad regime supported AQI

 attacks against the United States. As early as May 2004, the Washington Times reported on the

 “mounting body of evidence link[ing] the Assad regime with the Zarqawi network and terrorist

 activities in Iraq.”181 The National Post corroborated that point in February 2013, noting that

 “experts believe Mr. Assad provided critical support” for “weapons and money coming through

 Syria to . . . Iraq” for “extremists” who would “bring pain to the Americans.”182 As “[n]umerous


    179
         U.S. Dep’t of Defense, Measuring Stability and Security in Iraq, March 2007 Report to
 Congress in Accordance with the Department of Defense Appropriations Act 2007 (Section
 9010, Public Law 109-289), at 16-17 (Mar. 2, 2007); see U.S. Dep’t of Defense, Measuring
 Stability and Security in Iraq, May 2006 Report to Congress in Accordance with the Department
 of Defense Appropriations Act 2006 (Section 9010), at 28 (May 26, 2006); U.S. Dep’t of
 Defense, Measuring Stability and Security in Iraq, December 2009 Report to Congress in
 Accordance with the Department of Defense Supplemental Appropriations Act 2008 (Section
 9204, Public Law 110-252), at vii, 8 (Jan. 29, 2010).
     180
         U.N. Security Council, Fifteenth Report of the Analytical Support and Sanctions
 Monitoring Team Submitted Pursuant to Resolution 2083 (2012) Concerning Al-Qaida and
 Associated Individuals and Entities ¶ 8 (Jan. 23, 2014).
     181
         Assad’s Terror Network, Wash. Times (May 26, 2004) (Editorial), 2004 WLNR 777961;
 see Frederick W. Kagan & William Kristol, Now Can We Fight the Enemy?, Weekly Standard
 (June 4, 2007), 2007 WLNR 30043601 (“The Syrian regime permits al Qaeda terrorists to move
 into Iraq” to “kill as many Americans as possible.”).
     182
         Scott Barber, Islamic Extremism Threatens Stability; Gaining Sympathy, Recruiting
 Radicals, Breeding Terrorists, Nat’l Post (Canada) (Feb. 9, 2013), 2013 WLNR 3252489.


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Case 1:24-cv-08901-NGG-PK           Document 1 Filed 12/30/24              Page 70 of 130 PageID #:
                                             70



 courts” later found after considering the evidence, “Syria supported ISIS and its predecessor

 organizations.”183 Defendants’ U.S.-dollar financing in 2011, used to pay a notorious Syrian

 regime fixer, thus was linked to Syrian terrorism from the very outset.

          173.   The suite of U.S. and U.N. antiterrorism sanctions on Syria – which Defendants

 schemed to circumvent – strengthened the nexus between their 2011 payments and terrorism.184

 Because Defendants knew that Tlass was a prominent Assad ally and regime cutout facilitating

 Defendants’ business interests in a heavily sanctioned country, it was foreseeable that their

 dealings with him in 2011 would enable AQI/ISIS terrorist attacks against the United States.

          174.   Defendants also knew Tlass personally (including through MAS) had facilitated

 AQI terrorism by brokering arms deals, participating in U.S.-dollar-denominated illicit Oil-for-

 Food program transactions, and channeling hundreds of millions in Iraqi oil revenue stranded in

 Syrian banks to terrorist financiers in Iraq and Syria.185 Those dollars and illicit weapons

 supported the Zarqawi network, which powered AQI’s regional expansion and its evolution into




    183
         Fields v. Syrian Arab Republic, 2021 WL 9244135, at *3 (D.D.C. Sept. 29, 2021).
    184
         See, e.g., White House (Office of the Press Secretary), Fact Sheet: Implementing the
 Syria Accountability and Lebanese Sovereignty Restoration Act of 2003 (May 11, 2004)
 (sanctions designed “to address the Syrian government’s support for terrorist groups” and
 “actions to undermine U.S.” efforts to stabilize Iraq), https://tinyurl.com/mr46kwf6; U.S. Dep’t
 of Treasury, Treasury Designates Commercial Bank of Syria as Financial Institution of Primary
 Money Laundering Concern (May 11, 2004) (designating Commercial Bank of Syria as an
 institution of primary money laundering concern “in response to the Syrian government’s
 continued support of international terrorism”).
     185
         David Rennie, Tough Questions For 270 Named In Iraqi Documents, Daily Telegraph
 (Apr. 23, 2004), 2004 WLNR 4205658 (reporting congressional testimony identifying Tlass as
 being on a “list” of “non-end users” who helped evade sanctions under Oil-for-Food and
 observing that Mr. Tlass was on a “list” containing “someone with a lot of explaining to do”);
 Niles Lathem, Syrian Bigs Conned U.N., N.Y. Post (July 27, 2005), 2005 WLNR 23207829
 (reporting IRS report documents naming Tlass as an “intermediar[y] in many Iraq-Syrian
 transactions that earned [him] 10 to 15 percent commissions on each deal [he] handled”).


                                                 67
Case 1:24-cv-08901-NGG-PK           Document 1 Filed 12/30/24            Page 71 of 130 PageID #:
                                             71



 ANF and ISIS.186 By funding a joint venture with a notorious AQI financier, Defendants’ 2011

 upstream payments implemented a scheme of which terrorism was a foreseeable consequence.

 Had Defendants been unwilling to pay AQI or similar FTOs in Syria, they never could have

 hired Tlass because their ordinary due diligence would have never “cleared” him.

          175.   Although the specific identity of the terrorists Tlass supported evolved over the

 years, the core concept remained the same: Lafarge and LCS continuously paid Tlass in U.S.

 dollars to maintain good relations with violent Syrian actors. Those efforts focused at first on the

 Assad regime and AQI, and they later evolved to include ISIS and ANF. All reflected a

 continuous course of conduct dating back at least to 2010. When Lafarge used New York’s

 banking system to cover LCS’s payments to Tlass in 2011, therefore, it knew it was paying him

 to maintain LCS’s relationships with Syrian terrorists. Lafarge’s decision to extend that strategy

 to ISIS and ANF in 2013 and 2014 was a foreseeable outgrowth of the same conduct.

          176.   LMEA. The remaining two New York-cleared wires in Paragraph 155 were

 transfers LCS accepted into its LMEA account. Defendants opened that account in Egypt to

 allow LCS to make and receive illegal U.S.-dollar payments. They called it their “LMEA

 account” because it was held in the name of Lafarge’s Egyptian subsidiary, Lafarge Middle East

 & Africa Building Materials.187 But LCS was the one that controlled the money. The account’s




    186
         See, e.g., Daniel L. Glaser, quoted in U.S. Dep’t of Treasury, Testimony of Acting A/S
 Glaser on Financing for the Iraqi Insurgency (July 28, 2005) (“[T]he Zarqawi Network and
 other jihadist groups use a variety of classic al Qaida-type terrorist financing mechanisms,
 including: Funds provided by charities, Iraqi expatriates, and other deep pocket donors,
 primarily in the Gulf, but also in Syria, Lebanon, Jordan, Iran, and Europe.”),
 https://tinyurl.com/56j2r5t8.
     187
         Project Alpha Report at -227.


                                                  68
Case 1:24-cv-08901-NGG-PK           Document 1 Filed 12/30/24             Page 72 of 130 PageID #:
                                             72



 purpose, as described by Defendants’ external forensic review, was to allow LCS “to receive US

 dollar . . . payments for sales to customers in Syria and to make payments on LCS’s behalf.”188

          177.   Defendants opened the LMEA account to circumvent U.S. sanctions on Syria. By

 July 2013, U.S. sanctions had caused a rapid “devaluation of the Syrian pound.”189 The resulting

 foreign-exchange risks imperiled LCS’s business.190 Indeed, LCS struggled to acquire U.S.

 dollars – the currency in which it preferred to operate – because U.S. sanctions barred New York

 banks from clearing dollars for Syrian entities like LCS.191 So LCS came up with a workaround:

 a U.S.-dollar account in Egypt that looked like it was for a non-sanctioned Egyptian affiliate

 instead.192 It devised that workaround after Bank Audi refused LCS’s request to open an

 Egyptian bank account in its own name. Bank Audi’s refusal convinced Valery Mirakoff, LCS’s

 CFO, that “no bank” would allow LCS to open an Egyptian account because “they would be

 faced with the same ‘compliance’ limitation that Bank Audi faced to deny us such account.”193

          178.   The LMEA account offered an elegant, if illegal, solution to that problem. The

 Egyptian company nominally owned the account for compliance purposes, but “Lafarge Syria

 solely ha[d] all the rights on [the] amounts” in it.194 The point was to allow Lafarge to transact in

 U.S. dollars for LCS without external correspondent banks blocking the transfers as required by


    188
         Project Alpha Report at -191.
    189
         Ex. 45 (ATA0014297 at -302).
     190
         Ex. 45 (ATA0014297 at -302) (noting “high difficulties in managing our Syrian cash
 exposure due to the on going devaluation of the Syrian pound”); Ex. 7 (ATA0009139) (Pescheux
 describing LCS’s “scarcity of USD” as a “nightmare” for LCS’s business).
     191
         Ex. 46 (“S&S Memo,” ATA0018284 at -286-88) (noting that sanctions meant that
 “commercial banking services by US banks, wherever located, to Syria became impermissible”);
 Ex. 47 (ATA0018291 at -291) (blaming “US sanctions” for inability to execute “USD transfer”).
     192
         Ex. 48 (“LMEA Cooperation Agreement”) § 2 (“LMEA to receive and deposit in its bank
 account such dues on behalf, and under the disposal, of Lafarge Syria.”).
     193
         Ex. 45 (ATA0014297 at -302) (email from Mirakoff).
     194
         LMEA Cooperation Agreement § 3.


                                                  69
Case 1:24-cv-08901-NGG-PK           Document 1 Filed 12/30/24            Page 73 of 130 PageID #:
                                             73



 international sanctions.195 LCS and LMEA memorialized their arrangement in a July 10, 2013

 contract. The agreement enlisted LMEA’s cooperation, among other things, in helping LCS

 satisfy its “external financial obligations.”196 It required LMEA “to receive and deposit in its

 bank account” incoming payments “on behalf, and under the disposal, of Lafarge Syria,” and to

 make payments from the account to “specified third part[ies]” as LCS directed.197

          179.   Benattar personally approved the LMEA account for Lafarge and Lafarge Cyprus,

 after a conversation with Mirakoff.198 Yet even then, Lafarge’s Egyptian affiliate remained

 hesitant and demanded “Group and legal clearance” before the parties could “proceed” with the

 LMEA account.199 In urging Mirakoff to obtain the necessary internal approvals, Pescheux

 warned him to avoid emails with his LMEA counterpart, advising him “to call him on the phone

 or even to meet with him, it might prove more efficient than communicating by email.”200 A few

 weeks later, after LCS opened the account, Mirakoff urged the Egyptian treasury employees

 responsible for the new account “not to copy Bruno Pescheux anymore o[n] the exchanges of

 [e]mails” about the payments they were making out of the LMEA account.201




    195
           Ex. 49 (ATA0000503 at -506) (“[A] significant percentage of our wire transfer to
 beneficiary outside of Syria were rejected because of international sanctions and the foreign
 correspondent banks reluctance to operate any transfer originating from . . . a Syrian company.”).
       196
           LMEA Cooperation Agreement at 1 (Preamble).
       197
           LMEA Cooperation Agreement §§ 2, 4.
       198
           Ex. 45 (ATA0014297 at -298) (LCS’s CFO writing, “I spoke personally to Richard
 Benattar whose opinion [h]as been required by LMEA on the subject. Richard confirmed that
 . . . he would not object to such operation.”).
       199
           Ex. 45 (ATA0014297 at -297).
       200
           Ex. 45 (ATA0014297 at -297).
       201
           Ex. 50 (ATA0010065 at -065).


                                                 70
Case 1:24-cv-08901-NGG-PK           Document 1 Filed 12/30/24             Page 74 of 130 PageID #:
                                             74



          180.   LCS officially opened the “LMEA USD bank account” on July 15, 2013.202 LCS

 held this U.S.-dollar-denominated account at National Societe Generale Bank’s (“NSGB”)

 branch in Egypt.203 LCS then instructed its customers to send U.S. dollars into that account.204

          181.   LCS used the LMEA account to execute hundreds of U.S.-dollar transactions.

 According to PwC’s forensic review, LCS used the account for 73 outgoing U.S.-dollar

 payments totaling $13,245,747 and 111 incoming payments totaling $13,260,125.205 “At least

 some of the payments in and out of the US dollar accounts,” the report concluded, “were

 transfers that are likely to have been processed by a US financial institution.”206

          182.   The report was correct. NSGB Egypt maintained standard settlement instructions

 calling for U.S.-dollar clearing through New York. Most banks maintain such standard

 instructions, which describe the bank’s processes for routing electronic-funds transfers in various

 currencies.207 Those instructions detail the accounts a financial institution will use to complete

 transactions depending on the currency the institution’s customer selects. For example, if a

 customer instructs its bank to execute a U.S.-dollar-denominated wire transfer, the bank’s

 standard settlement instructions provide the names, locations, and account numbers of the

 correspondent accounts the bank will use to complete the transfer. And those standard

 instructions typically remain consistent from transaction to transaction. That means that, if a


    202
         Ex. 50 (ATA0010065 at -066).
    203
         Ex. 50 (ATA0010065 at -066); Project Alpha Report at -237.
     204
         Ex. 50 (ATA0010065 at -067) (LCS CFO asking for the LMEA “account number to be
 given to our customers for their deposit”).
     205
         Project Alpha Report at -237.
     206
         Project Alpha Report at -191.
     207
         E.g., Ex. 51 (ATA0058827 at -827) (Lafarge deputy international treasurer verifying
 bank’s “SSIs,” or standard settlement instructions); Ex. 52 (ATA0031601 at -602) (European
 Investment Bank sending Lafarge its “Standard Settlement Instructions”); Ex. 53 (ATA0024767
 at -767) (attaching Citibank’s “SSIs”).


                                                 71
Case 1:24-cv-08901-NGG-PK           Document 1 Filed 12/30/24            Page 75 of 130 PageID #:
                                             75



 financial institution transacts one U.S.-dollar-denominated transfer through a particular U.S.

 bank account, its other U.S.-dollar-denominated transfers will likely route via the same account.

          183.   Before the relevant period, NSGB Egypt published its standard settlement

 instructions in the Bankers Almanac, an authoritative compendium of international banking

 information. Those instructions, available and well-known to Defendants,208 specified that

 NSGB Egypt settled U.S.-dollar wire transfers through “The Bank of New York, New York.”209

 For that reason, when Defendants directed an LCS customer to wire U.S. dollars into the LMEA

 account, they knew the dollars would arrive via a New York correspondent account.

          184.   Paragraph 155 details two examples of New York-cleared wires LCS accepted

 into the LMEA account. The first was a $200,000 wire sent by an LCS customer on September

 12, 2013.210 The second was a $299,810 wire sent by another LCS customer, with a September

 26, 2013 value date, from an account at Al-Baraka Bank in Egypt.211 Both cleared via New

 York, in accordance with NSGB Egypt’s standard settlement instructions. Indeed, LCS received

 a SWIFT message confirming that the latter wire cleared through NSGB’s account at “THE

 BANK OF NEW YORK MELLON” at “ONE WALL STREET NEW YORK, NY.”212




    208
         Ex. 51 (ATA0058827 at -829) (Lafarge’s deputy international treasurer writing to ask
 “[d]o we still have the Bankers Almanac” so he could verify “the USD correspondent” for a
 counterparty); id. at -827 (after subordinate says he is unaware of Almanac, deputy international
 treasurer “contact[s] [bank] directly to get the [standard settlement instructions]”).
     209
         Ex. 54 (Bankers Almanac at 3216 (Vol. 2, 2008)) (identifying NSGB’s “USD” standard
 settlement instructions as routing through “The Bank of New York, New York”).
     210
         Ex. 55 (ATA0035605) (referring to “swift of the USD 200k transfer”); Ex. 56
 (ATA0008289, In.Out Flow Tab, Rows 120-21) (recording incoming $200,000 transfer and
 associated $8 bank fee charged by NSGB). NSGB charged “USD 8” on “incoming transfers”
 involving a foreign “correspondent bank.” Ex. 57 (ATA0035592 at -592).
     211
         Ex. 58 (ATA0024362 at -362-64); Ex. 57 (ATA0035592 at -592-93).
     212
         Ex. 58 (ATA0024362 at -364).


                                                 72
Case 1:24-cv-08901-NGG-PK           Document 1 Filed 12/30/24             Page 76 of 130 PageID #:
                                             76



          185.   The LMEA account played a key role in Defendants’ terrorist-funding scheme.

 That account functioned as a slush fund that gave LCS a pool of U.S. dollars it could spend at

 will, including for its criminal conspiracy.213 In fact, one of the first things Defendants planned

 for the LMEA account was to pay Tlass’s monthly $75,000 stipend for July 2013. As Pescheux

 emailed Herrault on August 5, 2013, Defendants intended to cover “the recently agreed

 remuneration of FT” (i.e., Firas Tlass) by wiring U.S. dollars “directly to his offshore account

 from an account LCS is having through LMEA in Egypt.”214 The reason for using the LMEA

 account was simple. Routing U.S. dollars from the LMEA account was how Defendants

 “intend[ed] to proceed in the future to sever[ ] any suspicion in connecting LCS and FT.”215

          186.   Defendants considered the $75,000 payment to Tlass to be “very critical to be

 finalized urgently.”216 So LCS initiated a U.S.-dollar wire transfer from its LMEA account,

 which was “in process by the bank” and which was going to clear through New York.217 But

 LCS was foiled by “a problem with the compliance department in the bank to transfer the USD”

 – stemming from requirements imposed by New York clearing banks – and so had to re-issue the

 wire in Euros.218 Lafarge Egypt’s head of treasury circulated a SWIFT message confirming that

 LCS had paid the wire from its LMEA account to Tlass’s account at Audi Lebanon.219

          187.   Defendants did not like paying in Euros and so immediately reverted to paying

 Tlass’s monthly $75,000 stipend in U.S. dollars. But because New York banks would not clear


    213
        See, e.g., Ex. 49 (ATA0000503 at -507-09) (identifying “cash pooling” via the “LME
 account in Egypt” as one key way to “secure our FX needs”).
    214
        Ex. 59 (8/5/2013 Pescheux-Herrault Email) (“Suspicion Email”).
    215
        Suspicion Email at 1.
    216
        Ex. 60 (ATA0004874 at -876).
    217
        Ex. 60 (ATA0004874 at -875).
    218
        Ex. 60 (ATA0004874 at -875).
    219
        Ex. 60 (ATA0004874 at -874, -878).


                                                  73
Case 1:24-cv-08901-NGG-PK          Document 1 Filed 12/30/24            Page 77 of 130 PageID #:
                                            77



 U.S.-dollar wires from Egypt to Tlass’s account at Audi Lebanon,220 Defendants had to come up

 with another way to pay him. So they devised a new workaround in which LCS paid Tlass

 through an internal book transfer between Audi Lebanon accounts221 and then reimbursed itself

 on the back-end out of the LMEA account. PwC’s forensic review identified two such

 intracompany transfers coded as “Adv to Mr. Bruno/LMEA Acc.”222 Those transfers used the

 U.S. dollars stockpiled in the LMEA account to finance Pescheux’s payments to Tlass.223

          188.   More broadly, LCS repeatedly used its LMEA slush fund to preserve its U.S.-

 dollar liquidity and cover its U.S.-dollar expenses, including by making large interest payments

 to its lenders.224 Without the supply of U.S. dollars from this account, LCS would have had a

 harder time covering its expenses and freeing up the U.S.-dollar cash it needed to pay Tlass,

 Taleb, and the terrorists they were paying. Paying LCS’s operating expenses from the LMEA

 account also enabled the Jalabiyeh plant to manufacture the cement LCS sold to ISIS.225 And the

 U.S.-dollar wires LCS routed into that account – relying on NSGB’s correspondent account with

 BNY Mellon – were vital to sourcing the U.S. dollars on which the whole scheme depended.




    220
         Ex. 47 (ATA0018291 at -291-92) (noting that “US sanctions prohibit Syrian persons and
 organizations to enter the US Financial System, i.e. no USD transfer involving Lafarge Cement
 Syria can be made,” so “USD may probably not be received in our bank account in Lebanon”).
     221
         E.g., Ex. 32 (ATA0000288) (example of Jan. 2014 payment instruction).
     222
         Project Alpha Report at -237-38; see Ex. 61 (ATA0003037, Rows 7510, 7511) (recording
 both transfers in Defendants’ master bank file).
     223
         See e.g., Project Alpha Report at -230, -237-38.
     224
         Ex. 62 (ATA0003359, In.Out Flow Tab, Rows 120, 238, 268, 928, 964, 1138, 1183, 1194,
 1248, 1625, 1739, 1952, 2016, 2105, 2244, 2387, 2416, 2502).
     225
         E.g., Ex. 63 (ATA0018621 at -623) (“It is critical for us to receive money from abroad
 and manage our cash flows in an efficient manner if we want to be able to continue paying our
 loan.”).


                                                74
Case 1:24-cv-08901-NGG-PK           Document 1 Filed 12/30/24           Page 78 of 130 PageID #:
                                             78



                 2.     Defendants Instructed Their Banks To Execute These U.S.-Dollar
                        Transactions Knowing They Would Clear Through New York

          189.   When Defendants ordered the U.S.-dollar transfers in Paragraph 155, they

 instructed their banks to execute the wires knowing they would clear through New York.

          190.   Defendants’ internal documents reflected their understanding that U.S.-dollar

 wires typically require New York clearing. In November 2011, Bank Audi sent a memo from

 Shearman & Sterling to several LCS executives, including Pescheux, Mirakoff, and LCS’s

 treasury manager, addressing LCS’s loan-repayment obligations.226 The memo conveyed the

 widely held understanding that U.S.-dollar wires clear through New York, warning LCS:

 “[b]ecause the proposed repayment[s] to the Lenders are in US dollars, they would be processed

 through some New York correspondent bank.”227 Lafarge emails echoed the same theme.

 Defendants often expressed the view that U.S. sanctions blocked LCS from wiring U.S. dollars

 because “USD transfer[s]” necessarily required LCS “to enter the US Financial System.”228

          191.   Defendants also revealed that understanding in other contexts. Benattar conveyed

 his knowledge of U.S. correspondent banks when wiring Lafarge’s October 2014 payment to

 Tlass, informing his colleagues that he “need[ed]” to know “the US correspondent bank of the

 supplier’s bank” because “the invoice is in USD.”229 The year before, BNP Paribas – Lafarge’s

 main bank – had similarly clarified to Benattar and others that “USD flows transit through our


    226
         Ex. 64 (ATA0018518 at -518) (Bank Audi sending memo to Valery Mirakoff and copying
 Pescheux and Alzaim); see id. at -540-46.
     227
         S&S Memo at -287.
     228
         Ex. 47 (ATA0018291 at -291); see, e.g., Ex. 65 (ATA0002153 at -153) (LCS treasury
 manager telling counterparty, “As you for sure are aware, all payments in USD from Syria are
 being blocked.”); Ex. 66 (ATA0005162 at -167) (same LCS official emphasizing that “[d]ue to
 US sanctions no more payments in US Dollars are possible from Syria” given the compliance
 policies followed by “the correspondent banks”); Ex. 67 (ATA0002227 at -229) (attributing
 foreign-currency challenges to “political restriction on usage of US financial system”).
     229
         Ex. 19 (ATA0004739 at -739) (certified English translation).


                                                 75
Case 1:24-cv-08901-NGG-PK           Document 1 Filed 12/30/24           Page 79 of 130 PageID #:
                                             79



 subsidiary BNP Paribas New York.”230 And a few months after, Lafarge’s International

 Treasurer told a counterparty that, “to properly execute [a] payment” “in USD,” Lafarge’s “Back

 Office will need the intermediary bank & its details for a USD transfer.”231 Lafarge did not

 think a “European” bank could process a U.S.-dollar wire, he explained, which is “why we

 expect it [to] work with a partner bank in the USA.”232 Lafarge thus recommended using “Bank

 of NY Mellon” as the intermediary bank to clear U.S. dollars through New York.233

          192.   Defendants’ experience with failed U.S.-dollar wires cemented that

 understanding. In late 2011, for example, LCS tried to pay U.S. dollars to an affiliate’s account

 at HSBC Singapore, but the affiliate warned that the funds would “be blocked” due to sanctions

 because they would have to go through “HSBC USA (USD).”234 The same month, LCS tried to

 send U.S. dollars to an Indian company’s account at Standard Chartered New Delhi. The SWIFT

 message confirmed that Standard Chartered used its New York branch as the correspondent,

 which had “reject[ed]” the transfer.235 Mirakoff explained the reason: “the rejected transfer

 went through SCB New York” and “a US bank will not transfer funds to a Syrian bank,” leading

 him to worry that “the funds could be blocked in NY forever.”236 Likewise, in 2015, Lafarge’s

 Treasury Back Office team had a U.S.-dollar wire fail because of an error using “SCB [Standard

 Chartered] Frankfurt” as the “USD correspondent bank.”237 Lafarge quickly discerned that “the



    230
         Ex. 68 (ATA0032337 at -337) (certified English translation).
    231
         Ex. 69 (ATA0025059 at -060) (certified English translation).
     232
         Id.
     233
         Id.
     234
         Ex. 70 (ATA0002267 at -275).
     235
         Ex. 71 (ATA0002156 at -156); see id. at -157 (using SWIFT code SCBLUS33XXX for
 intermediary bank).
     236
         Ex. 72 (ATA0002286 at -286).
     237
         Ex. 73 (ATA0024796 at -796).


                                                 76
Case 1:24-cv-08901-NGG-PK           Document 1 Filed 12/30/24            Page 80 of 130 PageID #:
                                             80



 issue is fully related to the correspond[e]nt, as it should be SCB NY.”238 So Lafarge’s treasury

 team corrected the payment by “adding USD Correspondent bank SWIFT of SCB NY.”239

          193.   Defendants fared better in executing other U.S.-dollar transactions through New

 York correspondent accounts. Lafarge often received invoices calling for U.S.-dollar execution

 through New York, such as a Jordanian consultant’s April 2012 invoice calling for U.S.-dollar

 payment to “Jordan National Bank” in Amman “[t]hrough: JP Morgan Chase, New York –

 USA.”240 Lafarge also periodically received Standard Settlement Instructions from the European

 Investment Bank instructing it to use BNY Mellon in New York as the correspondent bank.241

 Lafarge even made regulatory filings in a foreign jurisdiction that demanded filing fees be paid

 through a “Correspondent Bank” at “111 Wall Street” in “New York, USA.”242 Benattar,

 Vaisoul, and Khodara all had similar experiences with New York clearing. Each of them – the

 people most involved in the mechanics of wiring Tlass money through New York – was

 intimately familiar with using New York correspondent banks in other contexts.243

          194.   Lafarge’s outside consultants had the same understanding. LafargeHolcim

 retained Baker McKenzie and PwC in 2016 to review Lafarge’s payments to Syrian terrorists,

 and they produced a report for Lafarge entitled “Project Alpha Forensic Transaction Review.”244

 That report further manifested the view that U.S.-dollar transfers virtually always clear through



    238
        Ex. 73 (ATA0024796 at -796).
    239
        Ex. 73 (ATA0024796 at -796).
    240
        Ex. 74 (ATA0032118 at -219).
    241
        E.g., Ex. 52 (ATA0031601 at -602).
    242
        Ex. 75 (ATA0009182 at -185).
    243
        Ex. 76 (ATA0032717 at -717, -719-20) (certified English translation) (Benattar); Ex. 77
 (ATA0027565 at -565, -569) (Benattar); Ex. 78 (ATA0039494 at -494, -503) (Vaisoul); Ex. 79
 (ATA0060118 at -118, -121) (Vaisoul); Ex. 80 (ATA0023925 at -925) (Khodara).
    244
        Project Alpha Report at -223.


                                                 77
Case 1:24-cv-08901-NGG-PK           Document 1 Filed 12/30/24             Page 81 of 130 PageID #:
                                             81



 U.S. correspondent banks. Indeed, without knowing the precise routing details of several “bank

 transfer[s],” Baker McKenzie opined: “PwC’s review reflects that these payments were made in

 USD and it is therefore presumed that they were processed through the US financial

 system.”245 Defendants shared that same presumption at all relevant times.

          195.   Non-privileged client alerts by Defendants’ counsel also alerted them that their

 transactions used the U.S. banking system. For example, while Shearman & Sterling LLP was

 advising Lafarge, it published an alert warning its clients that U.S. courts endorsed an “expansive

 assertion of territorial jurisdiction over non-U.S. defendants,” extending to “overseas financial

 transactions involving US dollars, premised on the fact that virtually all such transactions clear

 through correspondent banking accounts in the U.S.”246 Similarly, Baker & McKenzie

 represented Lafarge during and after the scheme, and in the earlier period published a “client

 alert” warning that “a wire transfer from or to a U.S. bank or otherwise using the U.S. banking

 system” could confer U.S. jurisdiction based on “the use of correspondent bank accounts.”247

          196.   Syrian government decrees likewise alerted Defendants that their U.S.-dollar

 transactions depended on the U.S. banking system. For example, in February 2006, the Syrian

 government issued Circular Number 810/15, requiring that all foreign-currency transactions for

 the government that had previously been denominated in U.S. dollars instead occur in Euros,



    245
         Project Alpha Report at -190.
    246
         Shearman & Sterling LLP (Philip Urofsky, Stephen Fishbein, Danforth Newcomb, Patrick
 D. Robbins, Paula Howell Anderson, Richard Kreindler, Markus S. Rieder, Richard Kelly, Jo
 Rickard, Brian G. Burke & Brian C. Wheller), Shearman & Sterling Client Publication: The
 New FCPA Guide: The DOJ and the SEC Do Not Break New Ground But Offer Useful
 Guidance and Some Ominous Warnings at 3 (Nov. 15, 2012), https://tinyurl.com/5dx8mndc.
     247
         Baker & McKenzie LLP (Paul J. McNulty, Joan E. Meyer, Robert W. Kent, Jr., John P.
 Cunningham, Crystal R. Jezierski, Peter B. Andres, and Erica C. Spencer), Baker & McKenzie
 Client Alert: Inside the U.S. Government’s Highly-Anticipated FCPA Resource Guide at 2 (Nov.
 16, 2012), https://tinyurl.com/5n7xus77.


                                                  78
Case 1:24-cv-08901-NGG-PK           Document 1 Filed 12/30/24           Page 82 of 130 PageID #:
                                             82



 specifically to avoid U.S.-dollar clearing by New York banks. That decision, of which

 Defendants knew, reflected the widespread understanding in Syria that “US laws stipulate that

 any dollar transfers must pass through the US banking system.”248

          197.   Defendants also received confirmations specific to the transactions in Paragraph

 155. Those confirmations typically took the form of SWIFT MT103 messages.249 SWIFT,

 which stands for the Society for Worldwide Interbank Financial Telecommunication, is the

 standard communications system for sending wire-transfer messages between financial

 institutions. An MT103 (or Message Type 103) is a standard message confirming the details of

 an executed transaction. Fields 53, 54, and 56 in an MT103 typically disclose the correspondent

 and intermediary banks involved. Defendants’ “usual” practice in executing a wire transfer was

 to request from their banks the “swift message” identifying the correspondent banks involved.250

          198.   Defendants have produced the SWIFT confirmations they received for 10 of the

 15 New York-cleared wires identified in Paragraph 155; each informed Defendants that a

 specific New York bank had processed their payment.251 Defendants likely once had, but have


    248
          BBC International Reports (Middle East), Syria Replaces Dollar With Euro For State
 Transactions (Feb. 24, 2006) (“Text of report by Hayam Ali headlined ‘The euro used in state
 transactions’, published by Syrian newspaper Al-Thawrah website on 13 February [2006]”).
      249
          See, e.g., Ex. 28 (ATA0000220 at -220) (LMEA treasury employee informing LCS that a
 U.S.-dollar “transfer is being done now, will provide you with the swift within the coming
 hour”); id. at -223-24 (also providing MT103 for earlier transfer wired into LCS account).
      250
          Ex. 81 (ATA0060033 at -034) (certified English translation) (Lafarge’s back-office team
 telling BNP Paribas that Lafarge “received an amount of 32,519.64USD . . . of which we do not
 have any details” and asking bank to “send us a swift message regarding this receipt” consistent
 with “usual support”); see id. at -033-34 (providing SWIFT message); Ex. 82 (ATA0032366
 at -367-68) (sharing “MT 103 confirming the transmission of funds” through New York); Ex. 83
 (ATA0021482 at -483-84) (SWIFT message for New York wire); Ex. 84 (ATA0032193 at -193,
 -197) (attaching “transfer swift” confirming wire through “BNP PARIBAS U.S.A-NEW YORK
 BRANCH”); Ex. 85 (ATA0001916 at -916) (requiring “SWIFT letter so I can trace the transfer
 with our bank”); Ex. 28 (ATA0000220 at -226) (“will send you the swift once [I] get it”).
      251
          Ex. 12 (ATA0031866 at -866-68) (four 1/18/2011 transfers); Ex. 26 (ATA0005437
 at -442-43) (2/28/2011 transfer); Ex. 13 (ATA0000358 at -358) (4/14/2011 transfer); Ex. 14

                                                 79
Case 1:24-cv-08901-NGG-PK           Document 1 Filed 12/30/24           Page 83 of 130 PageID #:
                                             83



 since destroyed, the SWIFT confirmations for the other five that also indicated the participation

 of a New York bank.

        199.    Defendants sometimes obtained the MT103 as part of their approval process for

 the transaction. For example, Pescheux specifically “[a]pproved” the August 8, 2011 upstream

 loan disbursement to LCS’s Audi Lebanon account after receiving the SWIFT message

 disclosing that JPMorgan Chase’s and Citibank’s New York branches had routed the payment.252

        200.    Defendants also typically verified the correspondent-bank routing before ordering

 a wire. They did so through Quantum, Lafarge’s electronic-payment software. As explained by

 Lafarge’s Deputy International Treasurer, before wiring money to a counterparty, Lafarge

 “need[ed] to create” the counterparty “as [a] beneficiary in Quantum to be able to make a

 transfer.”253 And that process of adding information to be “created in Quantum” required

 Lafarge to enter the payment currency, beneficiary bank, correspondent bank, and correspondent

 bank address.254 As Lafarge’s International Treasurer confirmed, “[n]ormally there is an

 intermediary bank to be entered in Quantum,” which was “necessary for international payments

 in a currency other than that of the beneficiary’s country.”255 Defendants thus investigated the

 correspondent “bank accounts’ information” before setting up new “counter-parties in our




 (ATA0000047 at -049-50) (7/7/2011 transfer); Ex. 28 (ATA0000220 at -223-24) (8/8/2011
 transfer); Ex. 15 (ATA0000060 at -060) (8/15/2011 transfer); Ex. 58 (ATA0024362 at -364)
 (9/26/2013 transfer).
     252
         Ex. 28 (ATA0000220 at -221) (Pescheux’s approval); id. at -223 (MT103 confirming that
 Citi and JPM Chase New York branches were involved).
     253
         Ex. 86 (ATA0050870 at -870).
     254
         Ex. 86 (ATA0050870 at -870) (listing fields).
     255
         Ex. 69 (ATA0025059 at -059) (certified English translation).


                                                 80
Case 1:24-cv-08901-NGG-PK           Document 1 Filed 12/30/24           Page 84 of 130 PageID #:
                                             84



 system” for wire transfers.256 It was what Lafarge’s back office demanded: “to properly execute

 [a] payment,” Lafarge “need[ed] the intermediary bank & its details for a USD transfer.”257

          201.   A Quantum screenshot, taken from a Lafarge email, illustrates the point.258 As

 the screenshot demonstrates (red boxes added), Quantum provided an interface for Lafarge to

 enter its “Approved Counterparty Delivery Instructions.” The interface required Defendants to

 select the payment currency and to choose whether to follow the beneficiary bank’s “Standard

 Settlement Instruction.” The interface also contained a tab called “Intermediary Bank:”




    256
         Ex. 87 (ATA0024476 at -476); see Ex. 51 (ATA0058827 at -833) (“To be able to create
 in Quantum the bank accounts below, can you please tell us the swift code of the intermediary
 bank for the USD accounts?”); Ex. 88 (ATA0025152 at -152); Ex. 89 (ATA0000383 at -383).
     257
         Ex. 69 (ATA0025059 at -060) (certified English translation); see Ex. 51 (ATA0058827 at
 -833) (“To be able to create in Quantum the bank accounts below, can you please tell us the swift
 code of the intermediary bank for the USD accounts?”).
     258
         Ex. 90 (ATA0050876 at -876).


                                                 81
Case 1:24-cv-08901-NGG-PK           Document 1 Filed 12/30/24             Page 85 of 130 PageID #:
                                             85



 For each of the U.S.-dollar wires described in Paragraph 155, Defendants used this interface to

 execute the wire. That required Defendants to type into Quantum the “Intermediary Bank” that

 would clear the wire – including its New York address – before they executed the first transfer

 to any payee, and to rely again on that same set of instructions for each subsequent transfer.

          202.   Even apart from Quantum, Defendants had bank-specific knowledge of the New

 York financial system’s role in clearing their 15 suit-related U.S.-dollar wires.

          203.   BNP Paribas Paris. Defendants specifically knew that BNP Paribas’s Paris

 branch – which originated the $210,000 wire to Tlass in October 2014 – used BNP Paribas’s

 New York branch to clear Lafarge’s U.S.-dollar wires. Lafarge was telling its own

 counterparties as early as 2012 that Lafarge’s account with “BNP Paribas, Paris” used a “USD

 correspondent bank : BNP NEW YORK (SWIFT code :BNPAUS3N).”259 In early 2013,

 Lafarge’s International Treasurer reiterated that the “Lafarge SA bank account reference for

 USD remains unchanged,” with a “Correspondent bank” of “BNP NEW YORK.”260 In July

 2013, BNP Paribas reminded Lafarge’s International Treasurer – copying Benattar and Lafarge’s

 entire Treasury Back Office team – that “USD flows transit through our subsidiary BNP

 Paribas New York.”261 And in 2015, Benattar told a law firm that the “bank address for the USD

 transfer to Lafarge SA” must use “BNP NEW YORK” as the “Correspondent bank.”262 So when

 Benattar and his colleagues instructed BNP Paribas to send Tlass a U.S.-dollar wire, they had no

 doubt where it was going: through the same BNP Paribas New York account they always used.




    259
        Ex. 91 (ATA0058766).
    260
        Ex. 92 (ATA0057787 at -787).
    261
        Ex. 68 (ATA0032337 at -337) (certified English translation).
    262
        Ex. 93 (ATA0032069 at -069).


                                                  82
Case 1:24-cv-08901-NGG-PK           Document 1 Filed 12/30/24           Page 86 of 130 PageID #:
                                             86



          204.   BNP Paribas’s use of its New York branch to clear U.S.-dollar transfers also

 tracked its standard settlement instructions. Before the relevant period, BNP Paribas published

 its standard settlement instructions for its Paris branch in the Bankers Almanac, which specified

 that it typically settled “USD” transfers through “BNP Paribas SA, New York.”263

          205.   Bank Audi. Defendants likewise knew their U.S.-dollar transfers through Bank

 Audi relied on New York correspondent banks. For the upstream payments Lafarge made into

 LCS’s Audi Syria accounts, they received SWIFT MT103 confirmations specifically reporting

 that each cleared through Citibank New York.264

          206.   Defendants gained even more precise knowledge that their Audi Lebanon account

 relied on a New York correspondent bank. The account-opening process made that clear. In

 July 2011, LCS became uncomfortable with Audi Syria, viewing the continued reliance on a

 Syrian bank as posing risks to LCS’s “Cash Management flexibility.”265 So LCS set out to open

 a new Lebanese account from which it could more freely send and receive U.S. dollars. It

 initiated that process on July 12, 2011, when Mirakoff met with the “Audi Lebanon Team” to

 discuss the new account.266 A few weeks later, on July 28, Bank Audi approved LCS for a new

 “US Dollar Operating Account with Bank Audi SAL – Audi Saradar Group” in Lebanon.267

          207.   Audi Lebanon immediately informed LCS that its new account would use JP

 Morgan Chase’s New York branch as the U.S.-dollar correspondent. Once the account was




    263
        Ex. 54 (Bankers Almanac at 1424 (Vol. 1, July 2008)).
    264
        Supra ¶¶ 161-63 (citing SWIFT messages, each referencing Citi NY’s SWIFT code).
    265
        Ex. 14 (ATA0000047 at -047).
    266
        Ex. 14 (ATA0000047 at -047).
    267
        Ex. 94 (ATA0002147 at -148-49).


                                                 83
Case 1:24-cv-08901-NGG-PK           Document 1 Filed 12/30/24            Page 87 of 130 PageID #:
                                             87



 officially approved, LCS’s treasury manager asked for the “account’s references as soon as

 available.”268 Bank Audi responded by emailing LCS the account “coordinates” as follows:

          Correspondent Bank Name: JP Morgan Chase
          Address: New York
          SWIFT of Correspondent Bank: CHASUS33
          BANK Name: Bank Audi SAL – Audi Saradar Group
          BANK Account No with Correspondent: [. . .]9027
          SWIFT of BANK: AUDBLBBX269

          208.   Roughly two weeks after opening the Audi Lebanon account, Lafarge wired $10

 million (via Lafarge Cyprus) into that account, using the designated JP Morgan Chase

 correspondent account in New York. The SWIFT message confirming the transfer, which

 Defendants circulated internally, described JP Morgan Chase’s involvement.270 LCS’s treasury

 manager forwarded the SWIFT confirmation to two LCS accountants, while also attaching the

 “Lebanon Account references.”271 Those references reiterated to both LCS employees that the

 “Correspondent Bank Name” was “JP Morgan Chase” in “New York.”272

          209.   Audi Lebanon’s use of JPMorgan Chase to route U.S.-dollar wires also matched

 its public settlement instructions. Before the relevant period, Audi Lebanon published its

 standard instructions in the Bankers Almanac, which specified that it typically settled U.S.-dollar

 wire transfers through correspondent accounts at “The Bank of New York” and “JPMorgan

 Chase Bank, National Association,” which is JPMorgan’s New York branch.273




    268
        Ex. 94 (ATA0002147 at -148).
    269
        Ex. 94 (ATA0002147 at -147).
    270
        Ex. 95 (ATA0000186 at -187) (field 56A).
    271
        Ex. 95 (ATA0000186 at -186).
    272
        Ex. 95 (ATA0000186 at -192).
    273
        Ex. 54 (Bankers Almanac at 772 (Vol. 1, 2008)).


                                                 84
Case 1:24-cv-08901-NGG-PK           Document 1 Filed 12/30/24           Page 88 of 130 PageID #:
                                             88



          210.   U.S. government findings also alerted Defendants that Bank Audi relied on U.S.

 correspondent banks. On February 17, 2011, for example, the Treasury Department published

 findings that “[t]here are 66 banks incorporated in Lebanon, and all major banks” – which

 included Bank Audi – “have correspondent relationships with U.S. financial institutions.”274

          211.   NSGB Egypt. Defendants had similar knowledge about their LMEA account at

 NSGB Egypt. Shortly after LCS opened the account, it received a SWIFT message about an

 incoming U.S.-dollar wire disclosing that BNY Mellon in New York had routed the money.275

 Once again, that confirmation tracked NSGB’s standard settlement instructions, which publicly

 alerted Defendants to NSGB’s practice of routing U.S. dollars through BNY Mellon.276

          212.   As these transactions demonstrate, all three Defendants were intimately involved

 in directing and routing the U.S.-dollar transfers they executed. They did not simply leave the

 routing decisions to their banks; the details were too important to Lafarge.277 Defendants

 belonged to a sophisticated multinational conglomerate that employed large treasury and back-

 office teams to supervise their banks and to manage their currency exposure across several




    274
        U.S. Dep’t of Treasury (FinCEN), Finding That the Lebanese Canadian Bank SAL Is a
 Financial Institution of Primary Money Laundering Concern, 76 Fed. Reg. 9403, 9404 (Feb. 17,
 2011) (footnote omitted), https://tinyurl.com/b2tpah7r.
    275
        Ex. 58 (ATA0024362 at -364).
    276
        Supra ¶ 183.
    277
        Compare, e.g., Ex. 94 (ATA0002147 at -147) (LCS describing plan to open a new
 Lebanese bank account to wire U.S. dollars instead of Syrian account) with Ex. 41
 (ATA0005040 at -040) (LCS instructing Lafarge Egypt to “transfer the amount to the Syrian
 Account” rather than Lebanon account, to avoid “additional useless days” in routing).


                                                 85
Case 1:24-cv-08901-NGG-PK           Document 1 Filed 12/30/24            Page 89 of 130 PageID #:
                                             89



 markets.278 For that reason, Defendants regularly communicated with their banks about how to

 route their money, including with respect to the correspondent banks used.279

          213.   Defendants were not indifferent to the choice of correspondent banks. LCS knew

 its struggles to source “USD” were “mainly depend[ent] on the banks emitting the transfer.”280

 That recognition led LCS to observe, for all transactions touching Syria: “we have to cho[o]se

 wisely the bank correspondant.”281 Defendants thus often took steps to verify the

 “correspond[ent] USD bank” clearing their wires, so they could “pass it on to our [own]

 correspondents” to facilitate the smooth flow of currency across geographic jurisdictions.282

          214.   When Defendants instructed their banks to process U.S.-dollar wires, they

 intended to (and did) cause their banks to wire money through New York correspondent

 accounts. And when Defendants’ banks carried out those instructions, they did so as

 Defendants’ agents. In a cross-border wire transfer, the originating bank – the bank that first



    278
         See, e.g., Ex. 69 (ATA0025059 at -059-60) (certified English translation) (copying
 “treasury.backoffice@lafarge.com” and informing counterparty that “Back Office” needed to
 verify “intermediary bank”).
     279
         See, e.g., Ex. 96 (ATA0035568 at -568) (detailing “our pressure on Audi Lebanon to by
 themselves practice continuous pressure on the foreign banks,” to ensure that correspondent
 banks “process the payments” despite the “embargo . . . effected by the US”); Ex. 97
 (ATA0021174 at -176) (Lafarge finance personnel noting urgent need to funnel “fresh cash” into
 LCS and to “channel the funds to Syria through Lebanon, to lower the risk of cash being trapped
 by banks’ compliance policies linked to sanctions affecting Syria”).
     280
         Ex. 47 (ATA0018291 at -292).
     281
         Ex. 47 (ATA0018291 at -292).
     282
         Ex. 68 (ATA0032337 at -337-38) (certified English translation); see Ex. 98
 (ATA0005043 at -046) (supplying “details of the correspondent bank”); Ex. 66 (ATA0005162 at
 -167) (verifying that transfer was workable for “all the correspondent banks involved”); Ex. 63
 (ATA0018621 at -627) (promising to “communicate” with counterparty about “the transfer
 process and route”); Ex. 99 (12/5/2013 Khayer-ElAnsary-Sandook Email String at 2)
 (identifying “correspondent bank to be transferred through”); Ex. 100 (ATA0018698 at -701)
 (instructing counterparty to provide new account “that will accept transfers from Syria going
 through Commerzbank Frankfurt as Correspondent”); Ex. 101 (ATA0014184 at -186-88)
 (describing laborious process to find workable transfer route from Syria to India).


                                                 86
Case 1:24-cv-08901-NGG-PK            Document 1 Filed 12/30/24            Page 90 of 130 PageID #:
                                              90



 receives the order from the wire originator – carries out the transfer on the originator’s behalf.

 The originator also exercises substantial control over the originating bank. Among other things,

 Defendants here specified each transfer’s date, amount, and currency denomination. Each time,

 Defendants’ originating bank had to follow Defendants’ instructions. Those instructions

 effectively mandated that the banks rely on New York’s financial system, on Defendants’ behalf.

          215.   Defendants also had the right to dictate the use of specific correspondent or

 intermediary banks.283 Defendants sometimes exercised that control by dictating to their

 originating bank a particular intermediary Defendants wanted to use.284 Lafarge also routinely

 instructed its counterparties to send money to its chosen U.S.-dollar correspondent account at

 BNP Paribas, New York.285 Thus, for each of their U.S.-dollar transactions that cleared in New

 York, Defendants could have dictated use of a non-U.S. correspondent bank but consciously

 declined to do so. More often, Defendants simply instructed their banks – using Quantum’s

 Counterparty Delivery Instructions interface – to follow their standard settlement protocol.286

 Defendants understood that those instructions here dictated the use of New York banks.

          216.   Defendants’ control extended still further over their outgoing wires, including for

 the $210,000 they wired to Tlass in October 2014. For example, Defendants input into Quantum

 North Logistics’ U.S.-dollar correspondent bank – JPMorgan Chase, New York – and instructed



    283
         Ex. 69 (ATA0025059 at -059) (certified English translation) (describing Lafarge’s right to
 “impos[e] an intermediary bank on the issuing bank (BNPP in this case)”).
     284
         Ex. 102 (ATA0024755 at -755) (LCS treasury manager “called Sandra/Audi Lebanon
 Bank and told her that we can not execute the payment through JP Morgan Chase Bank,” instead
 requesting use of “another bank account”); Ex. 103 (ATA0008980 at -985-87) (discussing
 strategy to avoid “designated intermediary” bank); Ex. 101 (ATA0014184 at -190) (rejecting
 designation of “Bank of America” and demanding “Commerz Bank” as “correspondent bank”).
     285
         E.g., Ex. 104 (ATA0032527 at -548) (Benattar signing payment form that included in the
 “Payment Instructions” field: “Correspondent bank : BNP New York”).
     286
         Supra ¶ 200.


                                                  87
Case 1:24-cv-08901-NGG-PK           Document 1 Filed 12/30/24            Page 91 of 130 PageID #:
                                             91



 BNP Paribas to execute through that intermediary, thus requiring the use of New York’s clearing

 services.287 In addition, Defendants knew BNP Paribas would route the money to JPMorgan

 Chase via its own New York branch, consistent with its standard settlement instructions.

          217.   Defendants also paid banking fees to the New York banks that cleared their

 transactions. Correspondent banks typically charge a fee for each wire transfer that they process.

 Those fees can be paid in three ways; the specific payment mechanism is typically reported at

 Field 71A of the SWIFT MT103. Option one – denoted by “OUR” – has the originator cover the

 fees separately, on top of the amount transferred. Option two, denoted by “BEN,” covers the

 fees by deducting them from the amount transferred. Option three, denoted by “SHA,” is a mix

 of the two. In each scenario, the sender wires the money to the intermediary or correspondent

 bank to compensate that bank for the service of processing the transaction. Thus, when

 Defendants relied on New York banks to clear their transactions, they knowingly sent money

 into New York to compensate those banks for the service.

          218.   Defendants paid New York banking fees to clear every U.S.-dollar wire for which

 they have produced a SWIFT confirmation. For 11 of those wires, the SWIFT message

 designated “SHA” in Field 71A, meaning that the sender and recipient split the banking fees.288

 In all but one of those 11 transfers, Defendants were on both sides of the wire, so Lafarge or

 Lafarge Cyprus split the fees with LCS. For two more, Field 71A stated “OUR,” meaning that

 the sender – in both cases, Lafarge Cyprus – covered the fees.289 In every instance, therefore, at

 least one Lafarge entity paid some of the fee the New York bank charged for its service clearing



    287
        Supra ¶¶ 158, 200-01.
    288
        Ex. 12 (ATA0031866 at -866-68); Ex. 26 (ATA0005437 at -437-42); Ex. 13
 (ATA0000358 at -358); Ex. 14 (ATA0000047 at -050); Ex. 58 (ATA0024362 at -364).
    289
        Ex. 28 (ATA0000220 at -224); Ex. 15 (ATA0000060 at -060).


                                                 88
Case 1:24-cv-08901-NGG-PK           Document 1 Filed 12/30/24             Page 92 of 130 PageID #:
                                             92



 the wire. And Defendants were aware of those fees, observing in March 2011 that their upstream

 equity contributions had yielded “differences between the credited amount and the transferred

 amounts” due to “bank charges from Citibank NY.”290 They made a similar observation for the

 September 2013 LMEA transfer, noting they had to pay “the charges deducted by the remitter

 and the correspondent bank”291 – in that case, BNY Mellon in New York.

                 3.     Defendants Purposefully Benefited From New York Clearing

          219.   Defendants’ New York contacts enhanced the potency of the aid they gave to ISIS

 and ANF. Not every payment made was in U.S. dollars. But Defendants’ preference was to pay

 in U.S. dollars when possible, and using U.S. dollars (even if not exclusively) was critical to the

 conspiracy. Indeed, Defendants’ ability to reliably transfer U.S. dollars – which depended on

 their access to New York’s banking system – was vital to the scheme’s success. Defendants’

 conscious choice to use U.S. dollars and New York banks offered at least three benefits.

          220.   First, transacting in U.S. dollars through U.S. banks helped Defendants legitimize

 their payments and reduce unwanted scrutiny from outside auditors. Given the deteriorating

 security situation in Syria, and the resulting U.S. and international sanctions, Lafarge’s Syrian

 operations faced significant financial scrutiny.292 To continue making payments to terrorists in

 that environment, Defendants had to design a system to “arouse less suspicion by LCS’s external

 auditors and conceal the purpose of the payments.”293 U.S. dollars helped Defendants avoid such

 suspicion. At the time, Syria’s financial system was in severe distress, plagued by rapidly

 spreading black markets for illicit financial activity. By contrast, the U.S. dollar was the global


    290
        Ex. 26 (ATA0005437 at -437).
    291
        Ex. 57 (ATA0035592 at -592).
    292
        E.g., Ex. 105 (ATA0009218 at -218) (Herrault telling Tlass that his preferred method of
 paying dollars in his “Account in Beirut” was “put[ting] the company at risk at it has to stop”).
    293
        Plea Statement ¶ 56.


                                                  89
Case 1:24-cv-08901-NGG-PK           Document 1 Filed 12/30/24            Page 93 of 130 PageID #:
                                             93



 reserve currency for legitimate transactions among established, multinational businesses.

 Lafarge’s “preferred option” was thus to make “bank transfer[s] in USD,” so that its wire

 transfers would have the imprimatur of legitimacy associated with U.S.-dollar transactions.294

          221.   Defendants’ contract machinations confirm the point. Until July 2013, LCS was

 paying Tlass in Syrian pounds by making so-called “turnover” payments equal to 1% of LCS’s

 net revenue.295 But as Defendants’ unlawful payments escalated, they grew uncomfortable with

 that arrangement.296 Defendants thus insisted on a new contract – not with Tlass personally, but

 with a Tlass-controlled shell company in Dubai – calling for payment in U.S. dollars. And rather

 than structure those payments as a percentage of net revenue, they agreed on a flat $75,000

 monthly fee, denominated in U.S. dollars.297 Pescheux explained the logic in an August 5, 2013

 email to Herrault, a Lafarge executive and his direct report. As Pescheux wrote, wiring $75,000

 in “USD” from the “LMEA Account” to Tlass’s “offshore account” was how Defendants wanted

 “to proceed in the future to sever[ ] any suspicion in connecting LCS and FT.”298

          222.   Defendants’ use of U.S. dollars to mask their activities matched their broader

 concealment efforts. Among other things, Defendants funneled their payments through a web of




    294
         Id. ¶ 60; Preferred Option Email at 2.
    295
         2010 Tlass Agreement art. 4 (“Service Fees shall be 1% of the net sales of LCS”). In
 addition to the “turnover” payments, Defendants also “pa[id] him a monthly donations which
 normally is supposed to be entirely distributed” to terrorists. Ex. 106 (ATA0000541 at -541).
     296
         Preferred Option Email at 2 (“As discussed many times, we cannot continue the way we
 are settling the turnover invoices.”).
     297
         Feb. 2014 Tlass Agreement at -426 (contract with “Nort Logistics Consultancy Service
 JLT”); id. art. 4 (“From July 1, 2013, the Employer shall pay a monthly remuneration of
 75,000USD.”); Ex. 107 (ATA0009228 at -228) (Pescheux demanding new contract with
 “company you control”).
     298
         Suspicion Email at 1; see Plea Statement ¶ 62.


                                                 90
Case 1:24-cv-08901-NGG-PK           Document 1 Filed 12/30/24           Page 94 of 130 PageID #:
                                             94



 54 different bank accounts, which PwC called “[un]usual[ ] and excessive.”299 By using so many

 accounts, Lafarge made it more difficult for others to detect the scheme.

          223.   Second, transacting in U.S. dollars protected Defendants and their agents from

 foreign-exchange risk. Due to international sanctions and Syria’s civil war, the value of the

 Syrian pound plummeted during Defendants’ scheme.300 When Defendants’ arrangement with

 Tlass began, the Syrian pound was trading against the U.S. dollar at roughly 47:1. By the middle

 of 2013, it had depreciated to roughly 220:1 (having lost roughly 3/4 its value).301 The Syrian

 pound’s rapid “depreciation” prompted Tlass to demand payment from LCS in U.S. dollars.302

 Indeed, in a meeting with Pescheux in August 2013, Tlass “ended by saying he would prefer a

 fixed monthly fee in USD.”303 And Defendants – which constantly monitored the USD-SYP

 exchange rate304 – had similar preferences, going to great lengths to hold as much of LCS’s cash

 as possible in U.S. dollars.305 LCS became so desperate for U.S. dollars that it was even willing

 to buy them on the Syrian “grey market” at exorbitant exchange rates.306




    299
         Project Alpha Report at -227.
     300
         Ex. 7 (ATA0009139) (identifying “swift depreciation of the Syrian Pound” as a
 “nightmare” that ranked among LCS’s “major problems”).
     301
         Ex. 106 (ATA0000541 at -541).
     302
         Ex. 106 (ATA0000541 at -541) (“remuneration based on turnover is now challenged by
 FT” in part due to “depreciation of the Syrian Pound vs USD”).
     303
         Ex. 106 (ATA0000541 at -541).
     304
         Ex. 108 (ATA0022737 at -738) (“LCS observes and determines USD/SYP rate as the
 parallel market is driven by the USD/SYP exchange rate.”).
     305
         Ex. 109 (ATA0020481 at -487) (“To alleviate the risk relating to currency devaluation,
 LCS attempts to maximize the cash denominated in USD and EUR.”).
     306
         Cash Shortfall Memo at -066 (“As we cannot get Fx currency from the Central Bank of
 Syria, we buy it either on the grey market or from the commercial banks.”).


                                                 91
Case 1:24-cv-08901-NGG-PK             Document 1 Filed 12/30/24             Page 95 of 130 PageID #:
                                               95



           224.   Third, Defendants’ payments satisfied ISIS’s and ANF’s general preference for

 U.S. dollars. Real-time public reports linked ISIS’s fundraising prowess – and its recruiting

 success – to its stockpile of U.S. dollars. As Business Insider reported in 2015:

           According to [an ISIS defector], a large number of people are joining ISIS because they
           need money. After joining [ISIS], people are paid in US dollars instead of Syrian liras.
           . . . ISIS members receive additional incentives to fight for the group. “I rented a house,
           which was paid for by ISIS,” Abu Khaled, who worked for ISIS’s internal-security forces
           and “provided training for foreign operatives,” [said]. “It cost $50 per month. [ISIS] paid
           for the house, the electricity. Plus, I was married, so I got an additional $50 per month for
           my wife. If you have kids, you get $35 for each. If you have parents, they pay $50 for
           each parent. This is a welfare state.” And those financial benefits are not just limited to
           the organization’s fighters.307

           225.   Investigative reports sourced to witnesses from inside ISIS’s territory reinforce

 that connection. For example, according to the Independent, a leading British newspaper that

 has covered ISIS extensively since its inception, the “Islamic State was already known to pay its

 recruits in [U.S.] dollars, sell[ ] oil and looted antiques for dollars, and accept extorted taxation

 and hostage money in dollars.”308 ISIS “promoted the idea that it was hitting the US economy by

 issuing its own currency but the organisation on the ground is doing exactly the opposite, having

 built a financial system entirely dependent on the US dollar.”309

           226.   Defendants’ reliance on New York banks helped them capture all these benefits of

 their U.S.-dollar payments. New York is the global hub of cross-border U.S.-dollar transfers for

 good reason: companies that wire their U.S. dollars through New York gain from the legitimacy,

 reliability, and speed offered by New York clearing. Transacting through other clearing centers



     307
         Jeremy Bender, An ISIS Defector Explained A Key Reason People Continue Joining The
 Group, Bus. Insider (Nov. 18, 2015), https://tinyurl.com/3ced6xs5.
     308
         Lizzie Dearden, ISIS’ Attempt To Topple US Economy With Own Currency ‘Failing’ As
 Reliance On American Dollars Increases, Indep. Online (UK) (Mar. 26, 2016), 2016 WLNR
 9336286.
     309
         Id.


                                                    92
Case 1:24-cv-08901-NGG-PK           Document 1 Filed 12/30/24             Page 96 of 130 PageID #:
                                             96



 is possible – there are other ways to move U.S. dollars in theory – but all present operational

 risks that New York clearing avoids. By routing the payments identified in Paragraph 155

 through New York, Defendants maximized the potency of their terrorist funding.

          227.   New York clearing enhanced the legitimacy of Defendants’ U.S.-dollar payments

 and helped Defendants conceal their scheme from auditors. As noted above, Defendants chose

 to transact in U.S. dollars in part to make their payments look like ordinary “bank transfer[s].”310

 New York clearing helped achieve that effect. That is because the vast majority of U.S.-dollar

 transactions clear through CHIPS and flow through New York banks – so routing a U.S.-dollar

 payment through New York correspondent accounts would have represented business as usual

 for a legitimate company making legitimate business payments. Had Defendants routed their

 U.S.-dollar payments some other way, it would have stood out as unusual – risking the very type

 of outside attention from auditors and regulators Defendants were striving to avoid.

          228.   Defendants worried constantly about satisfying their “external auditors.”311 In

 2012, Pescheux began discussing with Tlass the need to “draft invoices that would not raise red

 flags,”312 warning him that Tlass’s sloppy invoices meant that “our financial statements for 2012

 cannot be approved.”313 Pescheux thus demanded that Tlass form a company “in Dubai” and

 present new invoices from that company “with a minimum of formalism.”314 Defendants

 requested such formalism “even if we continue to settle the invoices in Syrian Pounds.”315 But

 as Pescheux repeatedly made clear, settlement in Syrian pounds was not his preference. He


    310
        Preferred Option Email at 2.
    311
        Ex. 110 (ATA0009234 at -234).
    312
        Plea Statement ¶ 58.
    313
        Ex. 110 (ATA0009234 at -234)
    314
        Ex. 110 (ATA0009234 at -234).
    315
        Ex. 110 (ATA0009234 at -234).


                                                  93
Case 1:24-cv-08901-NGG-PK           Document 1 Filed 12/30/24            Page 97 of 130 PageID #:
                                             97



 knew that shifting into U.S. dollars offered a safer course for satisfying LCS’s auditors.316 “The

 best solution,” he concluded, was for Lafarge to pay Tlass “in foreign currency on a foreign

 account to a foreign entity” – which is exactly what then happened, via a New York wire.317

          229.   Defendants’ ensuing efforts to pay Tlass demonstrate the value they ultimately

 reaped from New York clearing. On agreeing to pay Tlass in U.S. dollars, LCS first attempted to

 pay him by wire originated from its LMEA account, through New York, but was stymied by the

 bank’s “compliance department.”318 So LCS was forced to wire Tlass his July 2013 payment in

 Euros instead.319 That was neither side’s preference, and Defendants reverted to paying U.S.

 dollars in future months. At the time, however, Tlass had not created a bank account capable of

 receiving U.S.-dollar wires from outside Lebanon, so Defendants had to devise a convoluted

 workaround. First, they sourced U.S. dollars into LCS’s own account at Audi Lebanon –

 sometimes from LCS’s illegal LMEA account,320 other times by approaching grey-market

 foreign-exchange dealers to convert Euros or Syrian pounds into dollars.321 Then, Defendants

 instructed Audi Lebanon to engage in an internal book transfer through which it moved the U.S.




    316
         Ex. 111 (ATA0015463) (Pescheux telling Tlass, copying Mirakoff, that “we cannot
 continue to pay these amounts in Syrian p[o]unds”); Preferred Option Email at 2 (Pescheux
 reminding Tlass that “we cannot continue the way we are settling the turnover invoices” and that
 he “preferred” to make “a bank transfer in USD”); Suspicion Email at 1 (ordering U.S.-dollar
 “transfer[ ]” to Tlass’s “offshore account” to “sever[ ] any suspicion in connecting LCS and FT”);
     317
         Ex. 111 (ATA0015463).
     318
         Ex. 60 (ATA0004874 at -875).
     319
         Ex. 60 (ATA0004874 at -874-75).
     320
         Supra ¶¶ 185-88.
     321
         Infra ¶ 237.


                                                 94
Case 1:24-cv-08901-NGG-PK             Document 1 Filed 12/30/24              Page 98 of 130 PageID #:
                                               98



 dollars from LCS’s account into what Tlass called “my account” at the same bank.322 Finally,

 Tlass had an associate come withdraw the U.S. dollars out of his account in Lebanon.323

           230.   Defendants expressed grave concerns about this book-transfer procedure and

 repeatedly pressured Tlass to change it. On March 15, 2014, Pescheux told Tlass he had just

 “given the instruction for paying the monthly fee of February to your personal bank account in

 Lebanon,” but reiterated that “this situation is putting us at risk . . . as the confidentiality of the

 transaction is an illusion.”324 Pescheux warned Tlass that he was “not in favor to continue the

 way we currently use for the March payment.”325 Herrault replied by offering to “intervene with

 Firas” and remarking of the payment process: “This is becoming ridiculous.”326

           231.   Pescheux followed up two weeks later, reminding Tlass that the continuing non-

 wire U.S.-dollar payments were “putting me in a difficult situation” with Defendants’ “[e]xternal

 auditors.” 327 Any solution, Pescheux stressed, could no longer rely on book transfers into

 Tlass’s “personal bank account.”328 Although Tlass continued to pay off terrorists – updating

 Pescheux about “[o]ur negotiations with ISIS” – he resisted opening a non-Lebanese bank

 account capable of receiving normal U.S.-dollar wires.329 His delay prompted Defendants to

 withhold payment. A few months later, Herrault reminded Tlass that Lafarge would not continue

 with the “monthly payment plan” because the convoluted payment process “puts the company at



     322
        Ex. 112 (ATA0021127 at -128) (certified English translation); see, e.g., supra ¶ 165 &
 n.166 (collecting bank instructions).
    323
        Ex. 112 (ATA0021127 at -128) (certified English translation).
    324
        Ex. 113 (ATA0021905) (certified English translation).
    325
        Ex. 113 (ATA0021905) (certified English translation).
    326
        Ex. 113 (ATA0021905) (certified English translation).
    327
        Ex. 114 (ATA0009220).
    328
        Ex. 114 (ATA0009220).
    329
        Ex. 115 (ATA0009216 at -216).


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Case 1:24-cv-08901-NGG-PK          Document 1 Filed 12/30/24            Page 99 of 130 PageID #:
                                            99



 risk and it has to stop.”330 By July 2014, when Tlass expressed frustration that he had not

 “received the payment of $75000 in my account in Beirut,” Pescheux responded tersely: “We

 are still waiting for any progress in the opening of your company’s bank account.”331

          232.   By early September, Lafarge and LCS had begun to devise “a way of

 remunerating FT in different manners.”332 While those discussions continued, Defendants

 announced “we no longer wish” to make “the USD payment” to Tlass “from our account in

 Beirut.”333 Although Tlass still requested payment into “his personal account in Beirut,” Lafarge

 refused. On the advice of Khodara and Lafarge’s General Counsel, Lafarge emphasized that

 LCS could “no longer pay” through Audi Lebanon and “need[ed] to find a new way of

 operating.”334 And any solution, Lafarge insisted, must involve a transfer into a new “company”

 account.335 The pressure worked. On September 29, 2014, Jolibois reported to Khodara and a

 Lafarge Senior Finance VP that Tlass had “finally [been] able to open an account in Dubai.”336

          233.   Defendants immediately prepared to wire U.S. dollars into Tlass’s new North

 Logistics account in Dubai. But they realized they could not send the payments from Syria or

 Lebanon. After opening the North Logistics account, Tlass asked LCS to promptly “transfer

 [the] overdue sums” into his new “bank account” in Dubai.337 Herrault exclaimed: “It can no




    330
         Ex. 105 (ATA0009218 at -218).
    331
         Ex. 115 (ATA0009216 at -216-17).
     332
         Ex. 116 (ATA0022824 at -824) (certified English translation).
     333
         Ex. 117 (ATA0000166 at -167) (certified English translation).
     334
         Ex. 117 (ATA0000166 at -166) (certified English translation).
     335
         Ex. 117 (ATA0000166 at -166) (certified English translation).
     336
         Ex. 117 (ATA0000166 at -166) (certified English translation).
     337
         Ex. 118 (9/29/2014 Jolibois-Block-Herrault Email String at 1) (certified English
 translation).


                                                96
Case 1:24-cv-08901-NGG-PK           Document 1 Filed 12/30/24            Page 100 of 130 PageID #:
                                             100



  longer be done from Syria!”338 And just a week earlier, Jolibois had reminded his colleagues

  that LCS could no longer reliably pay U.S. dollars “from our account in Beirut.”339

           234.   That led Lafarge to send a bank wire through New York’s financial system,

  described above.340 Having convinced Tlass to create a shell company outside Syria, Defendants

  finally made good on their desire to effect payment through “a bank transfer in USD to the

  account of a duly registered company.”341 Their machinations had solved their auditor problem:

  Defendants could now pay Tlass with an ordinary bank wire flowing through ordinary New York

  banking channels, rather than LCS’s convoluted and highly suspicious book-transfer process.

  They had also solved their U.S. sanctions problem: by wiring money between Cypriot and

  Dubai companies, Lafarge duped BNP Paribas and JP Morgan Chase into processing the wire.342

  Nobody else knew it was an illegal U.S.-dollar payment between two Syrian entities.343

           235.   New York clearing also enhanced the speed and reliability of Defendants’ U.S.-

  dollar transactions. During Defendants’ scheme, a limited number of non-U.S. banks were able

  to clear cross-border U.S.-dollar wire transfers. These alternative U.S.-dollar clearing centers

  were in Tokyo, Hong Kong, Singapore, and Manila. But each presented extra cost and risk.

  Indeed, those banks were not commonly used by Western financial institutions, and the Federal

  Reserve allowed them to clear U.S.-dollar transfers only because of the time-zone difference

  with East Asia. That arrangement did not permit Defendants to wire money from France into


     338
          Ex. 118 (9/29/2014 Jolibois-Block-Herrault Email String at 1) (certified English
  translation).
      339
          Ex. 117 (ATA0000166 at -167) (certified English translation).
      340
          Supra ¶¶ 157-60.
      341
          Preferred Option Email at 2.
      342
          Ex. 22 (BNPP-NY 000004, Rows 2913-2915); Ex. 23 (BNPP-NY 000001, Excerpt from
  JPMC Subpoena Response, Row 2).
      343
          Plea Statement ¶¶ 96-103.


                                                  97
Case 1:24-cv-08901-NGG-PK           Document 1 Filed 12/30/24            Page 101 of 130 PageID #:
                                             101



  Dubai, Lebanon, Syria, or Egypt. Had Defendants routed those transactions through non-U.S.

  banks, rather than New York banks, they would have exposed themselves to credit and

  operational risk, and likely would have had to pay higher banking fees as well.

           236.   Defendants experienced those operational risks first-hand. By August 2011, U.S.

  sanctions were substantially constricting Defendants’ ability to route U.S. dollars in and out of

  Syria. Defendants strongly preferred to transact in U.S. dollars: that is how Lafarge made its

  upstream payments until August 2011, and it is how Defendants wanted to proceed even after

  President Obama ratcheted up sanctions in August 2011. But U.S. sanctions effectively blocked

  Lafarge and LCS from continuing “to wire USD to Syria” because they stopped New York banks

  from clearing the wires.344 In 2012, therefore, Lafarge had to start paying LCS by wiring money

  in Euros, after which LCS would “buy USD on shore.”345

           237.   The need for LCS to buy U.S. dollars on shore in Syria created operational

  headaches. For one thing, the currency conversion process was complex, forcing LCS personnel

  to devote significant time to managing it.346 For another, it was expensive: LCS (and thus

  Lafarge and Lafarge Cyprus) was forced to pay high prices to convert Euros and Syrian pounds

  into U.S. dollars by buying them from Syria’s Central Bank, commercial banks, or private

  currency dealers on the grey market.347 All this together compounded the financial challenges


     344
           Ex. 89 (ATA0000383 at -392) (“We understand that due to recent restrictions on Syria, it
  is today very difficult and almost impossible to wire USD to Syria. We are still having
  discussions with some banks but at this stage, the only route that we can eventually considered is
  to wire EUR via LBMHE (to be confirmed).”).
       345
           Ex. 89 (ATA0000383 at -392); see id. at -383 (“We’ve ascertained that we can transfer
  EURO to Lafarge Cement Syria,” even while Lafarge would “book” the loan “in USD”).
       346
           Ex. 49 (ATA0000503 at -505-14) (describing complex, five-phase “Forex Management
  Process”); Cash Shortfall Memo at -069 (similar); Ex. 42 (ATA0000938 at -938).
       347
           Ex. 63 (ATA0018621 at -621) (“Since the application of US sanctions, we bear heavy
  exchange losses when effecting any transfer from or to our USD Operating Account.”); Cash
  Shortfall Memo at -069-72 (detailing parallel-market FX deals); Ex. 49 (ATA0000503 at -507)

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Case 1:24-cv-08901-NGG-PK             Document 1 Filed 12/30/24             Page 102 of 130 PageID #:
                                               102



  faced by Lafarge’s Syrian business during the criminal conspiracy. As Pescheux told Herrault in

  June 2013, the “scarcity of USD” in Syria was “really a nightmare.”348 Wiring dollars through

  New York banks – which Defendants did whenever they could – was easier, faster, and cheaper.

         238.    Defendants knew from public U.S. enforcement actions that the sanctions regime

  they were flouting was designed to prevent U.S. banks from helping finance attacks by FTOs.349

  In 2015, moreover, the Treasury Department confirmed that FTOs like ISIS and ANF relied on

  their ability to leverage the U.S. financial system to facilitate U.S.-dollar transfers:

         Given the central role U.S. banks play in facilitating global payments, the
         United States is vulnerable to the movement of funds associated with [terrorist
         financing] through the banking system. To address this, the U.S. government has
         focused on developing and implementing preventive measures to reduce the
         vulnerability of these institutions to [terrorist financing], used additional tools and
         authorities to more effectively target [terrorist financing], and imposed
         substantial financial penalties on noncompliant institutions. Even with these
         measures, the U.S. banking system is exposed to residual [terrorist financing] risk,
         such as from foreign correspondents that may not have effective AML/CFT [i.e.,
         Anti-Money Laundering/Countering the Financing of Terrorism] programs.350

         239.    The Treasury Department repeated a similar warning on October 16, 2014, eight

  days before Defendants’ $210,000 wire to Tlass, when it sanctioned a violent, Syrian-regime-

  affiliated actor. The designation emphasized that U.S. sanctions on Syria sought to deprive




  (noting LCS “ha[s] to add the spread demanded by the trader”). By mid-2013, even the Syrian
  Central Bank refused to sell U.S. dollars to LCS “at the official rate” and demanded pricing “at
  the ‘intervention’ rate, close to the pa[r]allel market.” Ex. 119 (ATA0005001 at -001).
      348
          Ex. 7 (ATA0009139).
      349
          See, e.g., U.S. Dep’t of Treasury, National Terrorist Financing Risk Assessment at 49
  (Aug. 24, 2015).
      350
          Id. at 60.


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Case 1:24-cv-08901-NGG-PK           Document 1 Filed 12/30/24            Page 103 of 130 PageID #:
                                             103



  violent Syrian-related actors of U.S. dollars and force them to instead use a collapsing Syrian

  pound, reducing their ability to fund the kidnapping and murder of innocent victims in Syria.351

           240.   New York prosecutors also pursued enforcement actions alerting Defendants that

  terrorist groups sought to leverage multinational corporations’ choice to use the New York

  banking system. In 2009, for example, after New York regulators announced counterterrorism-

  related enforcement actions against European banks, the Manhattan District Attorney told

  Bloomberg that New York was prosecuting “big cases,” including “[o]ne involving Lloyd’s [of

  London], where they were taking Iranian money, stripping the identification, and then sending it

  to U.S. . . . correspondent banks to get dollars to buy equipment for weapons” and observed that

  “[p]eople” – even terrorists – “still want to be paid in dollars,” which was “the reason they go

  through U.S. banks.”352 In 2014, likewise, the Manhattan District Attorney warned multinational

  corporations that, “if you are going to use the American banking system, particularly New York,

  for your dollar clearing transactions, you are going to have to abide by [America’s] rules.”353

           241.   Defendants also witnessed the difference between speedy New York execution

  and unreliable foreign execution. In March 2013, for example, a Taleb subcontractor sought

  payment in U.S. dollars through Bank of America, prompting LCS to warn Taleb that “we can’t

  transfer to Bank of America, or any bank in USA,” and to ask instead for a new “bank account”

  designating “Commerz Bank” as the correspondent.354 But the parties were unable to find an



     351
          See Press Release, U.S. Dep’t of Treasury, Treasury Sanctions a Syrian Official
  Responsible for Human Rights Abuses in Syria and Syrian Regime Supporters and Officials (Oct.
  16, 2014).
      352
          Robert Morgenthau, quoted in Margaret Brennan, Manhattan District Attorney Robert
  Morgenthau on Bloomberg TV, CEO Wire (Sept. 11, 2009), 2009 WLNR 17857284.
      353
          Cyrus Vance, Jr., quoted in Manhattan DA Cyrus Vance Jr. Intvd on Bloomberg TV,
  Bloomberg TV (Aug. 6, 2014), 2014 WLNR 21514304.
      354
          Ex. 101 (ATA0014184 at -190).


                                                  100
Case 1:24-cv-08901-NGG-PK           Document 1 Filed 12/30/24            Page 104 of 130 PageID #:
                                             104



  alternative execution route, despite exploring everything from Turkish banks to Chinese banks to

  Western Union.355 The resulting payment delays led the subcontractor to complain, spurring

  Taleb to explain that “we did transfer the payments but all the way failed” to clear through the

  subcontractor’s preferred Bank of America correspondent account.356 Eventually, Taleb had to

  personally pay the subcontractor out of his own funds and then collect the money from LCS via

  “Audi Bank in Lebanon”357 – the same risky process Lafarge later refused to continue with Tlass.

  These delays nearly ruined the project and ruptured Lafarge’s relationship with Taleb.358

           242.   When Defendants were able to exploit New York clearing, New York banks

  solved these problems for them.359 And Defendants valued the speed New York clearing

  delivered. On many occasions, LCS’s precarious cash position sparked a sense of urgency in

  demanding speedy upstream payment.360 And in October 2014, after Khodara had negotiated

  Defendants’ illegal contract with Tlass, he too demanded urgency by instructing Benattar to

  effect payment “quickly.”361 New York routing allowed Lafarge to achieve that objective. Had

  Defendants tried to execute their U.S.-dollar wire transfers through some other means, their

  scheme would have become less effective, more expensive, and harder to conceal.




     355
          Ex. 101 (ATA0014184 at -186-88).
     356
          Ex. 101 (ATA0014184 at -187).
      357
          Ex. 101 (ATA0014184 at -185).
      358
          Ex. 120 (ATA0009942 at -942-43).
      359
          Supra ¶¶ 147-88 (detailing New York-cleared transactions).
      360
          Ex. 41 (ATA0005040 at -040) (conveying “urgency of payments” and stressing need to
  avoid “days” of delay); Ex. 28 (ATA0000220 at -222) (requesting fast transfer because of need
  to cover outgoing payment “urgently”); id. at -227 (“you are kindly requested to urgently ensure
  a transfer of 3 Musd ASAP allowing us to cover the daily Cash needs”).
      361
          Ex. 24 (ATA0032468 at -468) (certified English translation).


                                                 101
Case 1:24-cv-08901-NGG-PK             Document 1 Filed 12/30/24           Page 105 of 130 PageID #:
                                               105



           B.       Defendants Relied On U.S.-Based Email Providers To Carry Out Their
                    Terrorist-Financing Scheme

           243.     In carrying out their scheme to pay ISIS and ANF, Defendants also reached into

  the United States to avail themselves of U.S.-based email services. Defendants’ use of those

  services formed additional U.S. touchpoints and allowed Defendants to reap the benefit of their

  email providers’ U.S. presence. Those U.S.-driven benefits also materially contributed to

  Defendants’ scheme and enhanced their ability to pay terrorists.

           244.     As Lafarge and LCS have admitted, their executives “used personal email

  accounts serviced by U.S-based email service providers, instead of their LAFARGE corporate

  email addresses, to carry out some aspects of the conspiracy.”362 Mainly, that was Gmail.

  During at least 2013 and 2014, Defendants regularly used U.S.-based Gmail accounts to plan

  their conspiracy. On information and belief, Defendants sent and received hundreds of scheme-

  related communications through these and other such accounts:

           Account Owner                Role of Account Owner                Email Address

           Bruno Pescheux             CEO of LCS until July 2014       brunopescheux@gmail.com
                Firas Tlass              Defendants’ agent and          Firastlass01@gmail.com
                                      intermediary who paid ISIS
                                            on their behalf
       Mamdouh al-Khaled               LCS Purchasing Manager         Mamdouh.lafarge@gmail.com
            Hassan al-Saleh               LCS Plant Manager           Hassan.cement65@gmail.com
             Ahmad Jamal                ISIS representative who      Ahmad.jamal1966@gmail.com
                                       supplied materials to LCS


           245.     Defendants and their agents routinely advanced their scheme to pay terrorists by

  sending emails to and from these U.S.-based accounts. Plaintiffs set forth a few examples of




     362
           Plea Statement ¶ 18.


                                                   102
Case 1:24-cv-08901-NGG-PK              Document 1 Filed 12/30/24            Page 106 of 130 PageID #:
                                                106



  these communications below. These examples are illustrative, not exhaustive, and again reflect

  information without discovery. On information and belief, discovery will uncover many

  additional email communications using these and other U.S.-based accounts:

  a.         Pescheux (Gmail) to Tlass (Gmail), July 2, 2013: Pescheux emailed Tlass to provide
             “clarifications” regarding Tlass’s payments to armed groups in and around Jalabiyeh.
             The email identified more than 10 groups Tlass was paying on Defendants’ behalf –
             including ANF specifically – and conveyed Pescheux’s understanding that “you are
             dealing with a lot of different people and I have no problem with that.” Pescheux sent
             this email from his Gmail account to Tlass’s Gmail account.

  b.         Tlass (Gmail) to Pescheux (Gmail), July 3, 2013: Tlass responded by providing
             Pescheux a “road map to know how we pay” the armed groups in and around the
             Jalabiyeh plant, listing at least 14 such groups, including ANF. Tlass sent this email from
             his Gmail account to Pescheux’s Gmail account.

  c.         Tlass (Gmail) to Pescheux (Gmail), March 31, 2014: Tlass emailed Pescheux, among
             others, describing the “security situation in and around the plant area.” In his email,
             Tlass described the “Skype” calls he conducted with ISIS’s “Amir Minbej or Raqa”
             [likely a reference to Abu Luqman] and noted that Lafarge made “$2 million profit” per
             month while “pay[ing] less than 1/4 for protection,” including to ISIS. Tlass sent this
             email from his Gmail account to, among other addresses, Pescheux’s Gmail account.

  d.         Tlass (Gmail) to Pescheux (Gmail), July 14, 2014: Tlass wrote to Pescheux updating him
             on Tlass’s “negotiations with ISIS” and expressing “confiden[ce] that we can reach to a
             logical agreement with them.” Tlass sent this email from his Gmail account to
             Pescheux’s Gmail account.

             246.    Defendants’ use of these email accounts was purposeful. As Lafarge and LCS

  admitted, their executives and agents used “U.S.-based email service providers,” rather than their

  “corporate email addresses,” in a conscious effort “to conceal their conduct from others within

  and outside of LAFARGE and LCS.”363 That strategy implemented Lafarge’s directive,

  conveyed by Khodara, to avoid creating discoverable email records of terrorist payoffs. As

  Pescheux wrote in a September 8, 2014 email from his Gmail address to Jolibois’s personal




       363
             Id. ¶ 18.


                                                    103
Case 1:24-cv-08901-NGG-PK            Document 1 Filed 12/30/24              Page 107 of 130 PageID #:
                                              107



  email address, Khodara had instructed him not to email Herrault “at his professional address.”364

  That instruction followed Khodara’s broader dictate that he not “receive anything” about the

  conspiracy “by email.”365 That is why Pescheux used Gmail to communicate about the ISIS

  payoffs. It reflected a conscious choice, in line with guidance from Lafarge’s headquarters.

           247.   Defendants’ decision to carry out their criminal conspiracy via Gmail, rather than

  corporate email, matched standard practice among terrorists and their funders. According to

  security analysts quoted by the Associated Press, “super-encrypted corporate emails are unlikely

  to be used by militants, who prefer more anonymous technologies, like Gmail.”366

           248.   Defendants’ and their agents’ use of these U.S.-based email accounts also entailed

  substantial U.S. contacts. In both opening and using those accounts, Defendants and their agents

  reached into the United States in several ways.

           249.   Defendants Transacted With A U.S. Counterparty. Defendants’ agents relied

  on an email service owned and operated out of the United States by a U.S.-headquartered

  company. When they used their Gmail accounts, they agreed to Google’s Terms of Service,

  which in 2013 made clear that Gmail was “provided by Google, Inc. (“Google”), located at 1600

  Amphitheatre Parkway, Mountain View, CA 94043, United States.” Defendants thus knew that

  they were carrying out their conspiracy using a U.S.-based service “provided by” a U.S.-based

  company. Defendants also agreed that the “laws of California, U.S.A., excluding California’s

  conflict of laws rules, will apply to any disputes arising out of or relating to these terms or the

  Services,” including Gmail. Defendants further agreed that they would not “misuse” Gmail and


     364
          Id. ¶ 88; see Ex. 121 (9/12/2014 Herrault-Veillard Email String) (certified English
  translation).
      365
          Ex. 121 (9/12/2014 Herrault-Veillard Email String) (certified English translation).
      366
          Assoc. Press, republished in Hamilton Spectator, RIM Averts BlackBerry Ban In India
  (Aug. 31, 2010).


                                                    104
Case 1:24-cv-08901-NGG-PK            Document 1 Filed 12/30/24            Page 108 of 130 PageID #:
                                              108



  that they would use Google’s services “only as permitted by law.” Defendants conveyed those

  agreements into the United States as a condition of accessing Gmail’s U.S.-based service.

           250.   Defendants also obtained Gmail’s services by sending their data to Google in the

  United States. In using Gmail, Defendants knowingly allowed their data to be transferred into

  the United States for Google’s data-mining activities, which were used in the United States for

  (among other things) targeted search suggestions and ad sales. Defendants did so in part by

  agreeing that Google could scan the contents of their emails – a process directed by engineers in

  the United States – to “provide customized advertising to its email users.”367

           251.   Defendants knew they were providing their valuable data to an American

  company because it was widely reported at the time. In one example, CNN reported in April

  2014 that, although Google “may not charge for its Gmail accounts,” it was “still collecting

  payment in the form of massive amounts of personal information about the people who use it.”368

  Thus, when Defendants signed up for Gmail and used it to carry out their scheme, they knew

  they were paying an American company for the American service they were using. But rather

  than sending a wire transfer delivering cash to their U.S. counterparty, they delivered their data.

           252.   Defendants’ Email Communications Relied On U.S. Infrastructure. By using

  Gmail to carry out and conceal their scheme, Defendants and their agents exploited a service that

  was created, engineered, and maintained in the United States. During the time of Defendants’

  conspiracy, Google operated the majority of its data centers in the United States, which enabled

  Defendants’ conspiracy-related emails to reach their destinations securely and reliably. Those



     367
          Anna Bernasek, Encryption Protects Gmail From Everyone But Google, Newsweek (July
  4, 2014).
      368
          Heather Kelly (CNN Money Reporter), Why Gmail And Other E-mail Services Aren’t
  Really Free, CNN Business (Apr. 1, 2014), https://tinyurl.com/39jtbv83.


                                                  105
Case 1:24-cv-08901-NGG-PK            Document 1 Filed 12/30/24             Page 109 of 130 PageID #:
                                              109



  U.S.-based servers were important in part because they provided Google with the ability to back

  up Gmail customers’ data in the United States, which minimized outages and enhanced

  reliability. On information and belief, the bulk of Defendants’ conspiracy-related Gmail

  communications traveled through or were stored at least in part on U.S.-based servers.

           253.   Defendants’ Use Of U.S. Email Servers Offered Them The Benefits Of U.S.

  Law. Gmail’s status as a U.S.-owned and -operated service also afforded Defendants protection

  from foreign law enforcement, including French prosecutors. That is because U.S. law placed

  constraints on U.S.-based communications providers like Google when releasing customer data

  to foreign governments. As one British paper explained, European law enforcement officials

  generally could not “get[ ] access to the secret Gmail . . . messages of terrorists” because,

  “[c]urrently, US internet giants are banned from handing over emails and private messages to

  foreign law enforcement officials in all but a tiny number of cases.”369 That restriction was in

  place “[b]ecause Google is a US-based company,” which meant that requests for Gmail data

  “f[ell] squarely under US law.”370 Defendants thus knew that, had they chosen to use non-U.S.-

  based email, their communications would have been more susceptible to surveillance by French

  law enforcement – the authority otherwise most likely to discover their scheme, stop it, and bring

  criminal charges against the individuals involved. Indeed, Lafarge and several of the executives

  outlined above are currently facing criminal charges in France for having funded terrorists.


     369
          Ben Riley-Smith, Britain On The Brink Of Gaining Access To Terrorists’ Facebook And
  Gmail Messages For First Time, Telegraph Online (Mar. 22, 2018), 2018 WLNR 8844426; see
  Daily Telegraph, Net Closes On Terror As US Law Lifts Lid On Messaging (Mar. 23, 2018),
  2018 WLNR 8865323 (“[c]urrently, US internet giants hand over” “secret Gmail . . . messages
  sent by terrorists” “to foreign law enforcement bodies only in exceptional cases”).
      370
          Zack Whittaker, What Google Does When A Government Requests Your Data, ZDNet
  (Jan. 28, 2013), https://tinyurl.com/4ydf7v7j; see id. (when requests originated from “outside the
  US,” Google “[didn’t] really have the same level of requirement to hand over data to foreign
  governments or law-enforcement”);


                                                   106
Case 1:24-cv-08901-NGG-PK            Document 1 Filed 12/30/24             Page 110 of 130 PageID #:
                                              110



           254.   The experience of India’s counterterrorism agencies was typical of how terrorists

  leveraged Gmail’s U.S. presence to stymie foreign law enforcement. According to Indian

  officials, “since Google servers are based in US and their IP addresses are masked, it takes a long

  time to get the real IP addresses and log details of the culprits” who used Gmail for criminal

  purposes.371 For that reason, “Indian security agencies” had a “tough time in catching criminals

  and terrorists who are [customers] of Google-owned Gmail.” On information and belief, similar

  logic applied in France, Dubai, and Syria – where Defendants and their agents used Gmail to

  communicate about their criminal conspiracy with added protection from local law enforcement.

           255.   These well-known features made Gmail especially attractive for terrorists and

  their funders. In 2013, for example, the Washington Post published a high-profile story with the

  headline, “Former NSA and CIA director says terrorists love using Gmail.”372 The article then

  quoted General Michael Hayden observing, “Gmail is the preferred Internet service provider of

  terrorists worldwide,” and noting, “I don’t think you’re going to see that in a Google

  commercial, but it’s free, it’s ubiquitous, so of course it is” a frequently used platform for

  terrorist communications.373 As the Post reported, General Hayden also described “the Internet’s

  origins in the United States” and stated, “We built it here, and it was quintessentially

  American.”374 When Defendants used Gmail to advance their scheme, therefore, they knowingly

  exploited an iconic American service commonly used by terrorists around the globe.




     371
         Economic Times, Orkut Won’t Let Cops Hack Terrorists (Dec. 12, 2006), 2006 WLNR
  27469168.
     372
         Andrea Peterson, Former NSA And CIA Director Says Terrorists Love Using Gmail,
  Washington Post (Sept. 15, 2013) (emphasis added).
     373
         Id.
     374
         Id.


                                                   107
Case 1:24-cv-08901-NGG-PK             Document 1 Filed 12/30/24           Page 111 of 130 PageID #:
                                               111



           C.     Defendants Entered A Conspiracy With ISIS, Pursuant To Which ISIS
                  Engaged In Acts That Targeted The United States

           256.   As alleged above (supra ¶¶ 79-86), Defendants entered a conspiracy with ISIS

  whose overall object was to maintain ISIS’s territorial control of Syria and Iraq and thereby

  promote ISIS’s protection rackets within those countries.

           257.   ISIS was good for Lafarge’s business in Syria. Most fundamentally, ISIS’s

  terrorist activities helped drive from Syria virtually every other Western company, leaving

  Lafarge with minimal competition for the Syrian market.375 So long as the terrorists remained in

  power, Lafarge’s unusual willingness to do business with them gave it a unique opportunity to

  seize market share. ISIS’s protection racket also delivered Lafarge a more specific benefit: the

  ability to partner with terrorists who were willing and able to threaten Lafarge’s competitors.

  That is why Defendants “commit[ted] to revenue sharing with ISIS” and sought to “incentivize

  the terrorist group to act in LCS’s economic interest.”376 Their commitment worked, at least for

  a time. Defendants’ Syrian business was profitable in part because ISIS “agreed to impose costs

  on, and in some cases block the importation of, competing cement.”377

           258.   The existence of a Lafarge-ISIS conspiracy – reflected in Defendants’ purposeful

  “agreements with ISIS”378 – is undisputed and apparent on the face of Lafarge’s guilty plea. The

  plea confirmed, among other things, that Lafarge and LCS executives sought to actively partner

  with ISIS and “share the ‘cake’ ” of their mutual enterprise – with Lafarge executives reasoning

  that it was important for ISIS to have a “vested interest to have the [Jalabiyeh] plant run well.”379



     375
         Supra ¶ 50.
     376
         Plea Statement ¶ 73.
     377
         Id. ¶ 15.
     378
         Id. ¶ 18.
     379
         Id. ¶ 73 (emphasis added).


                                                  108
Case 1:24-cv-08901-NGG-PK            Document 1 Filed 12/30/24             Page 112 of 130 PageID #:
                                              112



  That sentiment reflected Lafarge’s recognition that ISIS could be good for business. As LCS’s

  former risk manager admitted, Lafarge expected that “Nusra Front, later ISI[S],” would use their

  “effective and disciplined fighters” to “bring order to the chaos of corruption that reigned in

  northern Syria.” The resulting relationship went beyond passive payments. As Deputy Attorney

  General Monaco stated, Lafarge “partnered with ISIS, one of the most brutal terrorist

  organizations the world has ever known, to enhance profits and increase market share.”380

           259.   Terrorist violence was vital to that agreement. For Lafarge to reap the benefits of

  its conspiracy with ISIS, two things had to be true: (1) ISIS had to retain control of its territory;

  and (2) ISIS’s protection rackets had to remain effective against Lafarge’s would-be competitors.

  Neither could work without terrorist violence and coercion. For example, as Janes, the iconic

  defense industry publication, observed, ISIS “relies on informants and operatives who threaten

  and pressure the local population to pay extortion money. Islamic State’s frequent small arms

  and improvised explosive device (IED) attacks . . . act as a reminder of the imminent threat and

  presence of the militants.”381 Violence thus was crucial to the racket, because it lent credence to

  ISIS “intimidation” and “pressure” on local entities to “pay levies” the group demanded.382

           260.   ISIS religious doctrine confirmed that violence underpinned the conspiracy

  Defendants joined. For example, official ISIS propaganda notified the public, including

  Defendants, that ISIS would spend protection payments to “support[ ] jihad”; and that ISIS’s

  maintenance of the racket was backed by the threat of violence against others, including the



     380
         U.S. Dep’t of Justice, Lafarge Pleads Guilty to Conspiring to Provide Material Support to
  Foreign Terrorist Organizations (Oct. 18, 2022) (emphasis added).
     381
         Shady Alkhayer, Money Flow: Islamic State Continues To Finance Operations In
  Central Syria Through Extortion And Intimidation, Janes (Sept. 2, 2022), 2022 WLNR 27802943
  (emphasis added).
     382
         Id.


                                                   109
Case 1:24-cv-08901-NGG-PK            Document 1 Filed 12/30/24             Page 113 of 130 PageID #:
                                              113



  potential to execute ISIS’s enemies. Similarly, ISIS offered a purported religious mandate for its

  taxes, with punishments (including execution) threatened against those who did not pay. When

  Defendants cooperated with ISIS in advancing this protection racket, they joined a conspiracy

  whose stated rationale revolved around the perpetration of terrorist violence.

           261.   In furtherance of this conspiracy, ISIS engaged in numerous overt acts both in and

  expressly aimed at the United States. In building their territorial control and strengthening their

  protection racket, ISIS committed many terrorist attacks aimed at the United States. As Deputy

  Attorney General Monaco stated in connection with Lafarge’s and LCS’s guilty plea, during the

  Defendants’ conspiracy, the rest of “the world watched in horror as ISIS murdered innocent

  journalists and aid workers,” inflicting “unimaginable pain and suffering” on “American families

  whose loved ones were brutally murdered by ISIS.”383 ISIS publicly celebrated those acts and

  made clear, both before and during Defendants’ conspiracy, that its efforts to grow its caliphate

  relied on an ongoing terrorist campaign aimed at the United States.384

           262.   ISIS’s specific attacks on Americans furthered the conspiracy. For example, ISIS

  captured and beheaded James Foley and Steven Sotloff to send a message of intimidation and

  control, including by publicizing the brutal murders in videos titled “A Message to America” and

  “A Second Message to America,” respectively.385 The capture of these American journalists

  helped ISIS’s conspiracy with Defendants by strengthening ISIS’s territorial control and

  bolstering the credibility of ISIS’s threats against others, including Lafarge’s competitors.




     383
         U.S. Dep’t of Justice, Deputy Attorney General Lisa O. Monaco Delivers Remarks
  Announcing A Guilty Plea By Lafarge On Terrorism Charges (Oct. 18, 2022).
     384
         Supra ¶¶ 39-44.
     385
         Supra ¶ 43.


                                                  110
Case 1:24-cv-08901-NGG-PK            Document 1 Filed 12/30/24            Page 114 of 130 PageID #:
                                              114



           263.   Scholarly analyses confirm that connection. As terrorism scholars Clarke and

  Williams wrote, “Da’esh . . . used kidnapping as a weapon against its enemies—particularly the

  United States” given that the U.S. government “refused to pay[ ] ransoms for the release of its

  citizens” and therefore ISIS believed that attacks that targeted Americans could serve as “an

  important fund-raising method” like “was done with U.S. journalist James Foley” because “the

  great virtue of kidnapping is that it can be used symbolically to spread fear and deliver a

  message of defiance.” They continued:

           This was done with U.S. journalist James Foley who was captured in 2012; a video
           of his execution was released in August 2014. Although Da’esh in an e-mail
           communication with Foley’s family had demanded millions for his release, how
           serious this was remains uncertain. After Foley was executed, Da’esh, in what
           Cragin and Padilla contend was an attempt to embarrass and humiliate the United
           States, claimed that Obama was to blame. Yet the profit motive might also have
           been present: the killing of Foley certainly increased the pressure to pay for the
           release of hostages from other countries to ensure they did not share the same
           fate.386

  As that analysis illustrates, protection rackets work only if the threat of violence is credible. And

  ISIS could make good on its promise block competing cement only if it convinced Lafarge’s

  competitors that there would be consequences if they said no.

           264.   There was no more effective way for ISIS to accomplish those goals than to

  publicly kill and maim Americans. Given the United States’ status as the sole global

  superpower, ISIS’s public attacks on Americans conveyed unique credibility to its enemies. For

  example, as Dr. Daniel Byman explained in 2014, ISIS perpetrated “[a]cts of senseless violence

  and unspeakable brutality” that targeted the United States because:

           Videos showing the beheadings of captured US . . . citizens in particular are
           designed to send a message to American . . . people: stay out of our business. . . .
           Islamic State believes that the people in [America] are reluctant to become
           entangled in yet another war in the Middle East and that savagely murdering an

     386
           Clarke & Williams, Da’esh In Iraq And Syria at 33 (emphasis added).


                                                   111
Case 1:24-cv-08901-NGG-PK            Document 1 Filed 12/30/24             Page 115 of 130 PageID #:
                                              115



           American . . . each time the US . . . government starts to get involved will make
           them even more so. They [believe] that the United States does not have the stomach
           for a tough fight and will pull out of a conflict as soon as Americans start getting
           killed.387

           265.   Given the United States’ unique military credibility, ISIS’s attacks on U.S.

  servicemembers, including Plaintiffs, likewise furthered the conspiracy. As Secretary of Defense

  Ashton Carter publicly observed in 2016, “ISIL has demonstrated a clear intent to target U.S.

  servicemembers and facilities.”388

           266.   ISIS’s attacks targeting the United States, including its attacks seeking to kill and

  maim Americans in the Middle East and Africa, including Plaintiffs, also uniquely powered

  ISIS’s recruitment of jihadists to commit attacks because ISIS relied upon a recruitment narrative

  centered upon ISIS’s purported jihad against America. For example, as President Obama

  observed in 2015, “Al Qaeda and ISIL . . . are desperate for legitimacy” and “try to portray

  themselves as . . . holy warriors in defense of Islam”: “That’s why ISIL . . . propagate[s] the

  notion that America . . . is at war with Islam. That’s how they recruit.”389

           267.   ISIS also reached into the United States to further the conspiracy. For example,

  ISIS transmitted threats to victims inside the United States, including to the Foley, Sotloff, and

  Mueller families, as part of its strategy to intimidate the United States. Other acts involved

  former residents of this District. For example, on May 24, 2022, a federal jury in this District

  convicted Mirsad Kandic – a former Brooklyn resident – of providing material support to ISIS,



     387
         Daniel Byman, Al Qaeda, The Islamic State, And The Global Jihadist Movement: What
  Everyone Needs To Know 175-77 (Oxford Univ. Press 2015).
     388
         Secretary of Defense Ash Carter, quoted in Federal News Service Transcripts, Secretary
  Of Defense Ash Carter Delivers Remarks At The NORAD And U.S. Northern Command Change-
  Of-Command Ceremony (May 13, 2016), 2016 WLNR 14688349.
     389
         President Barack Obama, Remarks by the President in Closing of the Summit on
  Countering Violent Extremism, White House (Feb. 18, 2015), https://tinyurl.com/mr3ek3zz.


                                                   112
Case 1:24-cv-08901-NGG-PK             Document 1 Filed 12/30/24              Page 116 of 130 PageID #:
                                               116



  including by assisting ISIS’s media department and facilitating travel for ISIS terrorists.390 On

  February 7, 2023, another federal jury in this District convicted Ruslan Asainov, a former

  Brooklyn resident, of similar crimes for providing sniper training to ISIS fighters.391 ISIS also

  sought to finance other attacks in the United States including by sending thousands of dollars to

  Maryland resident Mohamed Elshinawy in 2016 to encourage terror attacks.

            268.   ISIS also enticed hundreds of U.S. citizens to join its ranks by targeting the

  United States for recruitment. Roughly 300 U.S. citizens joined or attempted to join ISIS, in part

  because ISIS tailored its propaganda to U.S. audiences. For example, ISIS members sought to

  capitalize on unrest in Ferguson, Missouri and Baltimore, Maryland, asking protestors in those

  cities to join ISIS. ISIS also sent money to U.S. citizens to fund terror attacks on U.S. soil and

  sought and received funding from U.S. citizens to finance operations in Syria and Iraq.

            269.   The U.S. government has recognized, on a bipartisan basis, that ISIS specifically

  targeted the United States and Americans for attack. For example, in 2022, the White House

  observed that “ISIS has directed terrorist operations targeting Americans . . . in the Middle East,

  Africa, and in South Asia,”392 which echoed a White House observation in 2018 that “ISIS

  remain[ed] the . . . primary transnational terrorist threat to the United States” . . . “and its senior

  leaders continue to call for attacks against the United States,” 393 similar to the view expressed by




      390
          Jury Verdict, United States v. Kandic, No. 17-cr-00449-NGG (E.D.N.Y. May 24, 2022),
  Dkt. 321.
      391
          Jury Verdict, United States v. Asainov, No. 19-cr-00402-NGG (E.D.N.Y. Feb. 7, 2023),
  Dkt. 167.
      392
          President Joseph R. Biden, Jr., quoted in White House, Remarks by President Biden on a
  Successful Counterterrorism Operation (Feb. 3, 2022), https://tinyurl.com/4vcfbsd6.
      393
          White House, National Strategy for Counterterrorism of the United States of America, at
  8 (Oct. 1, 2018).


                                                    113
Case 1:24-cv-08901-NGG-PK             Document 1 Filed 12/30/24              Page 117 of 130 PageID #:
                                               117



  the U.S. government, in 2015, that ISIS’s “strength and expansionist agenda pose an ongoing

  threat to . . . U.S. facilities and personnel in [] the Middle East.”394

            270.   ISIS’s contacts with the United States were foreseeable to Defendants.

  Defendants were aware that the U.S. government had designated ISIS as an FTO because of its

  shocking acts of violence against U.S. citizens. As Assistant Attorney General Olsen explained,

  Defendants partnered with ISIS and ANF “at a time those groups were brutalizing innocent

  civilians in Syria and actively plotting to harm Americans.”395 And Defendants were aware of

  ISIS’s desire to eject U.S. forces from the region and of their frequent acts of violence to that

  end.396 That knowledge came in part from Defendants’ long awareness of AQI, which they

  knew had conducted a brutal terrorist campaign against U.S. citizens in the Middle East. Indeed,

  Defendants specifically understood – in part through Tlass and LCS’s former risk manager – that

  ISIS and ANF were AQI’s successors and were continuing AQI’s terrorist campaign against the

  United States. The attacks on Plaintiffs and their families, as well as ISIS’s other U.S. contacts,

  were a foreseeable outgrowth of the conspiracy that Defendants voluntarily joined.

            271.   Given Defendants’ knowledge of AQI’s (and later ANF’s and ISIS’s) practice of

  targeting of U.S. nationals, including U.S. servicemembers, based on multiple U.S. government

  statements and warnings to that effect, Defendants’ illegal payments directly to those groups

  independently constituted conduct that was expressly aimed at the United States.




      394
            U.S. Dep’t of Treasury, National Terrorist Financing Risk Assessment, at 12 (Aug. 24,
  2015).
      395
         U.S. Dep’t of Justice, Lafarge Pleads Guilty to Conspiring to Provide Material Support to
  Foreign Terrorist Organizations (Oct. 18, 2022).
     396
         Supra ¶¶ 41-43.


                                                    114
Case 1:24-cv-08901-NGG-PK            Document 1 Filed 12/30/24              Page 118 of 130 PageID #:
                                              118



  VI.    PLAINTIFFS AND THEIR FAMILY MEMBERS WERE KILLED OR INJURED
         IN TERRORIST ACTS BY ISIS OR ANF

         272.    ISIS and ANF killed and injured Plaintiffs and their family members in terrorist

  attacks committed in France, Turkey, and Niger. Each act of international terrorism described

  below was committed by ISIS or ANF when both groups were designated FTOs. The express

  purpose of those terrorist attacks was to target U.S. citizens, like Plaintiffs and their family

  members, to inflict injury felt in the United States and to effect a change in U.S. federal

  government policy made in the United States.

         273.    Defendants’ aid substantially assisted sophisticated “external” ISIS attacks against

  the United States (outside of ISIS’s “caliphate” in Syria and Iraq). That assistance aided the key

  ISIS terrorists and cells that conducted these attacks. Both attacks occurred after Defendants

  began paying ISIS and so benefited directly from Defendants’ payments.

         274.    Defendants’ material support was linked directly to each of these two attacks

  targeting the United States and its citizens in France, Turkey, and Niger, including through the

  direct involvement in each attack of ISIS’s Leadership Cell, Raqqa Cell, and Intelligence Cell.

         A.      The November 13, 2015 Complex Attack in Paris (Amanda Palmucci and
                 Gonzalez Family)

         275.    On November 13, 2015, ISIS committed a complex attack involving a suicide

  bombing and small arms attack in Paris, France (the “November 13, 2015 Attack”). ISIS planned

  and authorized the November 13, 2015 Attack.

         276.    The November 13, 2015 Attack would have violated the laws of war if these

  terrorists were subject to them because, among other reasons, the terrorist(s) who committed the

  attack neither wore uniforms nor otherwise identified themselves as enemy combatants, and the

  attack indiscriminately placed civilians at risk.




                                                      115
Case 1:24-cv-08901-NGG-PK            Document 1 Filed 12/30/24              Page 119 of 130 PageID #:
                                              119



         277.    When Defendants provided money to ISIS in Syria, they knew they were

  contributing to ISIS’s ability to launch terrorist attacks not only in Iraq and Syria, but also in

  Western Europe. Many sources alerted Defendants that payments to ISIS core foreseeably aided

  ISIS attacks in Western Europe. Indeed, ISIS leader Baghdadi had long espoused a vision of

  exporting jihad to the West once ISIS’s caliphate was established in Iraq and Syria.

         278.    Unlike most terrorist attacks in Western Europe that were attributed to ISIS—

  which were generally locally funded and organized by ISIS’s European cells—ISIS “core”

  committed, planned, and authorized the November 13, 2015 Attack. Indeed, several European

  counterterrorism experts have concluded that the Paris attack was planned in Syria at Baghdadi’s

  urging and was funded and staffed by ISIS “core” as well. The mastermind and primary

  orchestrator of the November 13, 2015 Attack was identified as a Belgian-born terrorist named

  Abdelhamid Abaaoud, who spent substantial time in Syria in 2013 and 2014, where he joined

  ISIS, trained foreign fighters for ISIS “core”, and became close with Baghdadi himself. He

  returned to Western Europe in late 2014/early 2015 but remained in close contact with ISIS

  “core” in Syria. Without the role of ISIS core, including its leadership, Abaaoud would have

  lacked the funds, trained fighters, and logistical support needed to execute the November 13,

  2015 Attack.

         279.    Amanda Palmucci was in Paris on vacation at the time of the November 13, 2015

  Attack. The attack severely wounded Amanda Palmucci, who suffered from post-traumatic stress

  disorder requiring therapy to this day.

         280.    Plaintiff Amanda Palmucci was a U.S. national at the time of the attack and

  remains one today.




                                                   116
Case 1:24-cv-08901-NGG-PK            Document 1 Filed 12/30/24           Page 120 of 130 PageID #:
                                              120



            281.   As a result of the November 13, 2015 Attack and her injuries, Amanda Palmucci

  has experienced severe physical and emotional pain and suffering.

            282.   Nohemi Gonzalez was a student studying for a semester abroad at the Paris Strade

  School of Design and was having dinner with friends on Rue de Charrone at the time of the

  November 13, 2015 Attack. Nohemi Gonzalez was injured in the November 13, 2015 Attack.

  Nohemi Gonzalez died on November 13, 2015, as a result of injuries sustained during the attack.

            283.   Nohemi Gonzalez was a U.S. national at the time of the attack and her death.

            284.   Plaintiff Beatriz Gonzalez is the mother of Nohemi Gonzalez and a U.S. national.

  She brings claims both in her personal capacity and representative capacity on behalf of Nohemi

  Gonzalez’s estate.

            285.   Plaintiff Paul Gonzalez is the brother of Nohemi Gonzalez and a U.S. national.

            286.   Plaintiff Reynaldo Gonzalez is the brother of Nohemi Gonzalez and a U.S.

  permanent resident.

            287.   As a result of the November 13, 2015 Attack and Nohemi Gonzalez’s injuries and

  death, each member of the Gonzalez Family has experienced severe mental anguish, emotional

  pain and suffering, and the loss of Nohemi Gonzalez’s society, companionship, and counsel.

            288.   As a result of the November 13, 2015 Attack, Nohemi Gonzalez was injured in

  her person and/or property. The Plaintiff members of the Gonzalez Family are the survivors

  and/or heirs of Nohemi Gonzalez and are entitled to recover for the damages she sustained.

            B.     The March 19, 2016 Suicide Bombing Attack in Istanbul (Greenfield Family)

            289.   On March 19, 2016, ISIS committed a suicide bombing attack in Istanbul, Turkey

  (the “March 19, 2016 Attack”). ISIS, an FTO, planned and authorized the March 19, 2016

  Attack.




                                                  117
Case 1:24-cv-08901-NGG-PK            Document 1 Filed 12/30/24            Page 121 of 130 PageID #:
                                              121



          290.    The March 19, 2016 Attack would have violated the laws of war if these terrorists

  were subject to them because, among other reasons, the terrorist(s) who committed the attack

  neither wore uniforms nor otherwise identified themselves as enemy combatants, and the attack

  indiscriminately placed civilians at risk.

          291.    Ron Greenfield was vacationing with his wife in Turkey at the time of the March

  19, 2016 Attack. The attack severely wounded Ron Greenfield, who suffered from shrapnel

  injuries to both legs.

          292.    As a result of the March 19, 2016 Attack and his injuries, Ron Greenfield has

  experienced severe physical and emotional pain and suffering.

          293.    Plaintiff Ron Greenfield was a U.S. national at the time of the attack and remains

  one today.

          294.    Plaintiff Pnina Greenfield is the wife of Ron Greenfield and an Israeli national.

          295.    Plaintiff Gili Greenfield is the daughter of Ron Greenfield and a U.S. national.

          296.    Plaintiff Liron Greenfield is the son of Ron Greenfield and a U.S. national.

          297.    Plaintiff Shere Greenfield is the daughter of Ron Greenfield and a U.S. national.

          298.    Plaintiff Shye Greenfield is the daughter of Ron Greenfield and a U.S. national.

          299.    As a result of the March 19, 2016 Attack and Ron Greenfield’s injuries, the

  Plaintiff members of the Greenfield Family have experienced severe mental anguish as well as

  emotional pain and suffering.

          C.      The October 4, 2017 Complex Attack in Tongo Tongo (Black and Johnson
                  Families)

          300.    On October 4, 2017, ISIS committed, planned, and authorized a complex attack in

  Tongo Tongo, Niger that targeted American servicemembers in Africa (the “October 4, 2017

  Attack”). The October 4, 2017 Attack would have violated the laws of war if these terrorists



                                                  118
Case 1:24-cv-08901-NGG-PK             Document 1 Filed 12/30/24         Page 122 of 130 PageID #:
                                               122



  were subject to them because, among other reasons, the terrorist(s) who committed the attack

  neither wore uniforms nor otherwise identified themselves as enemy combatants.

          301.    The October 4, 2017 Attack was notable because it was ISIS’s first (and only)

  effective attack targeting the United States in Niger during the period from 2014-2017. The

  October 4, 2017 Attack was also one of fewer than 10 effective ISIS attacks targeting the United

  States anywhere in Africa from 2014 through 2017.

          302.    ISIS committed, planned, and authorized the October 4, 2017 Attack, acting

  through its “Core” branch in Syria and Iraq and its “external” ISIS branch in Niger (ISIS-GS).

  Adnan Abu Walid al-Sahrawi led ISIS-GS. Al-Sahrawi, on behalf of himself and the ISIS

  terrorists he led, pledged bayat to ISIS and Baghdadi in May 2015, and their pledge was

  “accepted” in October 2016 when ISIS posted the video of the pledge to its propaganda channel

  on Telegram.

          303.    Baghdadi and the Leadership Cell planned, authorized, and contributed to the

  October 4, 2017 attack by (among other things) accepting Sahrawi’s pledge of allegiance –

  which gave ISIS-GS vital credibility – and transferring substantial money, fighters, and weapons

  to ISIS-GS for use in attacks against Americans, including Plaintiffs. Indeed, ISIS core

  leadership published propaganda celebrating the attack and linking its commission to ISIS’s

  caliphate in Syria, and Baghdadi in particular. Without the role of Baghdadi and the Leadership

  Cell, ISIS-GS would have lacked the funds, trainers, and logistical support needed to execute

  external attacks, including the October 4, 2017 Attack. Luqman and the Raqqa Cell likewise

  played a key role in facilitating this attack.




                                                   119
Case 1:24-cv-08901-NGG-PK           Document 1 Filed 12/30/24             Page 123 of 130 PageID #:
                                             123



         304.    Staff Sergeant Bryan Black served in Niger as a member of the U.S. Army at the

  time of the October 4, 2017 Attack. SSG Black was injured in the October 4, 2017 Attack. SSG

  Black died on October 4, 2017, as a result of injuries sustained during the attack.

         305.    SSG Black was a U.S. national at the time of the attack and his death.

         306.    Plaintiff Ezekiel Black is the son of SSG Black and a U.S. national.

         307.    Plaintiff I.B., by and through next friend Michelle Black, is the minor son of SSG

  Black and a U.S. national.

         308.    Plaintiff Jason Black is the brother of SSG Black and a U.S. national.

         309.    As a result of the October 4, 2017 Attack and SSG Black’s injuries and death,

  each member of the Black Family has experienced severe mental anguish, emotional pain and

  suffering, and the loss of SSG Black’s society, companionship, and counsel.

         310.    As a result of the October 4, 2017 Attack, SSG Black was injured in his person

  and/or property. The Plaintiff members of the Black Family are the survivors and/or heirs of SSG

  Black and are entitled to recover for the damages he sustained.

         311.    Sergeant LaDavid Johnson served in Niger as a member of the U.S. Army at the

  time of the October 4, 2017 Attack. SGT Johnson was injured in the October 4, 2017 Attack.

  SGT Johnson died on October 4, 2017 as a result of injuries sustained during the attack.

         312.    SGT Johnson was a U.S. national at the time of the attack and his death.

         313.    Plaintiff Myeshia Johnson is the widow of SGT Johnson and a U.S. national.

         314.    As a result of the October 4, 2017 Attack, SGT Johnson’s injuries and death, each

  member of the Johnson Family has experienced severe mental anguish, emotional pain and

  suffering, and the loss of SGT Johnson’s society, companionship, and counsel.




                                                  120
Case 1:24-cv-08901-NGG-PK            Document 1 Filed 12/30/24             Page 124 of 130 PageID #:
                                              124



         315.    As a result of the October 4, 2017 Attack, SGT Johnson was injured in his person

  and/or property. The Plaintiff members of the Johnson Family are the survivors and/or heirs of

  SGT Johnson and are entitled to recover for the damages SGT Johnson sustained.

                                       CLAIMS FOR RELIEF

   COUNT ONE: VIOLATION OF THE ANTI-TERRORISM ACT, 18 U.S.C. § 2333(d)(2)
                   [Secondary Liability: Aiding and Abetting]

         316.    Plaintiffs incorporate their factual allegations above.

         317.    Defendant aided and abetted, by knowingly providing substantial assistance to,

  ISIS and ANF in those groups’ commission of the terrorist attacks that killed and injured

  Plaintiffs. Defendants’ aid to those groups was pervasive, systemic, and culpable. In providing

  that assistance, Defendants were generally aware of their role in the unlawful activities that they

  were assisting, from which the attacks that killed and injured Plaintiffs were foreseeable.

         318.    Continuously since 2004, the United States has designated ISIS and ANF as

  FTOs, using various names, under 11 U.S.C. § 1189.

         319.    Lafarge and LCS pleaded guilty in the United States District Court for the Eastern

  District of New York to conspiring to provide material support to ISIS and ANF, in violation of

  18 U.S.C. § 2339B(a)(1).

         320.    The terrorist attacks that killed or injured Plaintiffs or their family members were

  each acts of international terrorism committed by ISIS and/or ANF. They were violent acts and

  acts dangerous to human life that violated the criminal laws of the United States and many

  States, or would have violated those laws had they been committed within the territorial

  jurisdiction of the United States or of the States, including 18 U.S.C. §§ 844(f )(2) or (3),

  956(a)(1), 1114, 1203, 1361, 2332, 2332a, 2332b, 2339C(a)(1)(B), and 2339D.




                                                   121
Case 1:24-cv-08901-NGG-PK           Document 1 Filed 12/30/24              Page 125 of 130 PageID #:
                                             125



         321.    The terrorist attacks committed by ISIS and/or ANF were intended to intimidate

  and coerce the civilian populations of Syria, Iraq, the United States, France, Turkey, and Niger;

  to influence through intimidation or coercion the policy of the governments of Syria, Iraq, the

  United States, France, Turkey, and Niger; and to affect the conduct of the governments of Syria,

  Iraq, the United States, France, Turkey, and Niger by means of mass destruction, assassination,

  and kidnapping.

         322.    The terrorist attacks committed by ISIS and/or ANF occurred primarily outside

  the territorial jurisdiction of the United States and transcended national boundaries in terms of

  their means, locations, and intended audiences.

         323.    Plaintiffs are U.S. nationals who were injured in their persons, properties, and/or

  businesses by reason of the terrorist attacks committed by ISIS and/or ANF. Plaintiffs suffered

  economic, physical, and emotional injuries proximately caused by the attacks; are survivors

  and/or heirs of U.S. nationals who suffered such injuries; or both.

         324.    As a result of Defendants’ liability under 18 U.S.C. § 2333(d)(2), Plaintiffs are

  entitled to recover economic and non-economic damages, including solatium damages.

  COUNT TWO: VIOLATION OF THE ANTI-TERRORISM ACT, 18 U.S.C. § 2333(d)(2)
               [Conspiracy Liability; Protection-Racket Predicate]

         325.    Plaintiffs incorporate their factual allegations above.

         326.    Defendants entered a conspiracy with ISIS whose overall object was to maintain

  ISIS’s territorial control of Syria and Iraq and thereby promote ISIS’s protection rackets within

  that territory, in violation of (among other statutes) 18 U.S.C. §§ 2339A, 2339B, and 2339C.

         327.    ISIS’s acts of international terrorism targeting U.S. citizens, including the attacks

  that killed and injured Plaintiffs, furthered the overall object of Defendants’ conspiracy and were

  a foreseeable consequence of that conspiracy.



                                                  122
Case 1:24-cv-08901-NGG-PK           Document 1 Filed 12/30/24             Page 126 of 130 PageID #:
                                             126



         328.    Continuously since 2004, the United States has designated ISIS and ANF as

  FTOs, under various names, under 11 U.S.C. § 1189.

         329.    Lafarge and LCS pleaded guilty in the United States District Court for the Eastern

  District of New York to conspiring to provide material support to ISIS and ANF, in violation of

  18 U.S.C. § 2339B(a)(1).

         330.    The terrorist attacks that killed or injured Plaintiffs or their family members were

  acts of international terrorism committed by ISIS and/or ANF. They were violent acts and acts

  dangerous to human life that violated the criminal laws of the United States and many States, or

  would have violated those laws had they been committed within the territorial jurisdiction of the

  United States or of the States, including 18 U.S.C. §§ 844(f )(2) or (3), 956(a)(1), 1114, 1203,

  1361, 2332, 2332a, 2332b, 2339C(a)(1)(B), and 2339D.

         331.    The terrorist attacks committed by ISIS and/or ANF were intended to intimidate

  and coerce the civilian populations of Syria, Iraq, the United States, France, Turkey, and Niger;

  to influence through intimidation or coercion the policy of the governments of Syria, Iraq, the

  United States, France, Turkey, and Niger; and to affect the conduct of the governments of Syria,

  Iraq, the United States, France, Turkey, and Niger by means of mass destruction, assassination,

  and kidnapping.

         332.    The terrorist attacks committed by ISIS and/or ANF occurred primarily outside

  the territorial jurisdiction of the United States and transcended national boundaries in terms of

  their means, locations, and intended audiences.

         333.    Plaintiffs are U.S. nationals who were injured in their persons, properties, and/or

  businesses by reason of the terrorist attacks committed by ISIS and/or ANF. Plaintiffs suffered




                                                  123
Case 1:24-cv-08901-NGG-PK           Document 1 Filed 12/30/24             Page 127 of 130 PageID #:
                                             127



  economic, physical, and emotional injuries proximately caused by the attacks; are survivors

  and/or heirs of U.S. nationals who suffered such injuries; or both.

         334.    As a result of Defendants’ liability under 18 U.S.C. § 2333(d)(2), Plaintiffs are

  entitled to recover economic and non-economic damages, including solatium damages.

             COUNT THREE: VIOLATION OF THE ANTI-TERRORISM ACT,
                                18 U.S.C. § 2333(d)(2)
                   [Conspiracy Liability; Material-Support Predicate]

         335.    Plaintiffs incorporate the allegations above.

         336.    Defendants also entered a related conspiracy with ISIS and ANF with the overall

  goal of providing material support for those organization in violation of 18 U.S.C. § 2339B.

  Defendants, ISIS, and ANF also structured their transactions to disguise the nature of their

  support, in violation of 18 U.S.C. § 2339A. These FTOs foreseeably attacked civilians,

  including U.S. civilians, throughout the conspiracy, with Defendants’ knowledge.

         337.    Continuously since 2004, the United States has designated ISIS and ANF as

  FTOs, under various names, under 11 U.S.C. § 1189.

         338.    Lafarge and LCS pleaded guilty in the United States District Court for the Eastern

  District of New York to conspiring to provide material support to ISIS and ANF, in violation of

  18 U.S.C. § 2339B(a)(1).

         339.    The terrorist attacks that killed or injured Plaintiffs or their family members were

  acts of international terrorism committed by ISIS and/or ANF. They were violent acts and acts

  dangerous to human life that violated the criminal laws of the United States and many States, or

  would have violated those laws had they been committed within the territorial jurisdiction of the

  United States or of the States, including 18 U.S.C. §§ 844(f )(2) or (3), 956(a)(1), 1114, 1203,

  1361, 2332, 2332a, 2332b, 2339C(a)(1)(B), and 2339D.




                                                  124
Case 1:24-cv-08901-NGG-PK              Document 1 Filed 12/30/24          Page 128 of 130 PageID #:
                                                128



          340.    The terrorist attacks committed by ISIS and/or ANF were intended to intimidate

  and coerce the civilian populations of Syria, Iraq, the United States, France, Turkey, and Niger;

  to influence through intimidation or coercion the policy of the governments of Syria, Iraq, the

  United States, France, Turkey, and Niger; and to affect the conduct of the governments of Syria,

  Iraq, the United States, France, Turkey, and Niger by means of mass destruction, assassination,

  and kidnapping.

          341.    The terrorist attacks committed by ISIS and/or ANF occurred primarily outside

  the territorial jurisdiction of the United States and transcended national boundaries in terms of

  their means, locations, and intended audiences.

          342.    Plaintiffs are U.S. nationals who were injured in their persons, properties, and/or

  businesses by reason of the terrorist attacks committed by ISIS and/or ANF. Plaintiffs suffered

  economic, physical, and emotional injuries proximately caused by the attacks; are survivors

  and/or heirs of U.S. nationals who suffered such injuries; or both.

          343.    As a result of Defendants’ liability under 18 U.S.C. § 2333(d)(2), Plaintiffs are

  entitled to recover economic and non-economic damages, including solatium damages.

                                              JURY DEMAND

          344.    In accordance with Federal Rule of Civil Procedure 38(b), Plaintiffs demand a

  trial by jury on all issues so triable.

                                            PRAYER FOR RELIEF

          345.    Plaintiffs request that the Court:

          (a)     Enter judgment against Defendants finding them liable under the Anti-Terrorism

                  Act, 18 U.S.C. § 2333;




                                                   125
Case 1:24-cv-08901-NGG-PK       Document 1 Filed 12/30/24             Page 129 of 130 PageID #:
                                         129



       (b)   Award Plaintiffs compensatory and punitive damages to the maximum extent

             permitted by law, and treble any compensatory damages awarded under the Anti-

             Terrorism Act pursuant to 18 U.S.C. § 2333(a);

       (c)   Award Plaintiffs their attorney’s fees and costs incurred in this action, pursuant to

             18 U.S.C. § 2333(a);

       (d)   Award Plaintiffs prejudgment interest; and

       (e)   Award Plaintiffs any such further relief the Court deems just and proper.




                                              126
Case 1:24-cv-08901-NGG-PK    Document 1 Filed 12/30/24          Page 130 of 130 PageID #:
                                      130




  Dated: December 30, 2024
                                       Respectfully submitted,

                                       /s/ Adam J. Goldstein

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                                      127
